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    1                     IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
    2                              EASTERN DIVISION
    3    MOTOROLA SOLUTIONS, INC., and MOTOROLA   ) No. 17 CV 1973
         SOLUTIONS MALAYSIA SDN. BHD,             )
    4                                             )
                     Plaintiffs,                  )
    5    vs.                                      ) Chicago, Illinois
                                                  )
    6    HYTERA COMMUNICATIONS CORPORATION, LTD., ) November 26, 2019
         HYTERA AMERICA, INC., and HYTERA         )
    7    COMMUNICATIONS AMERICA (WEST), INC.,     )
                                                  )
    8                Defendants.                  ) 10:00 o'clock a.m.
    9
                                 TRIAL - VOLUME 11 A
  10                         TRANSCRIPT OF PROCEEDINGS
                    BEFORE THE HONORABLE CHARLES R. NORGLE, SR.
  11                                 and a jury
  12
  13     For the Plaintiffs:        KIRKLAND & ELLIS LLP
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               1               THE CLERK: All rise.
               2              (The following proceedings were had in the
               3              presence of the jury in open court:)
               4               THE CLERK: The Court is in session. Please be
10:03:36       5    seated.
               6               THE COURT: Good morning, members of the jury.
               7               Please recall the witness.
               8               MR. ALPER: Plaintiffs recall Dr. Wicker.
               9               MR. BROWN: Good morning, Your Honor.
10:03:58     10                THE COURT: Good morning.
             11                MR. BROWN: May I proceed?
             12                THE COURT: Proceed.
             13                MR. BROWN: Thank you.
             14         STEPHEN B. WICKER, PLAINTIFFS' WITNESS, PREVIOUSLY SWORN
10:04:02     15                         REDIRECT EXAMINATION (resumed)
             16     BY MR. BROWN:
             17     Q. Good morning, Dr. Wicker.
             18     A. Good morning.
             19     Q. I want to start where I was leaving off last night with
10:04:09     20     VRIS. This is your slide, PTX 8.233. Just to set the stage,
             21     can you explain what you are showing on this slide?
             22     A. Certainly. This is a diagram that came from VRIS's
             23     technical specification. And what it shows is a virtual
             24     source. It's routing messages to and from a number of
10:04:31     25     different inputs, to a number of different higher-level or a
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               1    higher-layered tasks, like applications.
               2    Q. And what was the importance of this information in that you
               3    find it in Hytera as well? Why did you show that?
               4    A. Okay. I showed that because this particular diagram only
10:04:51       5    shows up in confidential documents; in other words, in
               6    Motorola's confidential documents.
               7               As I mentioned yesterday, it's not in the patent.
               8    It's not in the public source. It is a figure that comes from
               9    Motorola's confidential documents and it was therefore copied
10:05:07     10     from those documents into the user's manual.
             11     Q. And so the document that you're showing is coming from the
             12     PTX 1255, right?
             13     A. That's correct.
             14     Q. So I have PTX 1255 here, which you showed during your
10:05:22     15     testimony. What is this document and why is it relevant that
             16     Hytera had this Motorola confidential document?
             17     A. This is the software architecture document. And as you can
             18     see, as counsel flips through it, it's quite long, and it's
             19     quite detailed. This is a great deal of confidential
10:05:39     20     information that goes to the heart of actually several of
             21     Motorola's trade secrets.
             22     Q. And on this page, page 44 of PTX 1255, is that the same
             23     figure that you showed a copy of Hytera's information?
             24     A. That's it.
10:05:56     25     Q. So why is it relevant that is was copied out even if none
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               1    of the other text was copied out?
               2    A. What it shows is that Hytera's engineers were in possession
               3    of this document. They could read through it. They would get
               4    all of this detail regarding the software architecture in
10:06:10       5    general and VRIS in particular.
               6    Q. Now, during the cross-examination you were asked questions
               7    about whether -- or I think you were told that Motorola has a
               8    term called "VRIS" and people in the industry know that, is
               9    that right?
10:06:25     10     A. Yes.
             11     Q. Okay. And so I want to show you -- why is that relevant in
             12     your analysis that folks in the industry would know that VRIS
             13     is a Motorola term?
             14     A. Well, first off, Hytera engineers would know that it was a
10:06:39     15     Motorola term. And as I've shown you, there were several
             16     Hytera documents and presentations, for example the one in
             17     front of us, that say "VRIS."
             18                And so when we look at a Hytera document like this and
             19     see "VRIS," this would point towards having Motorola
10:06:58     20     confidential information.
             21     Q. I'm going to zoom in a little bit.
             22                And so this is PTX 628 that you've just marked up
             23     there, Dr. Wicker. And can you refresh the jury on what this
             24     document is that you're showing?
10:07:12     25     A. Okay. So this particular document talks about the
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               1    ergonomic management task. It goes into a great deal of
               2    detail. What we're seeing here is a particular piece of that
               3    called an Application Cross-Reference Table.
               4               And what it's showing us is, is a number of possible
10:07:28       5    inputs to that task. And what we can see is, they come from a
               6    number of sources. But one source in particular, the common
               7    layer, "ACRT" denotes "VRIS," as does the lower layer "ACRT."
               8    So we can see that within this document there is reference to
               9    VRIS.
10:07:48     10     Q. And what explanation would there be, from a technical
             11     perspective, for why a term that the industry knows is a
             12     Motorola term would show up in a Hytera document describing
             13     their RAF?
             14     A. What I've shown is that not only the reference to VRIS, but
10:08:02     15     all of this information comes from confidential Motorola
             16     documents. And what this would show to people looking at it is
             17     that we see references within this document to Motorola.
             18     Q. So let's talk now about the VOX trade secret.
             19                And you were asked questions about this e-mail, which
10:08:31     20     is PTX 630, discussing an SRS template. Just refresh us, what
             21     is an SRS template?
             22     A. It's Software Requirement Specification. It describes what
             23     the software is supposed to do.
             24     Q. And would you remind us of what happened in this e-mail
10:08:49     25     chain? And I can show you the replies.
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               1    A. Certainly. There was a request for an SRS document, the
               2    reply was the VOX document that we've been talking about.
               3    Q. And in particular, we focused on Mr. Zhu's possession of
               4    that document, is that right?
10:09:00       5    A. That's right.
               6    Q. And you showed this slide, which shows the document that
               7    was attached. And what was -- what was the substance of the
               8    issue here with regard to this document in Mr. Zhu's
               9    possession?
10:09:21     10     A. The point is that Mr. Zhu was not one of the folks who came
             11     over from Motorola. He had a document in his possession that
             12     showed through track changes that it was originally a Motorola
             13     document. It contained a lot of information, including a
             14     Motorola confidential, proprietary notice.
10:09:41     15     Q. And were you challenged on that document during your
             16     cross-examination?
             17     A. Yes, I was.
             18     Q. And what was the substance of the point that counsel was
             19     trying to make?
10:09:47     20     A. Well, counsel was trying to make a point that these edits
             21     that are shown through the red line happened long before this
             22     exchange of material. That really wasn't the point I was
             23     making.
             24                The point I was making was that if someone opens up
10:10:02     25     this document, they see it's a Motorola document. Whenever
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               1    those edits occurred, doesn't matter. My point was that when
               2    these Hytera engineers who had never been to -- or were never
               3    Motorolan employees opened this document, they would see that
               4    it was a Motorola document.
10:10:18       5    Q. Dr. Wicker, Mr. Zhu says he never saw the track changes,
               6    how does that affect your opinion?
               7    A. That actually doesn't change it. There's other evidence in
               8    this document that it was a Motorola document. In particular,
               9    one piece that's not deleted refers to an internal Motorola
10:10:39     10     document, and that's what you see right here (indicating).
             11                The references to this document are confidential
             12     Motorola documents. Here we see a reference to matrix mid-tier
             13     Ergonomics (indicating).
             14     Q. But putting aside Mr. Zhu's testimony, there's another
10:11:00     15     Hytera engineer on this e-mail, right?
             16     A. That's right.
             17     Q. Who is that?
             18     A. That's Qin Jun, another Hytera engineer, also not a
             19     Motorola employee.
10:11:10     20     Q. And the document that was in his possession was PTX 573
             21     that you introduced during your direct. And what did you see
             22     in PTX 573?
             23     A. Again, the Motorola logo and other information pointing to
             24     Motorola that had been deleted but were visible through track
10:11:30     25     changes.
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               1    Q. I'm going to show you the metadata for PTX 573.
               2               What about the metadata provide an indication that
               3    this was a Motorola -- this was known to be a Motorola
               4    document?
10:11:42       5    A. Well, this tells me it was in Jun Qin's custody. It was on
               6    his computer when it was produced. And the name of the file,
               7    as shown on his computer, is Motorola_VOX.doc.
               8    Q. But, Dr. Wicker, the e-mail that was sent to him was named
               9    VOX.doc, what's the technical explanation for how on Mr. Qin
10:12:07     10     Jun's computer it became named Motorola_VOX.doc?
             11     A. He apparently worked with it and changed the name.
             12     Q. Now, you were shown some of your slides about documents
             13     found at Hytera. And I don't have the fancy animation that was
             14     used during your cross, but I put little Post-Its on there.
10:12:38     15                Do you remember what you were told during cross about
             16     these documents?
             17     A. Yes. I was told that they were not produced.
             18     Q. Okay. And in particular, was there a representation about
             19     whether they've been previously identified?
10:12:49     20     A. Yes, there was.
             21     Q. And what was that representation?
             22     A. That they had not been identified.
             23     Q. So I'm going to hand you -- actually, apologies. Just one
             24     second.
10:13:23     25               (Brief pause.)
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            1   BY MR. BROWN:
            2   Q. I'm going to come back to that. I'm missing a document.
            3              Let me take you to the code that we showed you earlier
            4   from Hytera's source code. And we talked about how your book
10:13:45    5   is cited here, do you remember that?
            6   A. Yes.
            7   Q. What I didn't ask was, what is the rest of the material
            8   around your book citation? There is a mention there of a
            9   MAP-Works and a copyright, what does that indicate?
10:13:57   10   A. Okay. That indicates -- the copyright indicates that at
           11   least some of this information is associated with MAP-Works,
           12   and the date is 1996 to 2002.
           13   Q. So what does that mean about where your book -- or your
           14   work is being cited in the field?
10:14:14   15   A. Okay. It's showing that my work is being cited by those
           16   working in DMR in particular, and more generally in a larger
           17   context by MAP-Works.
           18   Q. Is your book cited in other open-source material like from
           19   MAP-Works?
10:14:36   20   A. Yes.
           21   Q. And what does that mean if Hytera is using this open source
           22   code in their DMR software?
           23   A. What it shows is, they've got access to other content, but
           24   they are obviously using it, reading it, and incorporating it
10:14:48   25   into what they're doing.
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            1   Q. Now, switching gears to the reverse engineering analysis
            2   that we had talked about yesterday. You were asked some
            3   questions about the reverse engineering that Motorola had
            4   conducted, and let's start with that.
10:15:12    5              Can you just frame for us what it is that Motorola did
            6   to investigate whether or not Hytera had been using its source
            7   code?
            8   A. Certainly. What they did was, they opened up a Hytera
            9   radio, and they were able to obtain zeros and ones that were
10:15:27   10   stored on that radio. Zeros and ones that would include the
           11   actual code being run on the processor.
           12   Q. Now, you were read testimony from Darrell Stogner that said
           13   they didn't convert binary code into assembly, what does that
           14   mean?
10:15:42   15   A. In other words, they weren't able to reverse the zeros and
           16   ones all the way into the assembly code; in other words, they
           17   couldn't get back to the software.
           18   Q. And why not?
           19   A. There are a number of reasons that would be really hard to
10:15:59   20   do. First off, those zeros and ones could correspond to any of
           21   a number of different programming languages. And because
           22   they're just zeros and ones, it would be impossible to tell
           23   where one language stopped and another language began. For
           24   example, assembly C++ and C. So that alone would be a
10:16:18   25   monumental problem.
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            1              Furthermore, you wouldn't know which of these zeros
            2   and ones corresponded to the actual program run by the
            3   processor and what was, for example, storage for an active
            4   application.
10:16:29    5              There a number of reasons it would be extraordinarily
            6   difficult -- well, it would be impossible to get from here to
            7   here (indicating).
            8              Another thing I'll mention is that, when one goes down
            9   through this chain, what is initially readable has words like
10:16:46   10   "temperature control" and a comment or a variable name
           11   "temperature," that's all gone by the time you get to zeros an
           12   ones. This has been optimized and that information, for
           13   example my comment or the variable temperature, it's not there
           14   anymore.
10:17:01   15   Q. And so what is it, then, that Motorola could do to
           16   investigate whether or not its code was found in those zeros
           17   and ones that you're describing?
           18   A. They could do exactly what they did; namely, look for
           19   particular parameters that would have to survive the transition
10:17:20   20   from here all the way down to here (indicating).
           21              For example, here we have a threshold of 70
           22   (indicating). They could look -- that's actually a very simple
           23   one, but they could look for a longer parameter that would be
           24   indicative of what Motorola's code has.
10:17:37   25   Q. And did they do that?
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            1   A. They did that.
            2   Q. Okay. Now, was that successful?
            3   A. It was -- well, they were able to do it, but what they did
            4   not show copying, precisely for the reason that Sam Chia
10:17:52    5   describes in his e-mails, they had made changes. They had
            6   concealed what they had done, so that the radios would perform
            7   a little differently. Motorola's numbers were no longer there.
            8   Q. And so let's just explain that. Why were Motorola's
            9   numbers no longer there and how does what Hytera did to conceal
10:18:11   10   that fact impact that?
           11   A. Okay. So what's on the screen is my 78 slide. And it
           12   talks about one of the problems being, if we simply use
           13   Motorola's code, we'll have the same performance, and that is
           14   something that would be detectable.
10:18:23   15              And so what is suggested as a possible solution,
           16   change performance of the reuse algorithms. And the term
           17   "reuse," it means reusing Motorola's code.
           18              And so by changing the performance, it changed the
           19   parameters. And when you look at the zeros and ones, you can't
10:18:46   20   see what you expect to see if there were copying.
           21   Q. And you were explaining that in the context of your
           22   temperature control program. What parameters would you change
           23   and how would that work?
           24   A. Okay. So I only got one apartment here, it's 70. If I was
10:18:56   25   concerned that someone had taken my code and the only thing I
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            1   had available were these zeros and ones, I'd look for the 70.
            2   In other words, I'd look for the zeros and ones that would
            3   represent that parameter 70.
            4              It wouldn't do me any good to look for temperature, it
10:19:12    5   wouldn't do me any good to look for the name of the file,
            6   they're go gone. But what I would look for is that number, and
            7   if they changed it to 69, I wouldn't find it.
            8   Q. And so in addition to changing the performance so that
            9   Motorola couldn't detect the copying, what else did Mr. Chia do
10:19:30   10   that concealed Hytera's copying of Motorola source code?
           11   A. Okay. What they did was, they changed the interface. So
           12   remember the number 2 solution, extract only what we need. For
           13   example, in VRIS, as we saw during my cross-examination, they
           14   didn't use all of VRIS, they used some of it, and then changed
10:19:51   15   the interface to own interface.
           16              So what they did was, they changed the interface,
           17   changed the names on the files so that Motorola would not be
           18   able to detect that the library was actually Motorola source
           19   code.
10:20:07   20   Q. Now, we saw this timeline earlier (indicating). Is this
           21   timeline complete?
           22   A. No. No, it doesn't show the reverse engineering, the
           23   looking at the zeros and ones, trying to detect the actual
           24   parameters that one would expect in Motorola's code, that
10:20:31   25   would've happened in 2012, 2013 time period, which is the time
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            1   period of the e-mails that we were looking at.
            2   Q. And what about what Hytera did caused Motorola's reverse
            3   engineering in the late 2012, early 2013 timeframe to be
            4   unsuccessful?
10:20:58    5   A. Hytera had concealed its use of Motorola's code by changing
            6   the names of interfaces, changing the performance of the
            7   algorithms, so that what they had done could not be detected
            8   through reverse engineer or testing.
            9   Q. Now, there's also it looks like some allegations of other
10:21:18   10   things that were happening between 2008 and the middle of 2010.
           11              We've been talking about how Hytera's concealment
           12   impacted the reverse engineering, how would the same
           13   concealment that we're looking at of changing the performance
           14   of the algorithms, how would that have impacted whether or not
10:21:37   15   these alleged anomalies or suspicions were actually found to be
           16   true?
           17   A. Okay. So, for example, Motorola did have suspicions. It's
           18   noted here. So they conducted tests. Not only reverse
           19   engineering, but actually tested the performance of the radios.
10:21:58   20              And what they found were significant differences
           21   between the way Hytera's radios performed and the way
           22   Motorola's radios performed.
           23   Q. And can you give an example of how changing the parameters
           24   in the way that Hytera changed them to conceal the theft would
10:22:12   25   have -- or did, actually, from the testimony you heard in court
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            1   -- affect some of those analyses that Motorola did?
            2   A. Yes. For example, we talked about that -118 dBM, that's an
            3   example of a particular test value that could've been arrived
            4   at through a number of means, other kinds of performance; for
10:22:30    5   example, when it switches from digital to analog, when it's --
            6   how good the voice quality is at a certain point in time.
            7   Those are other things you can test for. And the results of
            8   the test that Motorola did shows that there was significant
            9   difference.
10:22:46   10              MR. BROWN: For the record, I'm going to mark the
           11   timeline as PDX 14 as a demonstrative.
           12   BY MR. BROWN:
           13   Q. Now, let me go back to what I tried to ask you a few
           14   minutes ago about the documents, and I want to hand you the
10:23:01   15   documents that you're being asked about here.
           16              MR. BROWN: Your Honor, permission to approach?
           17              THE COURT: Yes.
           18   BY MR. BROWN:
           19   Q. Now, Professor Wicker, the top document that you have
10:23:27   20   there, do you recognize that documentary?
           21   A. Yes, I do.
           22   Q. And what do you recognize that document to be?
           23   A. This is actually one we were looking at recently, the
           24   software architecture document of Matrix. So that would be
10:23:38   25   this one (indicating).
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            1   Q. Okay. And do you have a document labeled "trade secret
            2   No. 53" in front of you?
            3   A. I do.
            4   Q. Okay. And what is that document?
10:23:46    5   A. This is a listing of Motorola's trade secrets with a
            6   description. I believe this is a response to an interrogatory.
            7   Q. Now, you weren't shown this document during your cross
            8   testimony, were you?
            9   A. No, I was not.
10:24:01   10   Q. What was the allegation made about what was in this
           11   document in terms of document citation versus what was in your
           12   slides?
           13   A. What was asserted was that I had pointed to documents, such
           14   as this one and this one (indicating), that Motorola did not
10:24:14   15   say formed a basis for their trade secrets.
           16   Q. Now, if you go down to the third paragraph, and three lines
           17   up from the bottom, do you see a Hytera Bates number with a
           18   parenthesis "Darwin Ergonomic Platform Architecture"?
           19   A. Yes, I do.
10:24:33   20   Q. Would you read the Bates number that's listed there?
           21   A. Hytera, HYT1973-18047866.
           22   Q. Is that the same document listed on your slide?
           23   A. It is.
           24   Q. Okay. And is PTX 666, which I'm showing here, is this one
10:24:56   25   of the trade secret documents you relied on for trade secret
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            1   53?
            2   A. Yes, it is.
            3   Q. And why is this document relevant to your analysis?
            4   A. This is relevant in that it describes Darwin Ergonomic
10:25:08    5   Platform. It involves, for example, the material several days
            6   ago that we talked about on the boards where I showed how
            7   messages were routed to applications, how applications could
            8   send messages, and the Darwin ergonomic platform could turn on
            9   an application in response.
10:25:25   10   Q. And so was it correct that this document was not found in
           11   Hytera's file?
           12   A. No. No, it was produced by Hytera in the course of this
           13   litigation, and it was one of the documents that Motorola
           14   pointed to as describing its trade secret.
10:25:42   15   Q. Okay. Now, would you go -- if you look at the line
           16   underneath that, there's a Motorola number with the parenthesis
           17   "software architecture document of Matrix," do you see that?
           18   A. Yes, I do.
           19   Q. Okay. And would you read the Bates number of that
10:26:04   20   document?
           21   A. Certainly. It is Moto-1973-00198177.
           22   Q. The one above that, the one with the parenthesis "software
           23   architecture document of Matrix."
           24   A. Oh, I'm sorry. I was at the wrong one.
10:26:27   25   Moto-1973-00117728.
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            1   Q. And so that's PTX 1255. Do you recognize this document?
            2   A. Yes, that's the software architecture document of Matrix.
            3   Q. Did we show that just a few minutes ago?
            4   A. We did.
10:26:41    5   Q. And why were you showing that earlier?
            6   A. In response to another point with regard to Motorola's
            7   trade secrets.
            8   Q. And you've indicated on your slide that this document was
            9   found at Hytera. Was it found at Hytera?
10:26:55   10   A. Yes, it was.
           11   Q. Okay. Now, I'm going to show you PTX 839, which you also
           12   used during your examination.
           13              And you have it in front of you as well if you'd like
           14   to compare. But are these the same documents?
10:27:06   15   A. They are.
           16   Q. Version number 0.0.2?
           17   A. That's correct, 2005.
           18   Q. I'm sorry. Say that again.
           19   A. Yes. 2005.
10:27:16   20   Q. Okay. So PTX 839 is Bates labeled HYT-1973-19629596,
           21   right?
           22   A. That's right.
           23   Q. Is that the same document that you cited here, PTX 839?
           24   A. Yes, it is.
10:27:38   25   Q. Okay. And so was it correct when you were told that this
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            1   document was not found in Hytera's files?
            2   A. No, that was incorrect.
            3   Q. And there was one more, this one from the Compass logs.
            4   And before we get into that, you've identified the Compass logs
10:28:07    5   here, but these are documents that were not found at Hytera,
            6   right?
            7   A. That's right.
            8   Q. Why is that?
            9   A. Among other reasons, Mr. Chia's laptop was lost.
10:28:17   10   Q. And were there other evidence of deletions that you saw at
           11   Hytera?
           12   A. Yes.
           13   Q. Now, was the Compass log the only way in which Motorola
           14   confidential material got to Hytera -- let me withdraw that and
10:28:33   15   ask it in a better way.
           16              Are the Compass logs the only indication of Motorola
           17   confidential information at Hytera?
           18   A. No.
           19   Q. And why not?
10:28:41   20   A. First off, Hytera produced documents that showed that they
           21   had these documents in their possession, that was further
           22   evidence.
           23              Also I note that the source code that Hytera had would
           24   not have shown up on the Compass log.
10:28:57   25   Q. And the document up here that you labeled -- if I can zoom
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            1   in -- on your slide, it's PTX 1341. And I want you to look at
            2   the fourth paragraph in the description of trade secret, the
            3   software architecture trade secret.
            4   A. Okay.
10:29:20    5   Q. Second line from the bottom of the fourth paragraph,
            6   there's a document with the parenthetical "Darwin
            7   architecture."
            8   A. Yes, I see that.
            9   Q. Would you read the Bates number for that one?
10:29:31   10   A. Moto-1973-00222024.
           11   Q. So that's PTX 1341?
           12   A. That's right.
           13   Q. Same document you identified on your slide?
           14   A. That's right.
10:29:48   15   Q. And was it correct that this was not a document that was
           16   identified as part of Motorola's trade secret?
           17   A. No, that was incorrect.
           18   Q. Now, this document is the Darwin architecture document that
           19   we talked about earlier. Can you remind us why -- would you
10:30:08   20   remind us why you showed us this document earlier in your
           21   testimony?
           22   A. Yes. This is another document that provides a great deal
           23   of detail. In particular, it has the exact figure that we
           24   spent some time with.
10:30:23   25   Q. Now, how does this figure relate to the board that you
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            1   showed, the big board with Hytera's logo and Hytera's radio
            2   application framework?
            3   A. Okay. What I've showed, I used this figure that we see in
            4   front of us on one board and talked about how it worked. I
10:30:39    5   then showed you that Hytera had taken this figure and simply
            6   put their logo at the top and they did change the name of
            7   "translate" and "C lim," but otherwise it's the same.
            8   Q. But how can you say that, Dr. Wicker, when this document
            9   doesn't currently show up in Hytera's files?
10:30:57   10   A. They clearly had it at one point.
           11   Q. Did you see any evidence of -- withdrawn.
           12              Did you see any other indication that Hytera had
           13   possession of this document or used other portions of this
           14   document?
10:31:07   15   A. Yes. As I showed in my initial presentation, we went
           16   through it quickly, but I showed how many of the pages in this
           17   presentation showed up in a Hytera presentation, word for word.
           18   Q. Despite no longer being in Hytera's possession?
           19   A. That's correct.
10:31:28   20   Q. Now, some of the documents that you were shown during your
           21   cross-examination had different dates. If you remember just to
           22   set the stage, Mr. Chia performed certain downloads in, say,
           23   March of 2008, but the document that is now in this case is
           24   dated much later. Can you explain why that is?
10:31:51   25   A. Certainly. What happens with a Compass database is, it
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            1   maintains the current version of the documents. So as the
            2   documents are updated, their modification date change.
            3              So when Mr. Chia downloaded them in 2008, he got the
            4   versions that were available in 2008. Y.T. Kok, same thing.
10:32:12    5   These documents may have later been modified, and so they would
            6   show later dates than the date of the download.
            7   Q. And where are the documents, the actual versions of the
            8   documents that were taken by Mr. Chia to Hytera?
            9   A. Many of them have benched. They have been copied into
10:32:35   10   other documents and so forth. So that's how I know what
           11   they've seen. There were some that turned up on Peiyi Huang's
           12   computer.
           13   Q. I'm showing PTX 806, which is an e-mail that you talked
           14   about during cross between -- this part is between Huang Ni and
10:33:01   15   Huang Peiyi, do you remember this?
           16   A. Yes; indeed.
           17   Q. Can you refresh us on the conversation that's happening
           18   here?
           19   A. Okay. This was the discussion I had yesterday and talked
10:33:08   20   about earlier last week, where Peiyi Huang had sent a library,
           21   in particular a Motorola library to Huang Ni. And Huang Ni had
           22   said, "something is missing. I think I have the wrong header
           23   file."
           24   Q. And you were shown PTX 1057 and you were told that this was
10:33:34   25   the header file attached to that e-mail, right?
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            1   A. That's correct.
            2   Q. Now, this sort of captures what's going on in this header
            3   file (indicating). We talked about this earlier. What does
            4   this mean to encapsulate Motorola HPD framer library?
10:33:54    5   A. Okay. So this is an example of the concealment.
            6   Motorola's high performance framer library is in the form of
            7   compiled code, and the wrapping and encapsulating is changing
            8   the entry names so you can't tell that what you're actually
            9   getting is Motorola code.
10:34:10   10   Q. And is this -- is this code that's being sent?
           11   A. Yes, it is.
           12   Q. And is this a -- is there any reason why there would be a
           13   Hytera document that references a Hytera library but also
           14   references a Motorola library in Hytera's files?
10:34:31   15   A. Well, this is showing the use of Motorola's technology by
           16   Hytera, both the combination of rebranding and concealing.
           17   Q. Now, the -- I'm going to show you the metadata for the
           18   document that you were shown, PTX 1057.
           19              You'll see here -- if you'll see, it says the doc I.D.
10:34:49   20   102496, do you see that?
           21   A. Yes, I do.
           22   Q. And that's the same document that's PTX 1057?
           23   A. That's right.
           24   Q. And then says, "begin attached 102484." Do you see that?
10:35:08   25   A. Yes, I do.
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            1   Q. And that refers to the e-mail that it was attached to?
            2   A. That's right.
            3   Q. This is not that number, is it (indicating)?
            4   A. It is not.
10:35:25    5   Q. So the e-mail that you were shown is not the e-mail that
            6   attached the code that was at issue?
            7   A. That appears to the case, yes.
            8   Q. I have the e-mail that that code was actually attached to.
            9              MR. BROWN: May I approach, Your Honor?
10:35:37   10              THE COURT: Yes.
           11   BY MR. BROWN:
           12   Q. And just to prove that, you'll see "102484" here?
           13   A. Yes.
           14   Q. And if we look on the -- oh, actually let me introduce the
10:36:03   15   exhibit before I put it up there.
           16              DTX 3278, is this a document provided by Hytera during
           17   this litigation?
           18   A. Yes, it is.
           19   Q. And do you recognize the e-mail?
10:36:13   20   A. Yes, I do.
           21              MR. BROWN: Your Honor, plaintiff moves to admit DTX
           22   3278.
           23              THE COURT: It is received and may be published.
           24             (Said exhibit received in evidence.)
10:36:23   25   BY MR. BROWN:
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            1   Q. So the code was attached to this file 102484, which is the
            2   same as the e-mail we're about to show; PTX 3278.
            3              Now, this e-mail is a response from Huang's e-mail to
            4   Huang Peiyi?
10:36:43    5   A. That's correct.
            6   Q. And what is it that Huang Peiyi says and attaches in
            7   response to Huang Ni's e-mail?
            8   A. Okay. So here we can see framer_api_h is attached along
            9   with rfhal_c55.lib. And what Peiyi Huang is saying to Huang Ni
10:36:57   10   is:
           11             "... sorry for my late reply. The interface
           12             remain unchanged of using the
           13             RFHAL_syncL1timer."
           14                The input parameter will be the time.
10:37:15   15   Q. And from a technical perspective, what does that mean when
           16   Ms. Peiyi is re-attaching the same file we've been talking
           17   about, PTX 1057, and telling Huang Ni to use it.
           18   A. Okay. She's saying: Here is what you're supposed to use,
           19   reattach the file. So she, Peiyi Huang, is basically telling
10:37:37   20   Huang Ni the interface remains unchanged.
           21   Q. And the file that Huang Ni -- and remind me, did Huang Ni
           22   ever work for Motorola?
           23   A. No.
           24   Q. The file that Ms. Huang Ni is being asked to use is this
10:37:51   25   file (indicating), correct?
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            1   A. That's correct.
            2   Q. Now, is this an example of Peiyi Huang sending Huang Ni
            3   source code?
            4   A. Yes.
10:37:58    5   Q. I'm going to show you Huang Ni's testimony. What was Huang
            6   Ni's testimony about whether or not Peiyi Huang ever gave Huang
            7   Ni source code?
            8   A. She said "no."
            9   Q. Does this source code indicate, from a technical
10:38:13   10   perspective, whether or not it was Motorola source code?
           11   A. Yes, it did. It talked about writing and encapsulating,
           12   there's an explicit reference to Motorola's high-performance
           13   data framer library.
           14   Q. And how did Ms. Huang Ni respond to the question about
10:38:28   15   whether she's ever seen source code at Hytera that indicate it
           16   was Motorola code?
           17   A. She said "no."
           18   Q. Does this source code indicate whether or not it's an
           19   interface to one of Motorola's libraries, and how?
10:38:56   20   A. Yes, it does. It's a header file. And so as a header
           21   file, it provides definitions and interfaces that can be used
           22   with regard to a library; for example, rfhal.h -- or RFHAL,
           23   excuse me.
           24   Q. In your technical expertise, is that something that you
10:39:16   25   know because you're an expert or is that something that
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            1   software engineers generally would know?
            2   A. Software engineers generally know that.
            3   Q. And how did Ms. Huang Ni respond in the deposition when
            4   asked:
10:39:28    5             "Have you ever seen source code at Hytera that
            6             specifically said it is an interface to one of
            7             Motorola's libraries"?
            8   A. She said "no."
            9   Q. Have you seen evidence that there was additional Motorola
10:39:58   10   source code that was sent to Huang Ni in addition to that file?
           11   A. Yes.
           12   Q. Let me show you your meet PTX 197, which quotes from
           13   already admitted exhibit PTX 2019, to start with framing what
           14   we're looking at. What is PTX 1019?
10:40:13   15   A. Okay. So this is a list of non-recovered files from Peiyi
           16   Huang's laptop. This was part of the forensic analysis that's
           17   been discussed.
           18   Q. And when you say the forensic analysis that's been
           19   discussed, what are you talking about?
10:40:29   20   A. I'm talking about the fact that Peiyi Huang's laptop was
           21   found. It had been submitted for recycling. Submitted for
           22   reuse. And so when that was found out, Hytera produced it
           23   through its counsel and -- actually, I'm sorry, they did not
           24   produce the laptop. They had the laptop analyzed forensically.
10:40:51   25              So what that means is, one looks into the hard drive
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            1   and looks for evidence of data that's been erased. Even if you
            2   erase something on a laptop, it can still be seen by those with
            3   the right tools.
            4              And so this laptop was submitted to X-Ways. There
10:41:09    5   were some recovered files. There was a list of non-recovered
            6   files. This is an example of a list that was found, but files
            7   that weren't recovered.
            8   Q. What does it mean to be a list of non-recovered files?
            9   A. Okay. So X-Ways was able to identify files that had been
10:41:25   10   on the laptop by name. There's a file structure that's on the
           11   computer that keeps track of files. It has lists of what's
           12   been on the computer.
           13              They were able to recover that, identify that these
           14   files had been on the computer, but they couldn't get the files
10:41:44   15   themselves. That particular part of the disk was either
           16   corrupted or had been written over too many times.
           17   Q. And what about the excerpt that you're showing here
           18   indicated to you that whether or not Huang Ni had been sent
           19   additional Motorola source code other than what we just saw?
10:42:04   20   A. Well, for every one of these files that I'm showing, you
           21   can see that part of the path is RFHAL sent to Huang Ni. So
           22   each one of these files has a path name that includes "sent to
           23   Huang Ni," you see it going all the way down.
           24   Q. And were you able to investigate these files from Huang
10:42:26   25   Peiyi's laptop?
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            1   A. No; the files themselves were not recovered.
            2   Q. And were they found on Huang Ni's laptop?
            3   A. No, they weren't.
            4   Q. And why -- were they -- well, withdrawn.
10:42:39    5              Did you investigate the forensic logs from Huang Ni's
            6   laptop to figure out if they were ever deleted?
            7   A. Those were not made available to me.
            8   Q. What do you mean they weren't made available to you?
            9   A. In other words, I did not see a forensic log from Huang
10:42:58   10   Ni's computer. All I saw was the image of what was currently
           11   on the computer.
           12   Q. And why -- would that forensic log of one of Hytera's
           13   engineer's computers, would it have helped you understand
           14   whether or not these materials were actually sent to Huang Ni?
10:43:12   15   A. Yes. It would have shown me, for example, a forensic
           16   analysis of Huang Ni's computer might have turned up examples
           17   of these files that had been once been on her computer.
           18   Q. And were you able to review any other logs of any of the
           19   other engineers in this case that showed whether or not they
10:43:30   20   had been deleting files at any point over the last 5 or
           21   10 years?
           22   A. No. The only forensic data that I was provided was for
           23   Peiyi Huang's old laptop.
           24   Q. And are you aware of whether Hytera ever provided those
10:43:45   25   logs for any of their other engineers?
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            1   A. I don't believe they did. I haven't seen them.
            2   Q. Now, you were asked some questions about some of the source
            3   code you showed during your direct examination, and in
            4   particular, you were asked questions about why some of the that
10:44:08    5   that you relied on to show evidence of copying and trade secret
            6   misappropriations were not on Hytera's SVN but were elsewhere.
            7              Let's start with what's an "SVN"?
            8   A. Okay. An SVN is where Hytera keeps the actual releases of
            9   its source code. So if you want to see what's on a particular
10:44:29   10   radio, you go to the particular version on the SVN.
           11   Q. And why did you have to look in other places at Hytera in
           12   order to find the source code that's running on their radios?
           13   A. Well, for example, as we've talked about the libraries, the
           14   libraries contain compiled code. Hytera doesn't have the code
10:44:47   15   that was compiled and put into the library. So they've got
           16   libraries on their products for which they don't have the
           17   associated source code.
           18              Furthermore, there were other files that aren't on the
           19   SVN that shows how trade secrets were used. So I had to rely
10:45:03   20   on other source code in order to trace what had actually been
           21   done with all the material that had been taken from Motorola.
           22   Q. And how do you know that the file SVC_applications.cpp is a
           23   Motorola file that's in Hytera's possession?
           24   A. Because I can see it right here (indicating). I have a
10:45:24   25   copy of what Motorola produced as its SVC_applications.cpp and
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            1   I can compare them as you can right here on the screen.
            2   Q. And I think you indicated on the next slide here, you were
            3   asked how you knew -- how you knew that the other -- this is
            4   another part of SVC applications, the SVC at Hytera?
10:45:49    5   A. That's right.
            6   Q. How did you know that this was the file that was modified
            7   to be -- the Motorola file that was modified to be used at
            8   Hytera?
            9   A. Okay. So when I compared these two, the file on the left
10:45:59   10   to the file on the right, they were essentially word for word
           11   the same except for some changes.
           12              So what I noted here was instead of "get buffer,"
           13   "getbuff" as we see in the Motorola file, it now says
           14   "ROSAL_getbuffer." So the name had been changed. It's an
10:46:06   15   example of changing things to make it harder to detect the
           16   copying.
           17              So instead of "getbuff" as we see in the Motorola
           18   file, we see a change reflecting Hytera's name "ROSAL."
           19   Q. Now, I'm going to show you another excerpt from 1019, this
10:46:39   20   is the list of non-recovered files from Huang Peiyi. And I
           21   want to show you, we'll zoom in, to row 33268, and I'm
           22   highlighting SVC_applications.cpp. Do you see that?
           23   A. Yes, I do.
           24   Q. And this file shows up in the non-recovered log, so what
10:47:06   25   does that mean?
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            1   A. They weren't able to obtain the file, but they were able to
            2   get the name of the file and the pack.
            3   Q. And when you say "the pack," are you talking about this
            4   right here, "SVN/CPA/RAF_core_release" and then some additional
10:47:26    5   text?
            6   A. Yes, I am.
            7   Q. That path says "SVN" on it?
            8   A. That's right.
            9   Q. What does that mean?
10:47:33   10   A. What it's telling me is that this file
           11   "SVC_applications.cpp," the Motorola file we were looking at,
           12   actually was on the SVN server at some point in time.
           13   Q. What does that tell you about whether or not Motorola
           14   source code was at some point on Hytera's SVN?
10:47:51   15   A. It was there.
           16   Q. Are there other Motorola files that were also on Hytera's
           17   SVN?
           18   A. Yes. And the reason I can tell -- for example, here's a
           19   reference to "EMT." "Application.cpp," we've talked about.
10:48:11   20   "XLT," that's the translate functionality and the ergonomic
           21   test. "ACRT," that's a reference to a particular table that is
           22   in the ergonomic task. In fact, it's one we had up on the
           23   screen, it's the application cross-reference table. "EMT" user
           24   interface queue -- sorry, that's user input queue. And
10:48:33   25   Translate. These are all Motorola terms, these are all
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            1   Motorola files that were on Hytera's SVN.
            2   Q. Now, I thought these files were not on Hytera's SVN now.
            3   A. They aren't now.
            4   Q. What does that indicate?
10:48:49    5   A. They were deleted.
            6   Q. Is the SVN something that is a private repository that only
            7   a few people at Hytera can use or is it a wide use of material?
            8   A. It's a wide use of material at Hytera.
            9   Q. Now, were you provided with a forensic log of the SVN
10:49:08   10   server itself?
           11   A. No.
           12   Q. Okay. So why is it on Peiyi Huang's forensic log you're
           13   seeing indications of what was on the SVN? Why is that showing
           14   up on her computer?
10:49:20   15   A. She apparently had a local copy of the SVN on her machine.
           16   She was the manager of all software development, so that would
           17   make sense.
           18   Q. Okay. And why -- how is the local copy get there,
           19   technically?
10:49:30   20   A. It's copied from the SVN.
           21   Q. Is that part of the SVN process?
           22   A. Yes.
           23   Q. Can you just explain at a high-level what we're talking
           24   about about SVN, because I think it's a foreign concept.
10:49:40   25   A. Okay. So the SVN contains the release software, what's
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            1   going to actually go into the phones. And so a software
            2   manager would maintain the local copy of the SVN so she could
            3   do her job. So she could review code, for example, before it
            4   actually goes into the latest model phone.
10:49:59    5   Q. And how is it that people are able to access other things
            6   on an SVN? -- that's a bad question.
            7              How is it that other engineers at Hytera are able to
            8   access the SVN?
            9   A. They have access. There is a central SVN that others have
10:50:17   10   access to. It's the way they do their jobs through software
           11   developers.
           12   Q. Now, at Hytera, is it only source code that's store on the
           13   shared repository or is other technical material stored there
           14   as well?
10:50:36   15   A. If I remember correctly, it's mostly source code, but there
           16   is other technical information.
           17   Q. I'm going to show you your slide 290, which is an excerpt
           18   of PTX 818.
           19              What are you showing here with regard to Motorola
10:50:53   20   materials on the shared repository at Hytera?
           21   A. Okay. So what this is showing is that on this shared
           22   repository there is a Motorola research document. They're
           23   pointing to the particular VOX.doc in this case that we looked
           24   at earlier.
10:51:11   25   Q. And so what does this indicate here about whether or not
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            1   there's -- what does the folder structure here indicate?
            2   A. Okay. So what this is showing is that on the software
            3   server, product standardization is information about VOX. And
            4   in particular, it shows for anyone with access to the server,
10:51:32    5   that it's a Motorola document.
            6   Q. Now, I'm going to show you PTX 1020, which is the other log
            7   that you showed during your direct testimony, which is the list
            8   of recovered files from X-Ways. What does that mean that it
            9   was recovered?
10:51:59   10   A. Okay. This means that not only did they get the name, but
           11   they also got the file itself. So it was -- they were able to
           12   recover the entire file from Peiyi Huang's computer.
           13   Q. And were those some of the materials that you relied on in
           14   coming to conclusions about whether or not Hytera was in
10:52:17   15   possession of Motorola's trade secrets?
           16   A. Yes.
           17   Q. I'm going to show you an excerpt from that log 4789, Darwin
           18   Ergonomic Platform Architecture, do you recognize that file
           19   name?
10:52:36   20   A. Yes. That is actually one of the documents we've looked at
           21   in this case. It's one of the documents Motorola is relying on
           22   for its trade secrets.
           23   Q. Now, counsel represented during the cross that this was
           24   found only on Peiyi Huang's computer. What do you see in the
10:52:53   25   log file about whether or not that's true?
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            1   A. What this shows me from the path name is that it actually
            2   was on that central repository, the SVN. It was available to
            3   anyone with access to the SVN.
            4   Q. Now, there's a directory in the SVN called "Darwin." What
10:53:12    5   does that indicate?
            6   A. That indicates that there was a lot of information about
            7   Darwin and the ergonomic manager task, the architecture that
            8   we've talked about in court, on this corporate server at
            9   Hytera.
10:53:26   10   Q. Is "Darwin" a term that has any meaning at Motorola -- I'm
           11   sorry, at Hytera?
           12   A. No, it's a Motorola term. Motorola developed it as the
           13   name for its architecture.
           14   Q. What does this indicate to you about materials at Hytera
10:53:44   15   that relate to Motorola's trade secret?
           16   A. They were on -- all of this material was on the centrally
           17   accessible server that Hytera's engineers used.
           18   Q. So the title of the file name here "Darwin Ergonomic
           19   Platform Architecture," "Darwin Ergonomic Platform
10:54:11   20   Architecture," is this on the same doc?
           21   A. Yes, it is.
           22   Q. PTX 666?
           23   A. Yes.
           24   Q. And can you just briefly explain what this document is
10:54:20   25   again?
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            1   A. Certainly. It is the Ergonomic Platform Architecture, and
            2   going way back, that was the policeman, the one who controlled
            3   the way applications behaved, the way they received messages,
            4   the way they send messages, the behavior of the radio. It is a
10:54:37    5   very important document to Motorola.
            6   Q. Just one more example, Dr. Wicker. "Darwin PPT," what are
            7   you seeing here?
            8   A. That is a PowerPoint that we've looked at that describes in
            9   some detail providing a number of figures, the Darwin
10:55:04   10   architecture.
           11   Q. And again, with the directory structure, what does this
           12   indicate to you about what this file -- where this file was
           13   stored at Hytera?
           14   A. It was stored on the central Hytera server accessible to
10:55:18   15   engineers.
           16   Q. So the directory is "SVN" and what is that?
           17   A. "SVN" is the central server.
           18   Q. And "CPA" what does that refer to?
           19   A. "Common platform architecture," that is Hytera's term for
10:55:31   20   the technology that it borrowed.
           21   Q. Borrowed?
           22   A. Stole.
           23   Q. "RAF core"?
           24   A. That's, again, a reference to the Hytera term, "radio
10:55:44   25   architecture framework."
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            1   Q. And then the subdirectories there are "document/Darwin,"
            2   what does that indicate?
            3   A. So what that shows me is that on their central repository,
            4   SVN, they were doing development of the common platform
10:55:58    5   architecture, and within that folder they had "RAF core"
            6   details about the radio architecture framework, and then an
            7   entire folder with documents from Motorola that discussed
            8   Darwin.
            9              MR. BROWN: No further questions, Your Honor.
10:56:15   10              THE COURT: Good timing.
           11              Members of the jury, it's time for yet another cup of
           12   coffee. You are excused for a few minutes. The Court is
           13   adjourned.
           14             (Recess.)
11:17:12   15              THE CLERK: All rise.
           16             (The following proceedings were had in the
           17             presence of the jury in open court:)
           18              THE CLERK: The Court is in session. Please be
           19   seated.
11:18:14   20              THE COURT: Please proceed.
           21              MR. CLOERN: Quick housekeeping, Your Honor. We
           22   failed to admit yesterday one of the PTX's we've discussed, PTX
           23   1862B.
           24              THE COURT: I thought I ruled on that.
11:18:44   25              MR. CLOERN: It's a source code file.
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            1              MR. BROWN: No objection, Your Honor.
            2              THE COURT: If I did not previously rule on it, it is
            3   now admitted and may be published. And, indeed, it was
            4   published, right?
11:18:56    5              MR. CLOERN: It was, Your Honor.
            6              THE COURT: Very well.
            7             (Said exhibit received in evidence.)
            8              MR. CLOERN: Can we bring up Dr. Wicker's PDX files,
            9   8.196.
11:19:45   10   BY MR. CLOERN:
           11   Q. So these are files from Peiyi Huang's laptop, right?
           12   A. It's a list of non-recovered files, yes.
           13   Q. Exactly where I'm going. A list of non-recovered files,
           14   correct?
11:20:03   15   A. That's right.
           16   Q. So you can't see them, right?
           17   A. I can see the names. I can't see the files.
           18   Q. You can't see the files?
           19   A. That's right.
11:20:09   20   Q. In fact, you didn't look at the files, did you?
           21   A. Well, I saw the files with the associated names in
           22   Motorola's software releases, but I did not see the files as
           23   they were stored on Huang Ni's -- excuse me, Peiyi Huang's
           24   computer, because as I noted here, they weren't recovered.
11:20:27   25   Q. Whatever information is in those files, right there on the
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            1   screen, you never looked at that, right?
            2   A. That's right. The only thing recovered with regard to
            3   these files was their names and their path.
            4   Q. So you didn't look at those files, I think you're answering
11:20:43    5   "yes." "Yes," that's correct, right, you did not look at those
            6   files?
            7   A. I saw Motorola's files with these names. I did not see the
            8   files that had been stored on Peiyi Huang's computer; they were
            9   not recovered.
11:20:58   10   Q. I'm hoping you can answer, just tell me whether I'm correct
           11   or not in my statement.
           12              Dr. Wicker, you did not look at the files that are
           13   listed right here on PDX 8916, those specific files, you did
           14   not look at them?
11:21:19   15   A. I did not look at the files that were stored on Peiyi
           16   Huang's computer that were not recovered.
           17   Q. Now, it is your contention that these were sent by Peiyi
           18   Huang to Ms. Huang Ni, right?
           19   A. That's correct.
11:21:37   20   Q. Did you look on Huang Ni's files to see if any of the files
           21   listed here were sent to Huang Ni?
           22   A. Yes. I was able to see what was produced from Huang Ni's
           23   computer at the time the litigation started. These files were
           24   not on Huang Ni's computer, again, as produced.
11:22:00   25   Q. Well, are you suggesting that not all the proper
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            1   information was produced?
            2   A. At the time of production, assuming everything was produced
            3   that was available, these files were no longer on Huang Ni's
            4   computer.
11:22:14    5   Q. Do you have any basis to suggest that at the time of the --
            6   that there was anything that was not produced that was supposed
            7   to be?
            8   A. No. And I don't believe I said that. At the time of
            9   production, it is my understanding that these files were no
11:22:36   10   longer on Huang Ni's computer.
           11   Q. But you don't know what's in those files, so how can you
           12   say that?
           13   A. I know what these files are as far as Motorola source code.
           14   There's corresponding Motorola source code with theses names on
11:22:52   15   it and I know what's in those files.
           16   Q. So there were no files with those names containing code
           17   that says "Motorola" from Huang Ni's computer, right?
           18   A. That's right.
           19   Q. But there are files with those very names that say "Hytera"
11:23:05   20   at the top, aren't there?
           21   A. Yes, there are.
           22   Q. And that's because P.E. changes the Motorola code to Hytera
           23   code and then sends it to Hytera engineers, right?
           24   A. There are examples of where she did that, that's right.
11:23:21   25   Q. Uh-huh. And files with those exact file names are in Huang
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            1   Ni's computer listed "Hytera" on the top, having already been
            2   converted by P.E., right?
            3   A. I don't recall examples of these specific names as files
            4   that showed up on Huang Ni's computer.
11:23:47    5   Q. Okay. Can we bring up -- I'm going to hand you PTX --
            6   well, first, if you look, do you see "default_frame_list.h"?
            7   A. Yes, I do. It's right here.
            8   Q. That's listed right there, right?
            9   A. Yes.
11:24:12   10   Q. I'd like to hand you PTX 1862AA.
           11              Now, that's a source code file produced from Huang
           12   Ni's laptop, right?
           13   A. Yes, it is.
           14              MR. CLOERN: Your Honor, I would like to move that
11:24:57   15   into evidence, please.
           16              MR. BROWN: No objection, Your Honor.
           17              THE COURT: It is received and may be published.
           18             (Said exhibit received in evidence.)
           19   BY MR. CLOERN:
11:25:05   20   Q. Can you tell me the title? What is the name of that file
           21   that I've just handed you?
           22   A. Ah, I see. It's not on the code on the right, it's on the
           23   metadata. It does say "default_frame_list.h," so it is the
           24   same name.
11:25:30   25   Q. Right. And it's the same, and you want to maybe circle it
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            1   on your slide there? Can you indicate for us?
            2   A. I did.
            3   Q. Well, I think you circled it on the metadata for the source
            4   code file for Huang Ni's computer. So you can match that up.
11:25:44    5              There you go. Thank you.
            6              Now, this file, this PTX 1862AA that you were just
            7   handed from Ms. Huang Ni's laptop, that's a Hytera file, right?
            8   A. It was produced by Hytera in this case, that's correct.
            9   Q. It doesn't say Motorola's source code on it, does it?
11:26:08   10   A. No, actually it doesn't actually say anything. It begins
           11   right here, as you can see (indicating).
           12   Q. Uh-huh. It does not say "Motorola source code copyright
           13   2004," does it?
           14   A. No, it does not.
11:26:20   15   Q. And that's what the source code says that P.E. has on her
           16   computer that's from Motorola, right?
           17   A. Can you rephrase that question?
           18   Q. Uh-huh. The source code from Motorola that P.E. had on her
           19   computer, the secret stash that was found, that says "Motorola
11:26:39   20   source code copyright 2004" on the top, right?
           21   A. It is certainly the case that Peiyi Huang had source code
           22   on her computer that said "Motorola confidential."
           23   Q. That's right. And Peiyi Huang sends a file that has this
           24   name on it, "default_frame_list," right?
11:27:00   25   A. That's right.
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            1   Q. And we find that same file in Huang Ni's computer, right?
            2   A. That's right.
            3   Q. But it doesn't say "Motorola code" on it, does it?
            4   A. No, it doesn't.
11:27:11    5   Q. Now, let's look at one more really interesting thing about
            6   your slide that you didn't point out. PDX 81996 --
            7              THE COURT: Just a minute. You can stop those
            8   commentaries on the evidence. Just ask the question, and
            9   preferably not compound in nature.
11:27:23   10   BY MR. CLOERN:
           11   Q. Do you see on PDX 8196 where it says "with us to convert"?
           12   A. Yes, I do.
           13   Q. And you know that means that Peiyi Huang was converting the
           14   files before she sent them out, right?
11:27:43   15   A. "With us to convert," that would be one way to interpret
           16   it, yes.
           17   Q. Uh-huh. Had you not considered that before?
           18   A. Yes, I had.
           19   Q. But you didn't raise that in your direct, right?
11:27:56   20   A. I don't agree. I've shown this to the jury and I've
           21   answered questions on it several --
           22   Q. And you've discussed it extensively, right?
           23   A. Yes, I have.
           24   Q. But you didn't point that out, did you?
11:28:05   25   A. I wasn't asked.
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            1   Q. Did you look in Huang Ni's computer for the files to see if
            2   what she was sent was, in fact, files with this name that had
            3   already been converted?
            4   A. Yes. I was given access to the production. I was able to
11:28:21    5   see what was on Huang Ni's computer at the time of production
            6   so --
            7   Q. Sorry. Go ahead.
            8   A. I'm finished.
            9   Q. So you knew that Huang Ni was sent files with these file
11:28:34   10   names that didn't say "Motorola" on it, right?
           11   A. I know she was sent files and I know what was on her
           12   computer, the date of production looked like this (indicating),
           13   it did not say "Motorola," that's correct.
           14   Q. And you keep pointing out what was in her computer on the
11:28:50   15   date of production. You understand that Huang Ni's files, like
           16   everybody else's from Hytera, her laptop was forensically
           17   restored and anything that was deleted that could be recovered
           18   was recovered just like Peiyi Huang's, you understand that,
           19   right?
11:29:06   20   A. No, that's not my understanding.
           21   Q. So if the Hytera witnesses come in and testify that that
           22   is, in fact, the case, then you don't have anything to dispute
           23   that, right?
           24   A. Well, we have a difference of opinion. The only forensic
11:29:23   25   analysis I've seen was listed in recovered and non-recovered
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            1   files from Peiyi Huang's old laptop. It's my understanding
            2   what was made available were the contents of, for example,
            3   Huang Ni's laptop at the time of discovery.
            4   Q. You understand that Jim Luo submitted a declaration in this
11:29:44    5   case attesting under oath that all of the laptops that were
            6   gathered and imaged were also forensically restored before they
            7   were produced, right?
            8   A. I remember something to that effect, yes.
            9   Q. You pointed out some testimony from Huang Ni. And I
11:30:20   10   apologize about slipping. I refer to her as Maggie, which I
           11   think I've done once or twice. You understand that's her
           12   English name, right?
           13   A. Yes, I do.
           14   Q. I apologize for that.
11:30:28   15              Ms. Huang Ni, I think you pointed out some deposition
           16   testimony from her?
           17   A. Yes, I did.
           18   Q. Where she answered a question:
           19             Okay. Has Peiyi Huang ever sent you source
11:30:35   20             code?"
           21                And she answered, "no," right?
           22   A. Correct.
           23   Q. But clearly, Peiyi Huang has sent Huang Ni source code,
           24   right?
11:30:42   25   A. That's correct.
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            1   Q. That answer is not correct?
            2   A. That's right.
            3   Q. In fact, Peiyi Huang was the head of software under
            4   Mr. Sam Chia for the DMR product, right?
11:31:01    5   A. I think it was Y.T. Kok -- or G.S. Kok, actually, that she
            6   was serving under. She was in charge of development software,
            7   generally.
            8   Q. For DMR?
            9   A. That's right.
11:31:10   10   Q. And Huang Ni was one of Peiyi Huang's software engineers,
           11   right?
           12   A. That's correct.
           13   Q. So Huang Ni writes source code all day long. That's what
           14   she does, right? She's a software engineer, right?
11:31:28   15   A. Certainly one of her major tasks. She might read it as
           16   well.
           17   Q. And Peiyi Huang's is her boss, correct?
           18   A. That's right. Or was.
           19   Q. So you don't you think Ms. Huang Ni was confused by this
11:31:41   20   question when she would answer that given that Huang Ni is a
           21   software engineer and her boss is also a software engineer,
           22   that they've never sent each other source code?
           23              THE COURT: Rephrase the question. Break it down.
           24   It's compound in nature and argumentative.
11:31:56   25   BY MR. CLOERN:
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            1   Q. Have you looked at Huang Ni's deposition testimony that's
            2   at issue that we're discussing?
            3   A. Yes, I have.
            4   Q. And you understand that Huang Ni was asked a series of
11:32:08    5   questions about whether she had ever been shown Motorola code
            6   by one of the former Motorlans, right?
            7   A. Yes. Okay, I understand your question to be asking. She
            8   was asked a number of questions in series about whether she had
            9   seen Motorola code, that's correct.
11:32:28   10   Q. Uh-huh. She was asked:
           11             "Have Sam or Y.T. ever sent you code that
           12             specifically references that it's Motorola
           13             code?"
           14                She was asked that, right?
11:32:36   15   A. That's right.
           16   Q. And she said "no," right?
           17   A. That's right.
           18   Q. And she was asked:
           19             "Did Y.T. Kok ever send you the file called
11:32:42   20             framer_api?"
           21             And she said, "no," right?
           22   A. That's correct.
           23   Q. And, in fact, Y.T. Kok didn't send her the "framer_api" as
           24   we saw in the e-mail. That was Peiyi Huang, right?
11:32:57   25   A. That's correct.
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            1   Q. And she was asked:
            2             "Have you ever seen a file with that name?"
            3                And she said:
            4             "I am not too sure."
11:33:01    5                Right?
            6   A. That's right.
            7   Q. And she was deposed 10 years after the e-mail where Peiyi
            8   Huang sent her the framer_api, right?
            9   A. Yes, that's correct. Roughly 10.
11:33:18   10   Q. You think -- is it fair to say that Ms. Huang Ni, being a
           11   software engineer, is e-mailed thousands of files every year?
           12   A. Yes. She receives a lot of files.
           13   Q. And you looked at her files, right, that were produced in
           14   this case?
11:33:39   15   A. Yes, I have.
           16   Q. And there were thousands and thousands of her e-mails that
           17   were actually produced on the source code computer in this
           18   case, right?
           19   A. That's correct.
11:33:48   20   Q. And that's because she's e-mailed thousands and thousands
           21   of files, right?
           22   A. Presumably; yes.
           23   Q. So do you think it's reasonably that Ms. Huang Ni did not
           24   recall one of those thousands of files from 10 years ago?
11:34:04   25   A. She may have forgotten, that's certainly possible.
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            1              THE COURT: Members of the jury, it is for you to
            2   determine the credibility of any witness.
            3              Proceed.
            4   BY MR. CLOERN:
11:34:18    5   Q. And after -- the next question was:
            6             "Has Peiyi Huang ever given you source code?"
            7             And then she says, "no," right?
            8   A. That's right.
            9   Q. And then she's asked the question again:
11:34:28   10             "Do you recall ever seeing source code at Hytera
           11             that indicates --"
           12              THE COURT: If we could have a sidebar, please.
           13              MR. CLOERN: Yes, Your Honor.
           14             (Proceedings heard at sidebar on the record:)
11:34:43   15              THE COURT: There's no objection to this line of the
           16   questioning, and yet at some point the Court has to step in and
           17   say: As a general proposition, it is not proper to ask one
           18   witness to account for the testimony of another in terms of
           19   credibility. And that's what's occurring here. Asking this
11:34:59   20   witness to speculate or comment on the believability of another
           21   witness, and that is being conveyed to the jury.
           22              MR. CLOERN: Your Honor, may I respond?
           23              THE COURT: Yes.
           24              MR. CLOERN: So this witness, Dr. Wicker, was asked
11:35:13   25   about that very question and pointing out that Ms. Huang Ni's
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            1   answer was not true and incorrect and inconsistent with the
            2   evidence. And all I'm trying to point out is that that answer
            3   was in the context of a number of a bunch of questions about
            4   Motorola code and then one was tossed in it's not about
11:35:33    5   Motorola code. He testified directly on this issue, we're just
            6   trying to ask if he has considered that issue.
            7              THE COURT: It goes back to the basic point to ask one
            8   witness to comment on the credibility of another. As a general
            9   proposition, it's not acceptable.
11:35:49   10              Now, if opposing counsel, if you did not object to
           11   some of these questions when they were put to the witness
           12   previously, well, then you waive that objection. What I'm
           13   saying now, this is repetitious again asking this witness to
           14   give his opinion on the credibility of another witness. And
11:36:07   15   your questions become argumentative, and they are compound, and
           16   they also include facts not in evidence that you certainly are
           17   tossing into the mix.
           18              And so you got to stop it. But since we're at a
           19   sidebar here now, if you want to ask one question to kind of
11:36:24   20   ameliorate the effect of what I'm doing here, ask the soft
           21   questions of the witness.
           22              MR. CLOERN: Yes, Your Honor. I'll move on. Thank
           23   you.
           24             (Proceedings resumed in open court:)
11:36:40   25   BY MR. CLOERN:
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            1   Q. Okay. Can we please bring up slide 8139, please.
            2             (Brief pause.)
            3              MR. CLOERN: I'm sorry, 8193.
            4              THE COURT: Jurors, are you picking up on this? Do
11:37:31    5   you see this? Is it on your screen?
            6             (Jurors responded in the affirmative.)
            7              THE COURT: Okay. Proceed.
            8   BY MR. CLOERN:
            9   Q. Motorola's counsel asked you about this e-mail on redirect,
11:37:44   10   correct?
           11   A. That's correct.
           12   Q. And this is an e-mail from Huang Ni back to P.E., correct?
           13   A. That's correct.
           14   Q. And it says that "there is no function in the head file, do
11:37:59   15   you miss something," right?
           16   A. That's right.
           17   Q. And on the right, we see an e-mail from earlier in the
           18   chain, correct?
           19   A. That's right.
11:38:13   20   Q. And that e-mail attaches two attachments, correct?
           21   A. Yes.
           22   Q. One of them is the rfhal_c55.lib, right?
           23   A. That's correct.
           24   Q. And that's one of the libraries that are one of the three
11:38:26   25   libraries we've been discussing, right?
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            1   A. That's right.
            2   Q. That was built by Peiyi from Motorola code, right?
            3   A. Yes. That's correct.
            4   Q. And the attachment, "framer_api_h," do you see that?
11:38:43    5   A. Yes, I do.
            6   Q. And that is the attachment to this e-mail, right?
            7   A. To this one. Yes, that's correct.
            8   Q. And that's what you're pointing out in your slide 8.193,
            9   that this is the framer_api_h attachment to this e-mail that
11:39:06   10   Huang Ni is sending back to P.E., right?
           11   A. This e-mail shows that as an attachment.
           12   Q. And, in fact, if you look earlier in the chain, what
           13   happened is, P.E. sent this library and the framer api header
           14   interface to Huang Ni, right?
11:39:23   15   A. That's right.
           16   Q. And then Huang Fei -- and P.E. says, "Huang Fei, please try
           17   this library out, right? That's from P.E.?
           18   A. That's correct.
           19   Q. And Huan Fei forwards it to Huang E., right?
11:39:36   20   A. That's correct.
           21   Q. And Huang E. writes back to P.E. again, and this chain
           22   attaches these two attachments, right?
           23   A. That's right.
           24   Q. And that's where you Huang E. says, essentially, there's
11:39:52   25   something wrong, there's no function here, right?
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            1   A. That's right.
            2   Q. Okay. Now, on redirect your counsel -- I'm sorry,
            3   Motorola's counsel showed you DTX 3278, which is the next
            4   e-mail in the chain, correct?
11:40:06    5   A. That's right.
            6              MR. CLOERN: Can we bring that upside by side, please.
            7   BY MR. CLOERN:
            8   Q. And can we look at the -- and that's the e-mail that you've
            9   talked about on redirect, right?
11:40:25   10   A. That's correct.
           11   Q. And that's P.E.'s response, right?
           12   A. That's right.
           13              MR. CLOERN: Can we look at the second page, please,
           14   where it shows the attachments again.
11:40:35   15   BY MR. CLOERN:
           16   Q. Do you see it says -- there's the same two attachments
           17   there, right?
           18   A. Yes.
           19   Q. And did you -- did you understand Motorola's counsel to
11:40:48   20   suggest that somehow those are different attachments from the
           21   earlier e-mail?
           22   A. The attachments have the same name.
           23   Q. In fact, it's the exact same "framer_api_h," right?
           24   A. It's got the same names, right.
11:41:04   25   Q. I'm asking, they're the same, aren't they?
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            1   A. I believe they are.
            2   Q. So you were -- it is not your testimony that when I asked
            3   you on cross about "framer_api_h," that I asked you about
            4   something of an attachment other than what's at issue in this
11:41:28    5   e-mail string, right?
            6   A. The attachment associated with this string would be RFHAL
            7   and framer, as we've discussed.
            8   Q. Uh-huh. And that is "framer_api_h," that's what I asked
            9   you about on our earlier examination, right?
11:41:44   10   A. That's correct.
           11   Q. So let's look at P.E.'s response on the first page. P.E.
           12   says:
           13             "Sorry for my late reply. The interface remain
           14             unchanged of using rfhal_syncL1timer."
11:42:12   15              Do you see that?
           16   A. Yes, I do.
           17   Q. And you testified yesterday on cross that Peiyi Huang sent
           18   out the framer_api header interface by mistake, right?
           19   A. Yes, that appeared to be the case.
11:42:26   20   Q. Okay. And what Peiyi Huang is saying in this e-mail
           21   response, she's saying you need to use the rfhal_syncL1timer,
           22   right?
           23   A. That's right.
           24   Q. Thank you.
11:42:57   25              You talked about some of the logs from Peiyi Huang's
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            1   computer on your redirect?
            2   A. Yes.
            3   Q. Specifically, I think PTX 1019. And you talked about --
            4              MR. CLOERN: Can we bring that up, please.
11:43:18    5   BY MR. CLOERN:
            6   Q. And specifically you talked about a line item for
            7   SVC_applications.cpp?
            8   A. That's correct.
            9   Q. And do you -- actually I didn't follow it.
11:43:33   10              MR. BROWN: The line number.
           11              MR. CLOERN: Yes, Mr. Brown. Thank you.
           12              MR. BROWN: 33 to --
           13              MR. CLOERN: Thank you very much.
           14              Jim, would you mind calling that one up, please.
11:43:52   15   BY MR. CLOERN:
           16   Q. And at that line, what we see is a file name,
           17   SVC_applications.cpp, right?
           18   A. That's correct.
           19   Q. And the path is SVN/CPA/Rap_core_release/SVC, right?
11:44:24   20   A. That's correct.
           21   Q. Now, that's a path on to Peiyi Huang's local computer,
           22   right?
           23   A. That's right. Peiyi Huang had an image of what was on the
           24   SVN server.
11:44:35   25   Q. Uh-huh. These files were not recovered from Peiyi Huang's
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            1   laptop, right?
            2   A. I think that's right. I think this was one of those where
            3   the name was there, but not the file itself.
            4   Q. So similar to the sent to Huang Ni files we looked at
11:44:59    5   earlier, correct?
            6   A. That's right. We don't have the files. We have the names
            7   and path names.
            8   Q. So similarly, you have not looked at this particular
            9   SVC_applications.cpp, right?
11:45:10   10   A. I've not looked at the one that was on Peiyi Huang's
           11   computer. It was not recovered.
           12   Q. And so you don't know whether this is badged as Motorola
           13   code or whether it's badged as Hytera code already having been
           14   converted by Peiyi Huang, right?
11:45:29   15   A. The name refers to a Motorola file, but you're right, I
           16   don't know what this particular copy looked like.
           17   Q. And that's the same with the slide we looked at earlier
           18   where in the path directory of files sent to Huang Ni, there
           19   were Motorola file names, but it had already been scrubbed of
11:45:48   20   Motorola references, right? We saw that in Huang Ni's
           21   computer?
           22   A. There was a file on Huang Ni's computer that was a Motorola
           23   file that had the top deleted, that's right. The confidential
           24   notice, et cetera, taken off.
11:46:07   25   Q. And so just like with that, those part of P.E.'s logs for
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            1   unrecovered files, you don't know which -- whether this is a
            2   file that had already been converted or not, right?
            3   A. That's right. I can only recognize the name and see where
            4   that came from, but the particular file it's being pointed at
11:46:30    5   no longer exists on the computer.
            6   Q. Do you -- are you familiar with SVN?
            7   A. Yes.
            8   Q. And you're pointing out -- I believe you said this is an
            9   image of the SVN?
11:46:42   10   A. That's correct.
           11   Q. And by that, do you mean of the Hytera corporate
           12   centralized SVN?
           13   A. Exactly.
           14   Q. The one everybody has access to?
11:46:51   15   A. That's right.
           16   Q. But you don't know if this is an image of that, do you?
           17   A. It's on the software manager's computer. It's a path name
           18   that begins with "SVN." It is identical to similar path names
           19   that are currently on the SVN that. That is basis for my
11:47:09   20   conclusion.
           21   Q. Well, you understand that SVN has the capacity to allow for
           22   any number of local -- local versions, right?
           23   A. SVN does allow for local versions and I believe that's what
           24   we're seeing here.
11:47:25   25   Q. Well, I want to be clear with my question. When I say a
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            1   local version, I mean a local version that is not connected to
            2   the central repository. So not an image.
            3   A. You can do that, yes.
            4   Q. So when a company buys the SVN or gets a license to an SVN,
11:47:50    5   it can have an instance of it in a central server that everyone
            6   has access to, right?
            7   A. That's right.
            8   Q. And then depending on how many individual licenses you
            9   obtained, you could also have a separate instance of SVN on a
11:48:06   10   local machine, right?
           11   A. Right. And that's what we're seeing here. We're seeing an
           12   instance of SVN on Peiyi Huang's computer.
           13   Q. And they can be completely separate, right?
           14   A. They could have different things.
11:48:22   15   Q. So just because P.E. Huang had a local instance of the SVN
           16   on her laptop, doesn't mean that the files listed here that she
           17   stored locally in an SVN file system on her laptop were also
           18   stored in a corporate SVN, right?
           19   A. Given her role as software manager and from what I've seen,
11:48:44   20   I would conclude that this is an image of what's actually on
           21   the corporate server. That would be something that in her
           22   responsibility she would have to keep track of.
           23   Q. You're guessing?
           24   A. No, I'm not guessing.
11:48:58   25   Q. You have seen no documentation that would tell you, one way
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            1   or the other, whether what Peiyi Huang was storing in her local
            2   version of SVN was also on the corporate version of SVN, right?
            3   A. The evidence that I've seen is from her logs and from her
            4   position, and this is my conclusion, namely, that that is an
11:49:24    5   image of the actual corporate SVN.
            6   Q. So just from this log, that's what you're basing your
            7   opinion on?
            8   A. And her position as software manager.
            9   Q. Do you have any documentation that says all software
11:49:42   10   managers -- that software managers and companies that do
           11   software aren't allowed to keep local versions of SVN with
           12   different documentation on it?
           13   A. No, I don't have any documentation like that.
           14   Q. So Hytera made productions from its corporate SVN, right?
11:50:03   15   A. Yes, it did.
           16   Q. Including logs of files requested by Motorola, right?
           17   A. That's correct.
           18   Q. In fact, in your report, you rely on logs of files from the
           19   SVN?
11:50:17   20   A. That's correct.
           21   Q. And those logs go back to 2008, right?
           22   A. Yes. Some of them do.
           23   Q. But you haven't matched up this document showing on a local
           24   version of P.E.'s computer SVN to the Hytera corporate SVN,
11:50:32   25   have you?
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            1   A. That's right. There's no longer an example of this today
            2   or at the time of production on the SVN.
            3   Q. Well, I didn't ask if there was -- if there was a document
            4   from Hytera's SVN. I'm asking, you didn't match it up to the
11:50:56    5   SVN logs that go back to 2008 showing whether something has
            6   been deleted or not, right?
            7   A. That's right.
            8              MR. CLOERN: Can we bring up slides 8.233, please.
            9   BY MR. CLOERN:
11:51:28   10   Q. Now, you pointed out that this was copied. This isn't in
           11   Hytera's documentation, this was copied from Motorola, right?
           12   A. That's correct.
           13   Q. And we talked about how the information in this diagram is
           14   also a Motorola patent, right?
11:51:54   15   A. We talked about how these individual names as inputs were
           16   in the patent, yes.
           17   Q. And a description of virtual sources, it was all described
           18   in the patent, right?
           19   A. These names were in the patent and there was a reference to
11:52:08   20   virtual sources.
           21   Q. Not just listing, right? But there's a paragraph, a
           22   description of virtual sources, including everything in those
           23   boxes?
           24   A. That's right. We walked through that on cross.
11:52:20   25   Q. So what is undoubtedly copied here is information that one
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            1   could glean from the patent with the exception of it being in a
            2   diagram versus a textual description, right?
            3   A. One could glean the names, the virtual sources, and that
            4   they interact with higher-layered entities, that's right.
11:52:48    5   Q. And a lay person looking at Motorola's documentation that
            6   Motorola alleges are trade secrets, wouldn't know that, would
            7   they?
            8   A. Well, they could compare. So they could walk through it.
            9   This is a much longer document than the patent, as I've shown,
11:53:07   10   which simply was counsel's questions. So they could do a
           11   comparison.
           12   Q. Motorola has numerous VRIS patents, right?
           13   A. It does.
           14   Q. And so one would have to analyze numerous VRIS patents
11:53:20   15   along with Motorola's VRIS technical spec to understand what
           16   was public and what was proprietary, correct?
           17   A. That would certainly be one way to do it.
           18   Q. And that hasn't -- you haven't done that analysis, right?
           19   A. No. What I've shown is that the patents -- the patent that
11:53:39   20   you brought up does not in any way cover the extent of the
           21   trade secret.
           22   Q. So Sam G.S., Y.T., P.E., Ken Wong, Yu Kok and Eunice, those
           23   were the six Motorlans, the primary ones that came over in the
           24   2008 timeframe, right?
11:54:11   25   A. That's right.
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            1   Q. And they undoubtedly took documents, right?
            2   A. They certainly did.
            3   Q. And undoubtedly took source code, right?
            4   A. They did.
11:54:20    5   Q. And Hytera's experts, Mr. Grimmett and Ms.
            6   Frederiksen-Cross, they don't dispute that, right?
            7   A. Not that I know of.
            8   Q. And you certainly don't dispute it?
            9   A. I don't.
11:54:35   10   Q. So the difference in your opinion and theirs is the --
           11              THE COURT: Just a minute, counsel. The question
           12   assumes facts not in evidence. If you were to complete the
           13   question, it would assume facts not in evidence.
           14              MR. CLOERN: I'll try it a different way.
11:54:58   15   BY MR. CLOERN:
           16   Q. You agree -- you reviewed Mr. Grimmett's opinion, his
           17   report in coming to your opinions in this case, right?
           18   A. Yes, I did.
           19   Q. And you reviewed Ms. Frederiksen-Cross' report in coming to
11:55:12   20   your opinions in this case, right?
           21   A. Yes, I did.
           22   Q. And would you agree that there is a disagreement between
           23   you and them about the level of use of that information?
           24   A. I agree with that.
11:55:27   25              THE COURT: Is that the understatement of the year?
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            1             (Laughter in the courtroom).
            2              MR. CLOERN: Yes, Your Honor.
            3   BY MR. CLOERN:
            4   Q. So there were a lot of Motorola documents that were found
11:55:47    5   on Peiyi Huang's computer, right?
            6   A. That's correct.
            7   Q. And a lot of Motorola source code, right?
            8   A. That's correct as well.
            9   Q. And there is probably 100 or so documents found on Sam
11:56:03   10   Chia's computer, 100, 200 Motorola documents, something like
           11   that?
           12   A. At the time of production, that's correct.
           13   Q. And maybe 80 or so in Y.T. Kok's possession?
           14   A. Yes, I think that's right.
11:56:17   15   Q. And there aren't any -- and they rebranded those documents
           16   and distributed them within Hytera, right?
           17   A. Yes, they did.
           18   Q. Some of them, correct?
           19   A. Some.
11:56:33   20   Q. Not all of them, right?
           21   A. That's right.
           22   Q. And there's only one example that we've seen at trial so
           23   far that is legacy Hytera employees circulating around a
           24   document that just blatantly says "Motorola" on it, right?
11:56:59   25   A. Can you rephrase that question?
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            1   Q. Sure. Huang Ni, in 2016, circulated a Motorola testing
            2   document to a number of other Hytera engineers, right?
            3   A. Yes. That's correct.
            4   Q. And that's what we call the NEO -- it says the file name is
11:57:20    5   Neo_P21?
            6   A. That's correct.
            7   Q. But that's the only Motorola branded document that we've
            8   talked about that was found in legacy Hytera employees' files,
            9   right?
11:57:34   10   A. That's my recollection, that's right. Separating out the
           11   Hytera engineers who came from Motorola.
           12   Q. Now, you did talk about two documents, one is the VOX
           13   document. We've had some discussion of it during your
           14   testimony, right?
11:57:54   15   A. That's right.
           16   Q. And that was an attempted rebranding by Peiyi Huang, right?
           17   A. That's what the metadata shows, that's right.
           18   Q. Actually, maybe I asked that incorrectly, because she
           19   deleted the Motorola and the confidentiality legend in 2004,
11:58:13   20   correct?
           21   A. That's what the metadata shows.
           22   Q. So she wasn't rebranding it to Hytera, right?
           23   A. No, she simply deleted the Motorola logo confidentiality
           24   notice and some other information on the front of the
11:58:27   25   document.
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            1   Q. And that document was -- after years later she came to
            2   Hytera, that was e-mailed to Qin Jun and Judy Yu, right?
            3   A. That's right.
            4   Q. And Qin Jun wasn't -- neither Qin Jun nor Judy Yu testified
11:58:47    5   that they saw those Motorola deletions, correct?
            6   A. That's what they said.
            7   Q. So that's one. The other is the testing document that was
            8   sent to Roger Zhang. You remember talking about that?
            9   A. Yes, I do.
11:59:06   10   Q. And that's the document where Roger Zhang cut and pasted a
           11   portion of the document out of a Hytera document, what was
           12   branded a Hytera document into his e-mail, right?
           13   A. That's right.
           14   Q. But he says the file name, he says, I saw this in the
11:59:24   15   document entitled Moto conformance testing, right?
           16   A. That's right.
           17   Q. So there was an attempting rebranding there, correct?
           18   A. That's correct.
           19   Q. And the original document was from -- the original Motorola
11:59:38   20   branded was from Sam Chia's files?
           21   A. Yes. That's right.
           22   Q. So you understand -- is it your understanding that there
           23   were about 60 million pages of paper produced in this case?
           24   A. Well, I don't know how much paper was produced.
11:59:56   25   Q. It was a lot, right?
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            1   A. It was a lot.
            2   Q. And there were 30 people from Hytera that were deposed?
            3   A. Yes. A lot of people were deposed as well.
            4   Q. Laptops were searched?
12:00:08    5   A. Yes. During the production phase, there were a number of
            6   laptops whose contents were produced.
            7   Q. And this was over a 10-year -- this went all the way back,
            8   right, to 2008 and beyond, correct?
            9   A. Not the production phase. The production phase reached
12:00:28   10   back in time to things that had happened earlier, but it's my
           11   understanding production started a few years ago.
           12   Q. Right. But let me clarify my question.
           13              Documents from 2008 were produced, right?
           14   A. That's correct.
12:00:40   15   Q. And 2009?
           16   A. That's right.
           17   Q. 2010?
           18   A. And going --
           19   Q. All the way up to today?
12:00:45   20   A. That's right.
           21   Q. So with millions of documents produced, over a 10-year
           22   period, there was still no document badged "Motorola" found in
           23   the legacy Hytera employees' files?
           24   A. That's my recollection.
12:01:13   25   Q. You talked a little bit on redirect about Motorola's
       Case: 1:17-cv-01973 Document #: 792 Filed: 12/20/19 Page 69 of 224 PageID #:53680
                                       Wicker - recross by Cloern
                                                                                           1799

            1   investigation, right?
            2   A. That's correct.
            3   Q. In 2008. And it's your opinion that the actions of Sam
            4   Chia, Y.T., using the libraries like they did, that was
12:01:48    5   fraudulent concealment, right?
            6   A. Yes.
            7   Q. That prevented Motorola from identifying the theft of
            8   Motorola code, right?
            9   A. In part, yes.
12:02:00   10   Q. But you're aware that in 2008 Motorola employee Nickie
           11   Petratos sent an e-mail regarding G.S. Kok and others going to
           12   Hytera saying, make sure we have all the IP protected, right?
           13   A. That's right.
           14   Q. So she had a suspicion in 2008, right?
12:02:26   15   A. She did.
           16   Q. And that wasn't fraudulently concealed, was it?
           17   A. No. She was concerned that the departure of these
           18   individuals for Hytera.
           19   Q. Right. In 2010 Motorola employees became aware of a
12:02:42   20   suspicion un-muting that had occurred in the Hytera radio,
           21   right?
           22   A. I had -118 dBM DVM, if memory serves.
           23   Q. Motorola was aware of that?
           24   A. Yes, they were.
12:02:54   25   Q. And so you can't fraudulently conceal what somebody is
       Case: 1:17-cv-01973 Document #: 792 Filed: 12/20/19 Page 70 of 224 PageID #:53681
                                       Wicker - recross by Cloern
                                                                                           1800

            1   already aware of, right? Nobody went and made the Motorola
            2   people forget it?
            3   A. No. No, it was clear. They knew about the -118 dBM
            4   un-muted.
12:03:07    5   Q. And they began monitoring G.S. Kok's e-mails in and out of
            6   Motorola, right?
            7   A. They did that as well.
            8   Q. And in 2012, there was further suspicions related to
            9   inoperability testing, right?
12:03:21   10   A. That's right.
           11   Q. And that was the alarm issue? It was hard to turn the
           12   alarm off or something?
           13   A. Exactly. You had to -- it was a bug. You had to re-set,
           14   and that's what we've been discussing earlier today.
12:03:32   15   Q. And that's the one where Darrell Stogner testified that
           16   they never completed the reverse engineering, right?
           17   A. There was an e-mail that said they never completed the
           18   reverse engineering. I believe Ted Kozlowski testified that
           19   they had, indeed, completed it.
12:03:48   20   Q. Including notes from Darrell Stogner that they hadn't,
           21   correct?
           22   A. There was notes that indicated a process was incomplete.
           23   It's not clear that's associated with what you are referring to
           24   because it says "infringement" at the top. But there is --
12:04:07   25   Q. And there was discussion -- oh, I'm sorry.
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                                       Wicker - recross by Cloern
                                                                                           1801

            1   A. It's all right. I was just saying, it said "infringement"
            2   at the top of the paragraph that counsel is referring to, which
            3   would point to a different matter.
            4   Q. And there was discussion of hiring a company called TAEUS
12:04:19    5   to do the code reverse, right?
            6   A. That's right.
            7   Q. And that would've cost $5,000?
            8   A. Just for the first stage. The second stage would've cost
            9   $50,000.
12:04:29   10   Q. And it was deemed that the $5,000 to reverse engineer the
           11   code, that was too expensive, right?
           12   A. It was felt that they already had sufficient expertise
           13   looking at the reverse engineering, and so they didn't pursue
           14   it.
12:04:44   15   Q. Right. And they said the reason they didn't pursue is
           16   because it's going to be too expensive, right?
           17   A. I believe it was said it wasn't worth the money, yes, given
           18   what they had already done.
           19   Q. And at any time they could've taken about an hour to write
12:05:00   20   a query and check the Compass logs and see if any of this
           21   information had been taken. Any time between 2008 and 2012,
           22   that could've been done, right?
           23   A. They could've written a script. I don't know that it would
           24   take them just an hour, but they could've written a script and
12:05:15   25   check the Compass logs, yes.
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                                 Wicker - further redirect by Brown
                                                                                           1802

            1              MR. CLOERN: Your Honor, I have no further questions.
            2              MR. BROWN: Very briefly, your Honor.
            3              THE COURT: Yes.
            4                         FURTHER REDIRECT EXAMINATION
12:05:28    5   BY MR. BROWN:
            6   Q. Professor Wicker, you were shown --
            7              MR. BROWN: If I could please have the Elmo, please.
            8   Sorry.
            9             (Brief pause.)
12:05:49   10   BY MR. BROWN:
           11   Q. You were shown this code file which was found on Ms. Huang
           12   Ni's computer?
           13   A. That's right.
           14   Q. Very briefly. Is this Motorola code (indicating)?
12:05:59   15   A. Yes, it is.
           16   Q. And I want to note this date here (indicating), the
           17   creation date and the modified date. Do you see that?
           18   A. Yes, I do.
           19   Q. When did that happen?
12:06:11   20   A. It happened in -- it looks like it was created after it was
           21   modified.
           22   Q. Okay. So around the 2014 time period?
           23   A. That's correct. Yeah, they both say "2014."
           24   Q. How does that compare to the code that you were shown here
12:06:24   25   that counsel represented it was this file, the
       Case: 1:17-cv-01973 Document #: 792 Filed: 12/20/19 Page 73 of 224 PageID #:53684
                                 Wicker - further redirect by Brown
                                                                                           1803

            1   default_frame_list sent to Huang Ni, how do those dates come
            2   on?
            3   A. Okay. As we can see, that file was created in 2009 and
            4   deleted in 2013.
12:06:41    5   Q. Do you see any indication --
            6              THE COURT: There was a trail-off of your answer.
            7              MR. BROWN: I'm sorry, Your Honor.
            8              THE COURT: Say that again.
            9              THE WITNESS: Yes. What I was showing was that the
12:06:45   10   file that I was discussing with counsel, default_frame_list.h,
           11   was created in 2009, deleted in 2013.
           12   BY MR. BROWN:
           13   Q. So how can that be the file that you were shown during
           14   recross?
12:07:02   15   A. Clearly the file that is referenced here was changed before
           16   it was stored in this one (indicating). It's not the same
           17   file, in other words.
           18   Q. And so does that indicate whether or not Huang Ni was the
           19   one who edited the file that she was sent?
12:07:19   20   A. That would be what this is showing me. She had clearly
           21   opened it and saved it in a different form.
           22   Q. Now, if you wanted to be absolutely certain about that and
           23   know what the chain of custody was of the file that was sent
           24   from Peiyi to Huang Ni and then subsequently modified, what
12:07:38   25   would you need to look at to know that?
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                                 Wicker - further redirect by Brown
                                                                                           1804

            1   A. I would need to see a copy of this file as it was sent, and
            2   then I would compare it to the file that was produced as being
            3   on Huang Ni's computer.
            4   Q. What about forensic logs from Huang Ni's computer, would
12:07:53    5   that have helped in your analysis here?
            6   A. Yes. That would've shown, for example, that this
            7   particular file was on her computer at an earlier date than the
            8   creation date.
            9   Q. And where are those forensic logs?
12:08:05   10   A. They were not produced.
           11   Q. By Hytera?
           12   A. That's correct.
           13   Q. Now, you were also asked a number of the questions about
           14   the SVN. And this is, what I'm showing here is the list of
12:08:21   15   non-recovered files?
           16   A. That's right.
           17   Q. And you were asked whether or not you were able to look at
           18   the files that were on this list. Why weren't you able to look
           19   at them?
12:08:30   20   A. They weren't covered.
           21   Q. And you were also asked whether or not you had documentary
           22   evidence that these were on the SVN. Were you ever provided by
           23   Hytera a forensic analysis of Hytera's SVN server?
           24   A. No, I was not.
12:08:48   25   Q. What would that have shown?
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                                 Wicker - further recross by Cloern
                                                                                           1805

            1   A. That would have shown me whether or not --
            2              MR. CLOERN: Objection, Your Honor.
            3              THE COURT: Sustained.
            4   BY MR. BROWN:
12:08:54    5   Q. In your technical experience, what would an SVN -- how
            6   would a forensic log at the SVN server assist in this case?
            7   A. What it would've shown me was --
            8              THE COURT: Just a minute. Read the question back
            9   slowly to the witness.
12:09:15   10             (Question read.)
           11              THE COURT: You got that question?
           12              THE WITNESS: Yes, Your Honor.
           13              THE COURT: Answer that specific question.
           14   BY THE WITNESS:
12:09:17   15   A. It would've shown me the existence of documents on the SVN
           16   that had been deleted and were no longer available.
           17   BY MR. BROWN:
           18   Q. Have you seen -- has Hytera produced to you a forensic
           19   analysis of their SVN server?
12:09:32   20   A. No.
           21              THE COURT: All right. That's enough on redirect. A
           22   few questions on recross to complete this witness.
           23                         FURTHER RECROSS-EXAMINATION
           24   BY MR. CLOERN:
12:09:48   25   Q. The whole point of an SVN is to track the source code,
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                                 Wicker - further recross by Cloern
                                                                                           1806

            1   right?
            2   A. That's right.
            3   Q. And so you can look at the files and see back to the
            4   beginning of time whether anything was deleted in an SVN
12:10:00    5   environment, right?
            6   A. If it's been properly maintained and hasn't been interfered
            7   with, that's correct.
            8   Q. And you've not -- you've seen no documentation that shows
            9   that the SVN was, you know, altered in some way?
12:10:14   10   A. A forensic log would show that, but you're right, that was
           11   not produced. I did not see it.
           12   Q. There are logs that have been produced from the SVN for
           13   source code files that show all the changes, deletions,
           14   modifications added and who did them all the way back to 2008,
12:10:29   15   right?
           16   A. Those logs were produced, yes.
           17   Q. You had those logs?
           18   A. Yes.
           19              THE COURT: All right. Thank you, counsel.
12:10:36   20              You may step down.
           21              THE WITNESS: Thank you, Your Honor.
           22             (Witness excused.)
           23              THE COURT: Members of the jury, it's ten after 12:00.
           24   Please return at ten after 1:00.
12:10:48   25              This trial is adjourned while the Court deals with
       Case: 1:17-cv-01973 Document #: 792 Filed: 12/20/19 Page 77 of 224 PageID #:53688
                                 Wicker - further recross by Cloern
                                                                                           1807

            1   another matter.
            2             (The following proceedings were had out of the
            3             presence of the jury in open court:)
            4              MR. CLOERN: Your Honor, there is one housekeeping
12:11:06    5   matter --
            6              THE COURT: I have to deal with, counsel.
            7
            8             (Luncheon recess taken from 12:11 o'clock p.m.
            9             to 1:10 o'clock p.m.)
           10
           11                    *     *      *     *     *     *      *     *
           12
           13
           14    I CERTIFY THAT THE FOREGOING IS A CORRECT TRANSCRIPT FROM THE
           15           RECORD OF PROCEEDINGS IN THE ABOVE-ENTITLED MATTER
           16
           17
           18   /s/Blanca I. Lara                        November 26, 2019
           19
           20
           21
           22
           23
           24
           25
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                                                                                    1808

     1                    IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
     2                             EASTERN DIVISION

     3   MOTOROLA SOLUTIONS, INC., and MOTOROLA               )   No. 17 CV 1973
         SOLUTIONS MALAYSIA SDN. BHD,                         )
     4                                                        )
                        Plaintiffs,                           )
     5   vs.                                                  )   Chicago, Illinois
                                                              )
     6   HYTERA COMMUNICATIONS CORPORATION, LTD.,             )   November 27, 2019
         HYTERA AMERICA, INC., and HYTERA                     )
     7   COMMUNICATIONS AMERICA (WEST), INC.,                 )
                                                              )
     8                  Defendants.                           )   1:12 o'clock p.m.

     9                              TRIAL - VOLUME 11-B
                                 TRANSCRIPT OF PROCEEDINGS
   10
                    BEFORE THE HONORABLE CHARLES R. NORGLE, SR.,
   11                                and a jury

   12    APPEARANCES:

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   23                                United States District Court
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                                                                                    1809

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   16

   17    ALSO PRESENT:               MR. RUSS LUND and
                                     MS. MICHELE NING
   18

   19

   20

   21

   22

   23

   24

   25
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                                     Rangan - direct by New
                                                                                    1810

     1         (Proceedings heard in open court.           Jury in.)

     2               THE COURT:    Please call the next witness.

     3               MR. ALPER:    Yes, Your Honor.

     4               Plaintiff calls Dr. Sandeep Rangan.

     5               MR. ALLAN:    Your Honor, before we get started, we've

     6   got a pending Daubert motion.

     7               THE COURT:    Yes, I have it before me.         You may make

     8   objections as the witness testifies, but in its broadest

     9   sense, the motion is denied.

   10                MR. ALLAN:    Yes, Your Honor.

   11          (Witness sworn.)

   12                THE CLERK:    Please be seated.

   13                MS. NEW:    Your Honor, Megan New on behalf of

   14    Motorola.

   15                May I proceed?

   16                THE COURT:    Yes, please proceed.

   17                MS. NEW:    Thank you.

   18         SANDEEP RANGAN, Ph.D., PLAINTIFFS' WITNESS, DULY SWORN

   19                               DIRECT EXAMINATION

   20    BY MS. NEW:

   21    Q.   Dr. Rangan, please introduce yourself to the jury.

   22    A.   Hi.    I'm Dr. Sandeep Rangan, and I'm a professor at New

   23    York University.

   24    Q.   And at really high level, can you just explain to the jury

   25    why you're here to testify today.
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                                     Rangan - direct by New
                                                                                    1811

     1   A.   Sure.    You've heard Dr. Wicker go in detail about the

     2   possession and use of Motorola confidential material.

     3                What I wanted to do is provide an engineering

     4   perspective on the sharing of that material and to the extent

     5   to which engineers would have realized its confidential

     6   nature.

     7                And I'll also provide an analysis on the extent to

     8   which Hytera could have developed the asserted trade secrets

     9   independent of that material.

   10                 THE COURT:   Do you regard your testimony as

   11    repetitious of what the previous witness testified to?

   12                 THE WITNESS:    No, I do not.

   13                 THE COURT:   Have you been in the courtroom during the

   14    course of the day?

   15                 THE WITNESS:    Yes.

   16                 THE COURT:   And during the course of

   17    Professor Wicker's testimony?

   18                 THE WITNESS:    Yes, I have, Your Honor.

   19                 THE COURT:   All right.     Please proceed.

   20    BY MS. NEW:

   21    Q.   Dr. Rangan, is it correct that you prepared a slide deck

   22    to assist in your testimony today?

   23    A.   Yes, I did.

   24    Q.   And are those the slides in front of you in the -- on the

   25    desk?
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                                     Rangan - direct by New
                                                                                    1812

     1   A.   Yes, they are.

     2                MS. NEW:   Your Honor, permission to the publish to

     3   the jury PDX 09.

     4                THE COURT:   Proceed.

     5   BY MS. NEW:

     6   Q.   Okay, Dr. Rangan.       Let's start with your background.             Can

     7   you just give the jury a brief overview of your educational

     8   history.

     9   A.   Sure.

   10                 I got my Bachelor's of Applied Science in electrical

   11    engineering at the University of Waterloo, and then a master's

   12    and Ph.D., also in electrical engineering, at the University

   13    of California at Berkeley.

   14                 I then did postdoctoral appointments at the

   15    University of Michigan and then at Bell Labs.

   16    Q.   Can you explain what it means to do postdoc work?

   17    A.   Sure.

   18                 When you do your Ph.D., that's a substantial amount

   19    of independent research in a field, and postdoctoral work is

   20    further research work after that.

   21    Q.   Can you describe your industry experience after your

   22    postdoc work.

   23    A.   Sure.

   24                 I started, my first job in industry was at Bell Labs,

   25    which is one of the premier wireless research centers.
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                                     Rangan - direct by New
                                                                                    1813

     1                That work spun off to a startup called Flarion

     2   Technologies, which -- where I was a co-founder.               That was the

     3   year of 2000.

     4                That got acquired by Qualcomm Technologies in 2006,

     5   where I was a director of engineering.

     6                And then in 2010, I returned back to academia, where

     7   I am a professor today.

     8   Q.   All right.     Let's start with Flarion.

     9                Can you tell the jury about what type of products you

   10    worked on while you were at Flarion.

   11    A.   Sure.

   12                 That was a really interesting experience.           This was

   13    in the year of 2000.        At that time, the Internet was just

   14    starting up and it was actually very hard to get cellular data

   15    that made, say, surfing the Internet on your smartphone.                   You

   16    probably take that for granted, but that was actually very

   17    difficult to do that -- to do at that time.

   18                 What we had done was develop really one of the first

   19    commercial technologies to enable smartphones to be able to

   20    surf the Internet.       That would become a precursor for a lot of

   21    4G technology that you probably have in your phone today.

   22    Q.   Now, did the technology that you developed at Flarion, did

   23    that involve base stations and mobile devices like what we've

   24    been talking about with Motorola and Hytera's DMR products?

   25    A.   Yes, they did.
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                                     Rangan - direct by New
                                                                                    1814

     1   Q.   Can you just briefly explain what those are.

     2   A.   Sure.

     3                A mobile device in a cellular context is a device

     4   like your smartphone; anything that you would carry around

     5   with you.     And if you've ever seen those large towers that

     6   your phone might connect to, that's -- that and all the

     7   equipment below it is the base station.

     8   Q.   And is that what we've commonly become -- we've commonly

     9   started calling a cell tower?

   10    A.   Yes, that's correct.

   11    Q.   Okay.    And what was your role in development of the

   12    cellular system at Flarion?

   13    A.   Well, as a co-founder and since we were building that

   14    entire system from scratch, I was involved in really every

   15    aspect of the engineering.         So that was your initial system

   16    design, the initial algorithm studies, a lot of the firmware,

   17    the software, the DSP that you've maybe heard before.

   18                 I also supervised hardware teams, test teams, field

   19    support, working with business development, and so on.

   20    Q.   How many people did you supervise in that role as a

   21    director at Flarion?

   22    A.   About 150 engineering staff at its peak.

   23    Q.   And would you consider yourself to have been in a project

   24    management role?

   25    A.   Yeah, that's also a very important part of my role.               And
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                                     Rangan - direct by New
                                                                                    1815

     1   that would involve, for example, all the staffing plans

     2   initially, all of the product scheduling; and then, as the

     3   project progressed, trying to keep track of it, as well as the

     4   budgeting and so on.

     5   Q.   Now, you mentioned that Flarion was sold to Qualcomm in

     6   2006; is that right?

     7   A.   That's right.

     8   Q.   Okay.    And did you then go work at Qualcomm?

     9   A.   Yes.    At Qualcomm I was a director of engineering,

   10    responsible for infrastructure products there.

   11    Q.   And what does that mean, "infrastructure products"?

   12    A.   Well, more specifically, I was -- two of the larger

   13    projects that I worked on.         The first was a very large-scale

   14    microchip development for UNB, which was their version of 4G

   15    at the time.

   16                 And then after that, I worked on another large chip

   17    for a 4G, what was called femtocell.            That's a small base

   18    station that could be deployed, say, in a public space, like

   19    an airport or a hotel lobby or something like that.

   20    Q.   And what was your -- what was your title at Qualcomm?

   21    A.   I was a director of engineering.

   22    Q.   And as the director of engineering, what was your role on

   23    those two projects that you just mentioned?

   24    A.   Yeah, so, again, there I had systems teams working with

   25    the algorithm development, a lot of the firmware, the DSP,
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                                     Rangan - direct by New
                                                                                    1816

     1   software, hardware teams, and also task teams as well.

     2   Q.   How many people did you supervise on those teams?

     3   A.   About 70 people in each project.

     4   Q.   And did you also have project management responsibilities

     5   at Qualcomm?

     6   A.   Absolutely.     Those -- both of those projects, I was really

     7   seeing from the beginning.         So that was all the initial

     8   staffing estimates, the initial costing estimates, and then

     9   trying to do revisions of those as the project progressed.

   10    Q.   Were the engineering teams at Qualcomm and Flarion

   11    structured in a similar manner?

   12    A.   Yes, they were.

   13    Q.   Okay.    And if we look at the next slide, can you just

   14    briefly explain the organization of the engineering teams that

   15    you staffed and worked on at Flarion and at Qualcomm.

   16    A.   Sure.    So on this demonstrative, I've tried to put out an

   17    organization of the way that you would see teams at Qualcomm

   18    or Flarion structured.

   19                 You would have the systems engineers, who would do

   20    things like the specifications, the initial design,

   21    simulation, and so on.

   22                 There would be hardware engineers.         They would

   23    develop things like the integrated circuits and the FPGAs that

   24    you might have heard about earlier; the DSPs, you've heard a

   25    lot about that, the DSP engineers.
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     1                There would be software engineers writing all the

     2   upper-level code, as well as test engineers.              You saw the

     3   importance of that right from Mr. Lund's presentation at the

     4   beginning.

     5                And then there's also a lot of other important staff

     6   for project management, field test, and then helping

     7   application engineers working with the customers.

     8   Q.   Were the technologies that you worked on at Qualcomm and

     9   at Flarion similar to the DMR technology at issue in this

   10    case?

   11    A.   Yes, they were.

   12                 MS. NEW:   Okay.    If we could go to the next slide.

   13                 Thank you.

   14    BY MS. NEW:

   15    Q.   Can you just explain the overlap and the similarities

   16    between your work at Flarion and Qualcomm and the DMR

   17    technology here.

   18    A.   Sure.

   19                 So to do that, I have to put this table here to try

   20    to help that out.

   21                 First of all, you have to understand they're all

   22    wireless communication technologies, and so the basic

   23    principles of communication apply to all of them.

   24                 And in particular, they both have mobile devices and

   25    as well as fixed infrastructure, like repeaters or base
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                                     Rangan - direct by New
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     1   stations.

     2                In addition, they all work with standards.           And in

     3   fact, the standard for LTE, that maybe you are using on your

     4   phone today, is also produced by the same organization, ETSI,

     5   that does the DMR standard in this case.

     6                They have a similar internal structure, having DSPs,

     7   FPGAs, ASICs, and RF, radiofrequency components.

     8                And in particular with the DSPs, they all have DSPs.

     9   And the Flarion DSP, incidentally, is the same DSP, that C55

   10    that you might remember that you saw in the Motorola products.

   11    Q.   During your time at Qualcomm and Flarion, did you develop

   12    any technology that was considered a trade secret?

   13    A.   Absolutely.     Everything that we developed would be

   14    considered trade secrets.         That's all the software, the

   15    hardware designs, the design documents.              Those are the crown

   16    jewels for any wireless communications company, and those

   17    would be trade secrets.

   18    Q.   Now that we've covered your industry experience, can you

   19    tell the jury a little bit about your teaching experience.

   20    A.   Sure.

   21                 I love teaching.     Today I lead, really, one of the

   22    leading 5G labs.       Actually, our lab was -- we did a lot of

   23    pioneering work in 5G.

   24                 And, actually, Chicago happens to be one of the first

   25    test cities for 5G, so about four or five years after I got
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                                     Rangan - direct by New
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     1   it, you can now try out some of the technology that came

     2   partly from our lab.

     3                I'm also a professor, of course, in wireless

     4   technology and digital signal processing.             So I teach classes

     5   in wireless communications, digital signal processing, and

     6   related fields.

     7   Q.   And do you do research and write articles as well in your

     8   role as a professor at NYU?

     9   A.   Absolutely.     I continue to do research in that area very

   10    actively.

   11    Q.   Okay.    And you -- you mentioned that your lab is one of

   12    the foremost labs in the world on wireless technology.

   13                 Can you explain a little bit about the work that you

   14    do through that lab.

   15    A.   Oh, yeah, sure.

   16                 In addition to all the work in 5G, we have about 18

   17    professors, but we also collaborate extensively with the

   18    industry.     We actually have one of the largest industry

   19    academic partnerships, 18 companies, across not just wireless

   20    communication, but I think almost any engineering discipline

   21    in the U.S.

   22                 So some of those companies are companies like OPPO,

   23    one of the largest handset makers in China, and many of the

   24    names that you might have heard of that you might be using

   25    products today.
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                                     Rangan - direct by New
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     1   Q.   And have you written any articles that have been

     2   published?

     3   A.   Yes.    I have about at least 150 publications in scientific

     4   journals and conferences.

     5   Q.   And do those articles relate to wireless communications

     6   technology?

     7   A.   Yes, they're either all on wireless communications

     8   technology directly or in related fields like signal

     9   processing.

   10    Q.   And are you also the named inventor on any patents?

   11    A.   Yes.    About 50 patents, again, all of which are --

   12    virtually every one of which is in wireless communications.

   13    Q.   Dr. Rangan, are you being paid for your work and your

   14    testimony here today?

   15    A.   Yes, I am.

   16    Q.   Does your compensation depend at all on the outcome of

   17    this litigation?

   18    A.   Absolutely not.

   19    Q.   And have you served as an expert witness before?

   20    A.   Yes, I have, a handful of times.

   21    Q.   And did any of those cases relate to the DMR technology at

   22    issue in this case?

   23                THE COURT:    How many cases are in "a handful"?

   24                THE WITNESS:     I think four prior to this one,

   25    Your Honor.
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                                     Rangan - direct by New
                                                                                    1821

     1               THE COURT:    Proceed.

     2   BY MS. NEW:

     3   Q.   Did any of those cases relate to the DMR technology at

     4   issue in this case?

     5   A.   Yes.    Two of those cases, previous cases, were

     6   specifically on DMR.

     7   Q.   And have you been accepted by the Court in any of those

     8   cases as an expert?

     9   A.   Yes.    In both cases.

   10                MS. NEW:    Your Honor, at this time Motorola tenders

   11    Dr. Sandeep Rangan as an expert in wireless network

   12    communications, signal processing, and engineering and

   13    development of wireless communications products.

   14                THE COURT:    The witness may testify consistent with

   15    Federal Rule of Evidence 702.

   16    BY MS. NEW:

   17    Q.   Dr. Rangan, what were you asked to do in this case?

   18    A.   So, as I said, you heard from Dr. Wicker that -- who had

   19    testified in detail about the possession and use of Motorola

   20    trade secrets.      And what I wanted to get from an engineering

   21    perspective is really at two things:            Look at the spread of

   22    that information and assess to the extent which an engineer

   23    would perceive it as confidential or not.

   24                And second, also try to independently analyze the

   25    extent to which Hytera could have developed these asserted
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                                     Rangan - direct by New
                                                                                    1822

     1   trade secrets had they not received that information.

     2   Q.   What materials did you consider in forming your opinions?

     3   A.   So I really used a large volume of material.              I've tried

     4   to put it up on this slide in sort of four categories.

     5                The first is what you could call internal technical

     6   material.     These would be the initial requirements,

     7   specifications, and maybe design documents, as well as maybe

     8   schematics for circuits, source code, and also internal

     9   communications amongst the engineers.

   10                 So looked at publicly -- public domain documents.

   11    These are things like the product documentation, marketing

   12    material, standards, and patents, for example.

   13                 I also tried to review the case documents of this, so

   14    the number of witnesses who were deposed.             I looked at the

   15    other experts' expert reports, various filings, and so on.

   16                 And then, as I said, I have a large amount of

   17    industry experience myself, and I tried to bring that to the

   18    case as much as I can as well.

   19    Q.   Why did you look at this voluminous amount of materials?

   20    A.   It was a lot of material, but I really wanted to give a

   21    very accurate assessment for my analysis.

   22    Q.   After reviewing the material, did you reach any opinions

   23    in this case?

   24    A.   Yes, I did.

   25    Q.   Okay.    And if we could pull up the next slide, can you
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                                     Rangan - direct by New
                                                                                    1823

     1   tell the jury what those opinions are.

     2   A.   Sure.

     3                So I think at a high level, you could think of it as

     4   three opinions that I have.

     5                The first, from my analysis, was that not only was

     6   Motorola confidential and proprietary information widely

     7   shared amongst the Hytera employees, but shared in a manner

     8   that it should have been apparent to those recipients that it

     9   was indeed confidential and proprietary.

   10                 The second is that from my analysis, that Hytera

   11    really did not and could not have developed a comparable DMR

   12    product in -- without having these misappropriated trade

   13    secrets in any commercially reasonable amount of time.

   14                 And then, finally, on a trade-secret-to-trade-secret

   15    basis, I also believe they could not have conceived of or

   16    developed those trade secrets in a commercially reasonable

   17    time, or at least the amount of time that it took Motorola.

   18    Q.   So let's start with your first opinion, which is that

   19    Motorola's confidential and proprietary information was widely

   20    shared at Hytera.

   21                 What specifically did you find with respect to the

   22    sharing of that information within Hytera?

   23    A.   Sure.

   24                 So for that, I believe -- I found that, first of all,

   25    that the Motorola confidential and proprietary information was
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                                     Rangan - direct by New
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     1   indeed widely shared amongst Hytera.            But not only that;

     2   because the nature of the material, it should have been

     3   apparent to large portions of the engineering staff that it

     4   was confidential in nature.

     5                Finally, going to the very management of the company,

     6   it should have been apparent to at least Mr. Chen, who was the

     7   CEO, that it was -- that the sharing of this confidential

     8   information was ongoing.

     9   Q.   Okay.    Dr. Rangan, were you here for opening statements?

   10    A.   Yes, I was.

   11    Q.   And what is your understanding of Hytera's position --

   12                 THE COURT:   Opening statements are -- sustained.

   13                 MS. NEW:   Thank you, Your Honor.

   14                 THE COURT:   No "thank you."       It's after the ruling.

   15    BY MS. NEW:

   16    Q.   Dr. Rangan, what is -- generally speaking, what is your

   17    understanding of Hytera's position with --

   18                 THE COURT:   I just ruled on the objection, Counsel.

   19    Ask another question.

   20                 MS. NEW:   Sure.

   21                 THE COURT:   And not a "sure."       Just another question.

   22    BY MS. NEW:

   23    Q.   Dr. Rangan, have you seen evidence in this case --

   24                 THE COURT:   I have already sustained objections with

   25    respect to the use of the word "evidence."             Rephrase the
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                                      Rangan - direct by New
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     1   question.

     2                  You've been here for the last several days, have you

     3   not?

     4                  MS. NEW:   I have, Your Honor.

     5                  Slip of the tongue.    It won't happen again.

     6                  THE COURT:   I didn't want you to necessarily say

     7   that, but please rephrase the question.

     8   BY MS. NEW:

     9   Q.     Dr. Rangan, in your review of materials, documents, and

   10    deposition testimony in this case, have you seen evidence that

   11    G.S. Kok, Y.T. Kok, and Sam Chia did not keep Motorola's

   12    confidential information close to the vest?

   13                   MR. ALLAN:   Objection, Your Honor.

   14                   THE COURT:   Overruled.    The witness may answer.

   15                   And you'll tie this up in your next series of

   16    questions?

   17                   MS. NEW:   Yes, Your Honor.

   18                   THE COURT:   Okay.   You may answer.

   19    BY THE WITNESS:

   20    A.     Yes, I've seen extensive evidence of that.

   21    BY MS. NEW:

   22    Q.     Okay.    So let's take a look at some of the documents in

   23    this case.

   24                   If you can turn to Slide 18 in the binder in front of

   25    you, we'll look at PTX 806 and 1863, which are already in
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                                     Rangan - direct by New
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     1   evidence.

     2                MR. ALLAN:   Objection, Your Honor.        This is -- the

     3   next several slides are duplicative of several Dr. Wicker

     4   slides, which extensive expert testimony has been covered over

     5   the last several days.

     6                THE COURT:   What's your response to that objection?

     7                MS. NEW:   While there may be a handful, four or five

     8   documents, that will also be used by Dr. Rangan, Dr. Rangan is

     9   offering a separate and different opinion than those offered

   10    by Dr. Wicker, but it is important for the jury to see the

   11    documents to --

   12                 THE COURT:   So repetition will be minimalized.

   13                 MS. NEW:   Correct, Your Honor.

   14                 THE COURT:   All right.     Overruled.

   15                 You may proceed.

   16    BY MS. NEW:

   17    Q.   So let's look at PTX 806 and 1863, which are in evidence.

   18                 Did you consider these documents in reaching your

   19    opinion?

   20    A.   Yes, I did.

   21    Q.   Okay.    And you recall that PTX 806 is an e-mail chain

   22    between Wang Fei, Peiyi Huang, and Huang Ni, correct?

   23    A.   That's correct.

   24    Q.   Okay.    And what is PTX 1863?

   25    A.   It's one of the attachments, framer_api, within that
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                                     Rangan - direct by New
                                                                                    1827

     1   e-mail chain.

     2   Q.   Okay.    Now, we've talked a lot about the library files.

     3                Let me ask you, was the underlying source code for

     4   the rfhal_c55 library file contained in this e-mail, PTX 806,

     5   when it was sent to Huang Ni and Wang Fei?

     6   A.   No, it was not.

     7   Q.   Did Hytera ever produce the underlying source code for the

     8   rfhal_c55 library file attached to Peiyi Huang's e-mail?

     9                MR. ALLAN:   Objection, Your Honor. This is exactly

   10    the same testimony.

   11                 THE COURT:   All right.     Overruled.

   12                 You may answer.

   13                 THE WITNESS:    I'm sorry.     Could you repeat the

   14    question?     I just --

   15    BY MS. NEW:

   16    Q.   Sure.

   17                 Did Hytera ever produce the underlying source code

   18    for the rfhal_c55 library file attached to Peiyi Huang's

   19    e-mail represented in PTX 806?

   20    A.   No, they did not.       My understanding is that it was lost.

   21    Q.   Would Peiyi Huang have needed to have the underlying

   22    source code files to create the library file?

   23    A.   Absolutely.     You can't create the library files without

   24    the source code.

   25    Q.   Now, Dr. Rangan, do most companies keep the underlying
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                                     Rangan - direct by New
                                                                                    1828

     1   source code files that are used to create their library files?

     2   A.   Absolutely.     It's unimaginable to not have the underlying

     3   source code files, particularly for critical functionality

     4   like your DSP.

     5   Q.   And from an engineering perspective, why would a company

     6   want to keep those underlying source code files?

     7   A.   Because you -- any time you want to make any modifications

     8   to that -- to that functionality, or even if you want to use

     9   it as references, and you may need to make modifications

   10    because the parts change or you have customer requests or you

   11    find bugs, all of those reasons, you would need to keep the

   12    underlying source code to continue to use that functionality.

   13    Q.   And would it be sufficient just to have the library files?

   14    A.   No.    If you -- once you have the library files, you can't

   15    do any of those things:        modifications, references, and so on.

   16    Q.   And is it your understanding that the source code that was

   17    contained in the library file rfhal_c55 is currently being

   18    used in Hytera's products?

   19    A.   That's my understanding, yes.

   20    Q.   And in your experience, would -- does a company typically

   21    keep the underlying source code files for the products it's

   22    currently selling?

   23    A.   Of course.     Even more so if you're currently selling the

   24    products.     In using that code, you would absolutely need to

   25    keep the source code.
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                                     Rangan - direct by New
                                                                                    1829

     1   Q.   Let's go to Slide 21, which relates to the header file

     2   PTX 1863.

     3               And just remind the jury, what's the original source

     4   of this header file?

     5   A.   This is, as you heard, from Motorola.            The original source

     6   is from Motorola.

     7   Q.   Now, there's a description -- well, let me ask you this

     8   first:    At the top, there's a copyright notice that says:

     9   "Copyright 1988 to 2008, HYT Tech. Co. Limited.              All Rights

   10    Reserved."

   11                Would that change your opinion that this is a header

   12    file from Motorola?

   13    A.   Absolutely not.

   14    Q.   And why not?

   15    A.   Well, for one thing, you see the date.            It says 1988 to

   16    2008, but Hytera wasn't even in existence in 1988.               But

   17    Motorola was.

   18    Q.   And what is the purpose of the "Description" field in the

   19    header file?

   20    A.   So the "Description" field in this file and other files

   21    would tell you essentially what this file does in the

   22    software.

   23    Q.   Is it -- if you were going to use the header file, would

   24    you need to read the "Description" field?

   25    A.   Absolutely.     And in particular in this case, where
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                                     Rangan - direct by New
                                                                                     1830

     1    Ms. Huang Ni had looked at the file in detail, there's no way

     2    she could have missed this.

     3    Q.   And would it be obvious to a typical software engineer

     4    looking at this header file, PTX 1863, that it came from

     5    Motorola?

     6    A.   Absolutely.     There's no way that a software engineer could

     7    miss this.

     8    Q.   Now, during Dr. Wicker's testimony, you've heard that this

     9    header file may not -- may not have been the right file to be

    10    used to access the rfhal_c55 library.

    11                 Do you recall that?

    12    A.   Yes, I do.

    13    Q.   Okay.    An the fact that this is the wrong header file, may

    14    be the wrong header file for the rfhal_c55 library, does that

    15    change your opinion at all?

    16    A.   No, it actually reinforces it, because this would mean

    17    that Huang Ni, who had to look at this file, would have looked

    18    very carefully, and even further suggests that she could not

    19    have missed that this was indeed a Motorola file.

    20    Q.   Based on your experience, would you expect to see a header

    21    file for Motorola source code being passed around via e-mail

    22    by Hytera engineers?

    23    A.   Absolutely not.

    24    Q.   And from your experience, is it -- is it abnormal for

    25    source code to be sent around via e-mail?
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                                     Rangan - direct by New
                                                                                     1831

     1    A.    Yes.   It's extremely irregular.

     2    Q.    And why is that?

     3    A.    So most companies, including Hytera at this time -- if you

     4    recall, there was a discussion about SVN.            That's the source

     5    code repository where the source code stays.

     6                 And normally software developers check in and out

     7    software from that repository.          That ensures that the data is

     8    always consistent.       This is highly irregular to pass large

     9    library files in a parallel path and avoid that.

    10    Q.    And would the fact that the e-mail -- that the library

    11    files were being e-mailed, for a typical engineer, would that

    12    raise some red flags about why the library file is being

    13    e-mailed around?

    14    A.    Yes.   That would be extremely irregular, and it would

    15    already cause any software engineer to wonder what the reason

    16    is.

    17    Q.    So, Dr. Rangan, let me ask you this:          We've been talking a

    18    lot about Peiyi Huang sending this library file.

    19                 Were you ever able to review any deposition testimony

    20    from Peiyi Huang?

    21    A.    No, I was not.

    22    Q.    And do you have an understanding of why not?

    23    A.    My understanding is that Motorola had requested to depose

    24    her, but she was unavailable for a very long period, and then

    25    she departed the company before she could be deposed.
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                                     Rangan - direct by New
                                                                                     1832

     1    Q.   So what do PTX 806 and 1863 tell you about the sharing of

     2    Motorola source code within Hytera?

     3    A.   So this is the first of many examples of code where you

     4    see Motorola confidential information being shared amongst

     5    Hytera employees in a manner that those recipients of that

     6    information should be aware that this was indeed confidential

     7    and proprietary information.

     8                MS. NEW:    Mr. Schlaifer, if we could turn to

     9    Slide 28.

    10    BY MS. NEW:

    11    Q.   And, Doctor, if you could turn to that in your binder.

    12                Slides 28 and 29 reflect PTX 530 and 532, which have

    13    also already been admitted.

    14                Did you rely on these documents in reaching your

    15    opinion?

    16    A.   Yes, I did.

    17    Q.   All right.     Let's look at Page 6 of PTX 530.

    18                And, Dr. Rangan, what is reflected in this e-mail?

    19    A.   So this is an e-mail from Zhao Guo to Huang Ni, or

    20    "Maggie" in the previous document that we were looking at, and

    21    in this e-mail, he asked how a certain feature is supported in

    22    Motorola and then refers to a section of this document.

    23    Q.   And what is the name of the document that's attached here

    24    to PTX 530?

    25    A.   This is Neo_12m_p21.doc.
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                                     Rangan - direct by New
                                                                                     1833

     1    Q.   And just as a reminder, where does the name "Neo" come

     2    from?

     3    A.   "Neo" is a -- the Motorola code name for their portables.

     4    So this is already an indication that this is a Motorola

     5    document.

     6    Q.   And are there a number of -- there are a number of people

     7    copied on this e-mail, correct?

     8    A.   That's right.     Yes.

     9    Q.   And -- I'm sorry.

    10                 Did those people also receive the Neo document?

    11    A.   Yes, they did.

    12    Q.   Okay.    And Guo Zhao, did he ever work at Motorola?

    13                 MR. ALLAN:   Objection, Your Honor.        It's repetitive.

    14                 THE COURT:   There has to be some overlapping in order

    15    for the witness to express his opinions that otherwise testify

    16    in this case.     It's not abusive.

    17                 The objection is overruled.

    18    BY MS. NEW:

    19    Q.   Would you like me to reask the question?

    20    A.   Yes, please.

    21    Q.   Sure.

    22                 Did Guo Zhao ever work at Motorola?

    23    A.   No, he did not.

    24    Q.   Okay.    And we already talked about the "Neo" name of the

    25    file, but how else do you know that the attachment, PTX 532,
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                                     Rangan - direct by New
                                                                                     1834

     1    which is on the next slide, how do you know that that's a

     2    Motorola document?

     3    A.   Well, first of all, you can directly see it has the

     4    Motorola logo right on the top of it.           And it -- I've

     5    highlighted here that it is indeed proprietary to Motorola,

     6    Incorporated.

     7    Q.   And have you reviewed the contents of this document in

     8    reaching your opinions, Dr. Rangan?

     9    A.   Yes, I have.

    10    Q.   And is the -- from the substance of the document, can you

    11    tell that it contains Motorola's confidential and proprietary

    12    information?

    13    A.   Yes.   It's, first of all, very obviously confidential-type

    14    of information.      It's details of test results, test

    15    procedures, and so on, which is absolutely confidential.

    16                But there's even references to Motorola-specific

    17    items within that -- within that document.             So even -- even if

    18    somehow an engineer missed this branding at the front, they

    19    would absolutely know it's a Motorola document.

    20    Q.   Dr. Rangan, what do PTX 530 and 532 tell you about the

    21    sharing of Motorola's confidential information within Hytera?

    22    A.   Again, this is another indication of Motorola information

    23    being shared within Hytera in a manner that the recipients

    24    should be -- should be aware that it's confidential and

    25    proprietary.
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                                     Rangan - direct by New
                                                                                     1835

     1    Q.   So now let's turn to Slides 30 and 31 in your binder,

     2    which reflect PTX 630 and PTX 861, which are also admitted.

     3                 Did you consider these documents in reaching your

     4    opinion?

     5    A.   Yes, I did.

     6    Q.   Okay.    And what is PTX 630?

     7    A.   PTX 630 is an e-mail from Roy Luo to Y.T. Kok, and in this

     8    e-mail he asked him to send an SRS template as per a

     9    discussion they had yesterday.

    10    Q.   And can you just remind everyone what "SRS" stands for?

    11    A.   Oh, yes.    Sorry.    That's software requirement

    12    specification.

    13    Q.   Okay.    And Roy Luo, did he ever work for Motorola?

    14    A.   No, he did not.

    15    Q.   Okay.    And that statement in the e-mail, "Please send the

    16    SRS template to me as discussion yesterday," do you see that?

    17    A.   Yes, I did.

    18    Q.   What does that indicate to you?

    19    A.   So it indicates that they already are aware, or Mr. Luo,

    20    from discussions or -- or in conversation, was already aware

    21    that Y.T. Kok is in possession of this type of document.

    22    Q.   And if we go to Page 3 of PTX 630, what does Y.T. Kok do

    23    in response to Mr. Luo's e-mail?

    24    A.   He responds back with this document VOX.doc, which is then

    25    forwarded several other Hytera engineers.
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                                      Rangan - direct by New
                                                                                     1836

     1    Q.     And that goes to three other Hytera engineers, right?

     2    A.     Yes, that's correct.

     3    Q.     And did any of those people ever work for Motorola?

     4    A.     No, they did not.

     5    Q.     And the jury has seen this document several times, so just

     6    very briefly, is PTX 861 the document that was attached to PTX

     7    630?

     8    A.     Yes, it was.

     9    Q.     Okay.    And do you know which party provided the document

    10    that was attached, Dr. Rangan, which party produced it?

    11    A.     Oh, produced it.    This is -- was produced by Hytera.

    12    Q.     Okay.

    13    A.     Sorry.

    14    Q.     And what do PTX 630 and 861 tell you about whether

    15    Motorola's confidential information was shared at Hytera?

    16    A.     This is even a little bit more egregious than the previous

    17    examples, because in this case you have an understanding that

    18    Y.T. Kok was in possession of these documents, and at least

    19    one engineer knew to go to -- or it appears from the e-mail to

    20    have known to have gone to Mr. Kok for this document and then

    21    felt it was -- that he could freely redistribute that to other

    22    Hytera engineers.

    23    Q.     Let's turn to Slide 33, which is -- reflects PTX 633,

    24    which is in evidence.

    25                   Did you consider this document in reaching your
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                                     Rangan - direct by New
                                                                                     1837

     1    opinion?

     2    A.   Yes, I did.

     3    Q.   Okay.    What is PTX 263?

     4    A.   This is a task list that was done in the middle of 2008 by

     5    Mr. Sam Chia.

     6    Q.   Okay.    So if we look at the top, Dr. Rangan, in this first

     7    gv row, Row -- in Row 38, it says, "Reuse entire GCISS

     8    subscriber library."

     9                 What does that reference mean to you?

    10    A.   So as you heard from Dr. Wicker discuss, this is

    11    referring -- that's a typo.         It should be "CGISS," which is a

    12    Motorola division, and it's to reuse the entire subscriber

    13    library; that is, the entire library of source code in that

    14    case.

    15    Q.   And is that Motorola source code?

    16    A.   Yes, it is.

    17    Q.   And if we look at Row 68, it says -- you've underlined

    18    "Study signaling stack from Mot (Go through a couple of

    19    examples like Group Call, Call Alert, Find out the exact bit

    20    information used in the LC, CSBK)."

    21                 What does that mean to you, Dr. Rangan?

    22    A.   This is one of two examples on just these few tasks here,

    23    where the -- where this task list is explicitly to study the

    24    signaling stack that is the protocol stack from Motorola.

    25                 And you'll also see that in the bottom here, which
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                                       Rangan - direct by New
                                                                                     1838

     1    I'll try to circle.       Oops, not as good as Mr. -- Dr. Wicker.

     2    Okay.    Sorry.

     3                 Okay.   Here we go.

     4                 You also see stacks similarly here on the bottom task

     5    in 141 to explicitly look up a number of features in that

     6    stack.

     7    Q.   And so does Row 141 also indicate to you that Hytera

     8    engineers are being told in this task list to study Motorola's

     9    implementation of DMR features?

    10    A.   Exactly.     Exactly.

    11    Q.   Okay.    Let's go back up to Row 92.         And if you look over

    12    on the right-hand side under "Comments," you've underlined

    13    "There is a NEO ramp profile in the Mot folder."

    14                 So I want to ask you two questions about that.

    15                 First of all, what do you understand a Neo ramp

    16    profile to be?

    17    A.   So this is explicitly -- it's one of the components in

    18    that Neo document.       It's the ramping profile, one of the ways

    19    the power ramps up.       So that's exactly what it's talking about

    20    here.

    21    Q.   And then there's the second reference to "in the Mot

    22    folder."

    23    A.   Yeah.

    24    Q.   What does that indicate to you?

    25    A.   Sorry.
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                                     Rangan - direct by New
                                                                                     1839

     1                 What that indicates is that this is particularly

     2    egregious here, to suggest that there's a folder which will be

     3    a repository, if you like, for Motorola confidential

     4    information.

     5                 And it's important to recall -- recognize this is a

     6    task list.     And so the task list that is generally shared to

     7    the engineers explicitly calls out of having a folder where

     8    these engineers can obtain this confidential information.

     9    Q.   In Row 33, I want to look at both the "Task" and the

    10    "Comments" section.

    11                 So in the "Task" side, in the "Task" column, you've

    12    underlined "Determine DSP Library risk and where to store the

    13    files."

    14                 What does that mean to you, Dr. Rangan?

    15    A.   This is also quite egregious here.           First of all, the

    16    "Determine DSP Library risk," the risk that is being talked

    17    about here is the risk for a detection by another party, such

    18    as Motorola.     So that is just one of the tasks on -- for the

    19    engineers here at Hytera.

    20    Q.   And if we go to the "Comments" field on the far right-hand

    21    side, it looks like there's been a resolution to how to do

    22    that.

    23                 Can you explain to the jury what it says there.

    24    A.   Yeah.    So in the task part on the left of 133, part of

    25    that way to determine the risk is where to store the files,
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                                     Rangan - direct by New
                                                                                     1840

     1    where to hide the files.

     2                And then one engineer, Yu Yang, is explicitly tasked

     3    out to talk to the software configuration manager to find a

     4    folder.

     5    Q.   And who is -- what is your understanding of You Yang's

     6    role within the software engineering group at Hytera?

     7    A.   Actually, Yu Yang was at the -- at -- at the project from

     8    a -- from the beginning, back prior to the arrival -- I think

     9    since 2006 at least -- prior to the arrival of G.S. Kok,

    10    Y.T. Kok, and Sam Chia, and I believe at this point he is

    11    still a group leader within the software -- or the DSP team.

    12    Q.   What does PTX 263 tell you about the sharing of Motorola's

    13    confidential information outside of G.S. Kok, Y.T. Kok, and

    14    Sam Chia?

    15    A.   That's a good question.

    16                I think to put that in context, you have to think

    17    this is a task spreadsheet.         I've written many of these tasks

    18    spreadsheets myself.       And this really walks step by step of

    19    what a DSP team is to do.

    20                And many items on this task spreadsheet are

    21    explicitly calling out instructions for use and concealment of

    22    Motorola confidential information.           I've simply never seen

    23    anything like this.

    24                Using -- for example, the task here is to reuse the

    25    entire CGISS library.       Not only does it mean that the
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                                     Rangan - direct by New
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     1    possessor of this spreadsheet would be part of this plan; the

     2    whole execution of the task involved explicitly the DSP team

     3    to conduct this.      There is no way to reuse the CGISS library

     4    or any of these other options without the cooperation of the

     5    DSP team.

     6    Q.    And so, Dr. Rangan, we've just reviewed a handful of

     7    documents.      And based on those documents, at least how many

     8    people at Hytera besides G.S. Kok, Y.T. Kok, and Sam Chia had

     9    access to or saw Motorola confidential information within

    10    Hytera?

    11    A.    That would be just in a few examples, we can identify

    12    explicitly the names of at least 28 Hytera engineers beyond

    13    G.S. Kok, Y.T. Kok, and Sam Chia.

    14                  Those names would include the few examples I've

    15    presented.      Plus, due to time, we skipped a couple of others,

    16    the LTD conformance and the welcome e-mail that you'll talk

    17    about later.      But just those two examples, it's already 28

    18    engineers.

    19    Q.    And now let's look at PTX 1018, which has already been

    20    admitted.      Did you consider this document in reaching your

    21    opinions?

    22    A.    Yes, I did.

    23    Q.    Okay.    And can you just remind everyone what this document

    24    is.

    25    A.    If I recall, this is the spreadsheet of the recovered
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                                       Rangan - direct by New
                                                                                     1842

     1    files from Ms. Peiyi Huang's laptop.

     2    Q.     So Mr. Schlaifer is just going to run a search within this

     3    Excel sheet.

     4                   MS. NEW:   Mr. Schlaifer, can you just run a search

     5    for the phrase "team training."

     6                   Just make that a little bigger so everyone can read

     7    it.

     8    BY MS. NEW:

     9    Q.     Okay.    So, Dr. Rangan, if you look down on the far

    10    left-hand corner of that window that Mr. Schlaifer just

    11    opened, how many files do we find if we just searched "team

    12    training"?

    13    A.     I tried to circle it for you if you can't see, but that's

    14    2544, more than 2500 such files.

    15    Q.     And in your experience working at software companies and

    16    leading teams of engineers, what does "team training" mean to

    17    you?

    18    A.     So team training is very important.            In any software team,

    19    you have team training material.           And this is a folder

    20    explicitly for team training material that would be used.

    21    Q.     And just on the screen we see here, do you see any files

    22    here in the team training folder that relate to Motorola

    23    confidential information or source code?

    24    A.     Yes.    I'll just give you a few examples.

    25                   For example, you can see here the release 1.4 Matrix.
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                                     Rangan - direct by New
                                                                                     1843

     1    "Matrix" is a Motorola internal name.           There's actually a few

     2    files just like this.       Here's just -- this is just one tiny

     3    section of this folder.

     4    Q.   And if we look at the very top of this list, do you see

     5    where it says "LTD Code" in a row for the first several

     6    entries?

     7    A.   Oh, yes.    Exactly there, too.       LTD, again, is a Motorola

     8    name.   That's the Motorola code name for their DMR system.

     9    And you see the code in several files here.

    10    Q.   Okay.    And if we scroll through, will we see other

    11    examples of Motorola confidential information or source code

    12    within the team training file?

    13    A.   Countless numbers, yes.

    14    Q.   Okay.    And what does the large volume of documents in the

    15    team training folder -- I think you said 2,554 -- what does

    16    that mean to you?

    17    A.   It means that not just the source code, but the training,

    18    which is a vital part of the development, has -- using

    19    significant amounts of Motorola confidential information.

    20                 MS. NEW:   Now, Mr. Schlaifer, could we go back to

    21    Slide 34.

    22                 Thank you.

    23    BY MS. NEW:

    24    Q.   So, Dr. Rangan, in addition to the people who we've

    25    identified in the individual documents and the people who
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                                     Rangan - direct by New
                                                                                     1844

     1    would have access to the team training folder, did you review

     2    other documents in reaching your opinions that show that

     3    Motorola's confidential information was widely shared at

     4    Hytera?

     5    A.   Yes.    Just taking the one -- a few examples in my

     6    analysis, I could determine that there were at least 50

     7    engineers explicitly ended up receiving Motorola confidential

     8    and proprietary information, beyond G.S. Kok, Y.T. Kok, and

     9    Sam Chia.

    10    Q.   And to this day, do you know how many confidential

    11    Motorola technical documents and specifications are still in

    12    Hytera's files?

    13    A.   There is at least 1600 such files, from my understanding.

    14    Q.   Okay.    And we obviously couldn't present all of those here

    15    today.

    16                 And so you said you've seen at least 50 engineers

    17    with access.     Are there any other broad groups of people

    18    within Hytera who you understand to have access to Motorola's

    19    confidential information?

    20    A.   Sure.    Indeed, from my analysis of the way that the

    21    software team is structured, virtually every software engineer

    22    on this team should have been aware of the confidential and

    23    proprietary nature of the material that they were receiving.

    24    Q.   And why is that?

    25    A.   Well, there's a number of reasons.
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                                     Rangan - direct by New
                                                                                     1845

     1                 You saw, for example, in the previous presentation

     2    that Peiyi -- Ms. Peiyi Huang had actually uploaded the

     3    Motorola source code into the SVN repository.

     4                 Remember, the SVN repository was -- is the central

     5    repository where code is checked out by all the engineers on

     6    that team, so they would have all seen Motorola code directly.

     7                 But there's a more basic point, despite whatever

     8    camouflaging was going on.         As I'll discuss, prior to 2008,

     9    prior to the arrival of G.S. Kok, Y.T. Kok, and Sam Chia,

    10    Hytera had very minimal code themselves.            What they would have

    11    seen, what a software engineer would have seen --

    12                 THE COURT:   Well, just a minute.

    13                 What is the question to the witness?

    14                 MS. NEW:   Sure, Your Honor.

    15    BY MS. NEW:

    16    Q.   So, Dr. Rangan, I asked you why the software engineers

    17    would know that they had access to Motorola's code.

    18                 Can you explain how they would know that based on the

    19    code that existed prior to the arrival of G.S. Kok, Y.T. Kok,

    20    and Sam Chia?

    21    A.   Okay.    Sorry.    Sorry.

    22                 So, as I said, prior to the arrival of those three

    23    individuals, the code was in a very primitive state.               What

    24    they would have seen upon the arrival of these three

    25    individuals is a vast trove of software code; code not just
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                                     Rangan - direct by New
                                                                                     1846

     1    for the DSP, not just for the protocol stack, but all sorts of

     2    layers, like the application layer, the ergonomic layer, which

     3    they didn't even conceive of before.

     4                 To imagine them -- seeing this code appear is like

     5    seeing a magician pull a rabbit from the hat.             There's simply

     6    no way that they could have thought that this code came from

     7    those developers during their time at Hytera.

     8    Q.   And would that time have been a very short time?

     9    A.   That would have just been -- basically came in the few

    10    months.

    11    Q.   Okay.    Now, you have -- we've also heard throughout this

    12    trial references to Motorola-branded code or Motorola-branded

    13    documents and Hytera-branded code or Hytera-branded documents.

    14                 Do you recall that testimony?

    15    A.   Yes, I do.

    16    Q.   Okay.    Based on your experience, does it matter whether

    17    the code was branded with Motorola's name or Hytera's name in

    18    order for the software engineers to know that they were using

    19    or seeing Motorola source code and documents?

    20    A.   Absolutely not, when all these discussions about

    21    Motorola-branded versus Hytera-branded have been relatively

    22    cosmetic changes, perhaps at the tops of the files.

    23                 The files themselves are still replete with

    24    references to Motorola acronyms that would have been

    25    identifying in themselves, plus all the other mechanisms by
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                                     Rangan - direct by New
                                                                                     1847

     1    which this software team was operating:             the team task list,

     2    which specifically calls out the task of engineers to

     3    redesign, reuse code; the existence of the team training

     4    folder; and, of course, just the vast volume of code that came

     5    in over a very short period of time.

     6    Q.   So, Dr. Rangan, at your time at Flarion and Qualcomm, did

     7    those companies have policies that would require employees to

     8    report if they saw or they came into possession of a

     9    competitor's confidential information or source code?

    10    A.   Absolutely.

    11    Q.   And under those policies, what was required to be done

    12    when someone comes into possession of a competitor's source

    13    code or confidential information?

    14    A.   That's a very serious event.         What you would try to do is

    15    quarantine that in some way and then report it to the legal

    16    department.

    17    Q.   And -- so we've looked at this slide set 34.             We've talked

    18    about the software engineers and the other people who you saw

    19    through documents had access to or saw Motorola confidential

    20    information.

    21               Based on your review of all the materials in this

    22    case, have you seen any indication that any of those people

    23    who possessed or saw that Motorola information ever reported

    24    to anyone at Hytera that they had that Motorola confidential

    25    information?
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                                     Rangan - direct by New
                                                                                     1848

     1    A.   Remarkably, I didn't see a single such instance.

     2    Q.   Okay, Dr. Rangan.      We've just looked at some examples of

     3    Motorola's information being spread among engineers.                I want

     4    to shift a little and talk about Hytera management.

     5                What is your understanding of the CEO, Mr. Chen's,

     6    involvement in DMR development at Hytera?

     7    A.   So he was really involved from the beginning.             He

     8    identified DMR as the key road map for the company.               He was

     9    involved in hiring G.S. Kok, Y.T. Kok, and Sam Chia, and then

    10    maintained a detailed overview, if you like, of the project.

    11    And is still involved in it today.

    12    Q.   All right.     Let's look at some examples.

    13                MS. NEW:    Let's go to Slide 35.

    14                Thank you, Mr. Schlaifer.

    15    BY MS. NEW:

    16    Q.   And this shows PTX 416, which is already in evidence.

    17                Did you rely on this document in reaching your

    18    opinions?

    19                MR. ALLAN:    Your Honor, may I have a continuing

    20    objection to this line?

    21                THE COURT:    Yes.

    22                You may answer it.

    23                THE WITNESS:    Oh.    Sorry.

    24    BY THE WITNESS:

    25    A.   Sorry.    Could you repeat the question?          I'm sorry.
Case: 1:17-cv-01973 Document #: 792 Filed: 12/20/19 Page 119 of 224 PageID #:53730
                                     Rangan - direct by New
                                                                                     1849

     1    BY MS. NEW:

     2    Q.   Sure.

     3                 Can you just remind us what PTX 416 is.

     4    A.   Oh, sure.    This is a presentation called "ID Driven" given

     5    at Hytera.

     6    Q.   Okay.    And this document contains a declaration from

     7    Mr. Chen.     Do you see that?

     8    A.   Yes, I do.

     9    Q.   And what does Mr. Chen say in that declaration?

    10    A.   So I want to walk you through a few of the points that --

    11    here.

    12                 The first point, the first highlighted point -- let

    13    me see if this works -- "DMR project is a new opportunity and

    14    entry point . . ."

    15                 And it's ". . . critical to the future development of

    16    the company."

    17                 So this is from Mr. Chen, and he is recognizing that

    18    DMR is critical to the company.

    19                 He then says he wants to develop the next generation,

    20    or the second generation of products, and he recognizes in the

    21    final point that defeating Motorola is critical; that Motorola

    22    is the key competitor, at least in the middle and high-tier

    23    market.

    24    Q.   Now, there's that reference to "developing the second

    25    generation of products."        Can you explain what that refers to.
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                                     Rangan - direct by New
                                                                                     1850

     1    A.   Sure.    This is actually important.

     2                 So the first part of that sentence here is that

     3    Motorola has launched the first generation.             So Motorola had

     4    been the first one to come out with DMR.            And this concept --

     5    and this concept will come up again -- this whole idea is

     6    really leapfrogging, building the second generation after

     7    Motorola.

     8    Q.   And what is the significance of this document, PTX 416, to

     9    your opinions, Dr. Rangan?

    10    A.   This recognizes at least that Mr. Chen has identified DMR

    11    as critical and has recognized Motorola as a key competitor in

    12    that segment of the market and wants to leapfrog Motorola.

    13    Q.   Let's turn to PTX 429 and 426, but just -- please just

    14    turn to them in your binder.

    15                 Okay.   So what are -- what are PTX 429 and 426?

    16    A.   These are two e-mails from G.S. -- between G.S. Kok and

    17    Sam Chia in 2007.

    18    Q.   Okay.    So let's go to 429, which is already in evidence,

    19    on the next slide.

    20                 What is discussed in this e-mail from G.S. Kok to

    21    Mr. Chen?

    22    A.   So this is in the end of June in 2007, and Mr. Kok is

    23    still not an employee yet at Hytera -- at that Hytera.

    24                 And he writes -- Mr. Kok writes to Mr. Chen the

    25    following e-mail.      I want to point out a few things.
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                                     Rangan - direct by New
                                                                                     1851

     1                 He first says what I've highlighted here in blue:

     2    that his team, his team at Motorola, had nearly 400 engineers,

     3    and it took about four years to realize the DMR protocol.                  All

     4    right.    So that's what that says.

     5                 But, remarkably, what I've highlighted here in red,

     6    he tells Mr. Chen that he could do it with at least -- with

     7    just two years, half the time that Motorola took.

     8    Q.   And just as a reminder, at this point in time, had Hytera

     9    ever developed from scratch a digital two-way radio product?

    10    A.   No, they had not.

    11    Q.   Okay.    Let's look at PTX 426, and look at 4 -- the Pages 1

    12    and 2.

    13                 What is discussed in the highlighted portion here,

    14    Dr. Rangan?

    15    A.   So this is an e-mail where Mr. Kok -- Mr. Chen replies

    16    back to Mr. Kok and says, "for your position in Hytera" -- so

    17    it's an offering of his position after he hears that he can do

    18    it in two years' time -- that he would appoint him to the

    19    chief head of the DMR group.

    20    Q.   And if we go to the first page of PTX 426, what does

    21    Mr. Kok say here to Mr. Chen?

    22    A.   He says, in this case -- this is Mr. Kok talking to

    23    Mr. Chen -- says, "I know that I mentioned two years earlier,

    24    but that was under the assumption that I had my team."                "My

    25    team" meaning the team from Motorola.
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     1                 But -- he says two interesting things here.           The next

     2    part, first of all, he says that actually it took 5.5 years to

     3    develop the DMR product, and again he reiterates that it was

     4    400 engineers at Motorola.

     5                 But he also says here that a lot -- that he can still

     6    do it in two years because "a lot of things that were unknown

     7    have been resolved."

     8    Q.   And what does that mean to you, that "a lot of things that

     9    are unknown have been resolved"?

    10    A.   This, to me, is a suggestion that they are going to --

    11    that he is suggesting to reuse the Motorola code to complete

    12    this.

    13    Q.   Okay.    So, just to do a level set here, at the time that

    14    Motorola was developing its DMR radio, did Motorola have a lot

    15    of experience with digital two-way radios?

    16    A.   Yes.    Even before the DMR project, as you heard the

    17    engineers speak, did work extensively, for example, in the

    18    Astro project before this, and they had literally decades of

    19    experience.

    20    Q.   And did Motorola have a significant number of engineers

    21    who were skilled or experienced in the areas that would be

    22    needed to develop a DMR radio?

    23    A.   Yes.    They were the absolute leaders in this space with

    24    huge teams.     You've seen Mr. Kok point out at least 400 to 500

    25    such engineers.
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     1    Q.   And based on the materials that you've reviewed in this

     2    case, would it have been obvious to Mr. Chen that Motorola is

     3    really the market leader in developing digital two-way radios?

     4    A.   Absolutely.     And that's what he identifies in assets in

     5    that time frame.

     6               THE COURT:     Who would be their nearest competitor?

     7               THE WITNESS:     After Motorola?

     8               THE COURT:     Yes.

     9               THE WITNESS:     At that time, I do not know, actually.

    10    I think there were -- I don't know if there were anyone at

    11    that point in 2008.

    12               THE COURT:     They were the leaders of unknown

    13    corporations?

    14               THE WITNESS:     Oh, I'm sorry.      They were the -- they

    15    were the absolute leaders in the DMR at the time.

    16               THE COURT:     Who was the nearest competitor?

    17               THE WITNESS:     I think at that point there was not any

    18    other competitor who had yet produced a DMR.

    19               THE COURT:     So there was a leader in a field of one.

    20               THE WITNESS:     I suppose.     The first one.

    21               THE COURT:     Proceed.

    22               MS. NEW:     Maybe I'll ask a different question.

    23    BY MS. NEW:

    24    Q.   Dr. Rangan, in -- in two-way radio communications, sort of

    25    setting aside DMR, had Motorola been a market leader?
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     1    A.   Yes, they had.

     2    Q.   Okay.    Now, based on your review of 426, PTX 426 and

     3    PTX 429, and your knowledge of Motorola's position in the

     4    radio market, does it seem reasonable that G.S. Kok is

     5    promising Mr. Chen that Hytera could develop a DMR product in

     6    only two years when it took Motorola five and a half years and

     7    400 engineers?

     8    A.   Absolutely not.

     9                 Remember, Motorola is the market leader in this space

    10    in digital two-way radios.         It has an enormous amount of

    11    experience.     You would expect that any other company would

    12    take at least as long as Motorola, not half the time.

    13    Q.   And in your review of the evidence in this case and in

    14    preparing your opinions, have you seen any documents or

    15    e-mails where Mr. Chen questions G.S. Kok's estimate that it

    16    would only take two years to develop a DMR product at Hytera?

    17    A.   No, I did not.

    18    Q.   Let's look at PTX 433, which is reflected on Slide 39.

    19                 Did you rely on this document in reaching your

    20    opinion?

    21    A.   Yes, I did.

    22    Q.   Okay.    Dr. Rangan, what is this document?

    23    A.   This is an e-mail dated in October of 2007, so shortly

    24    after the ones that we just saw here.           And Mr. Chen writes an

    25    offer discussion, basically providing the details of the offer
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     1    that he will offer Mr. Kok should he come.

     2                 So he was trying to persuade, if you like -- at

     3    least, from this e-mail it appears he is trying to persuade

     4    Mr. Kok to come.      And in this, he offers Mr. Kok a very

     5    generous package, if you like.

     6                 He offers him -- it was either 300,000 Hytera stocks

     7    that would be worth some 10 million RMB for one year, and he

     8    would get two years' such allocation, which is, of course, a

     9    great deal of money.       That works out into U.S. dollars about

    10    almost two and a half million U.S. dollars in stock options

    11    for this.

    12    Q.   Okay.    So let me just unpack that a little bit.

    13                 So there are two offers for shares in this e-mail,

    14    right:    One for 300,000 for one year and 600,000 for two

    15    years; is that correct?

    16    A.   That's correct.

    17    Q.   Okay.    And what does -- and Mr. Chen, what does he say the

    18    value of those shares could be?

    19    A.   30 RMB each.

    20    Q.   Okay.    And you mentioned $2.5 million.          What amounts to

    21    $2.5 million?

    22    A.   Sorry.    If you take the 300,000 shares for two years and

    23    each valued at 30 RMB -- that's the Chinese currency -- and

    24    then you convert it to U.S. dollars, that amount would be

    25    2.5 million U.S. dollars.
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     1    Q.   Now, on top of the shares, is Mr. Chen also offering

     2    G.S. Kok a salary?

     3    A.   Yes, he is.     If you look at the bottom, it says, "Hytera

     4    may offer you more wages than Motorola."

     5                 So in addition to this very generous stock offering,

     6    he is offering Mr. Chen -- Mr. Kok an even higher salary.

     7    Q.   And did -- was this e-mail sent after G.S. Kok had told

     8    Mr. Chen he could develop a DMR product in only two years?

     9    A.   Exactly.

    10    Q.   So let's look at PTX 410 in your slides.

    11                 Did you consider this document in reaching your

    12    opinion?

    13                 MS. NEW:   Let's take that down for a moment.

    14                 Thank you.

    15    BY THE WITNESS:

    16    A.   Yes, I did.

    17    BY MS. NEW:

    18    Q.   Okay.    And what is PTX 410?

    19    A.   PTX 410 is an e-mail from Mr. G.S. Kok with -- in Hytera

    20    around the end of July of 2009.

    21    Q.   And is there any indication on PTX 410 that this is a

    22    document that was provided from Hytera's files?

    23    A.   Yes, it is.     In addition to it being a Hytera e-mail, it

    24    also has Hytera Bates numbers on it.

    25                 MS. NEW:   Your Honor, Plaintiff moves to admit
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                                     Rangan - direct by New
                                                                                     1857

     1    PTX 410 into evidence.

     2                 THE COURT:   It is received and may be published.

     3           (Exhibit No. PTX 410 was received in           evidence.)

     4                 MS. NEW:   Okay.   We can go to that next slide, Dave.

     5                 Thank you.

     6    BY MS. NEW:

     7    Q.   Can you explain what PTX 410 reflects, Dr. Rangan?

     8    A.   Sure.

     9                 So at this point Mr. Kok has arrived at Hytera, and

    10    he is informing the staff that he's now managing about one of

    11    Mr. Chen's requests, if you'd like.

    12                 And one -- he informs them that Mr. Chen wants to --

    13    has requested that all new products under his development will

    14    require his personal approval before we can ship samples to

    15    selected customers.

    16    Q.   And what does PTX 410 indicate to you about Mr. Chen's

    17    involvement in the DMR project?

    18    A.   This e-mail suggests that Mr. Chen is deeply involved in

    19    the product, at least to the point where he's doing approvals

    20    on individual samples.        That means he would have to understand

    21    the purchase orders, the customers, and perhaps the features

    22    for these samples.

    23    Q.   Okay.    Let's look at PTX 72 in your slides.

    24                 What is PTX 72, Dr. Rangan?

    25    A.   This is an April 2010 e-mail with -- at Hytera with
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                                      Rangan - direct by New
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     1    meeting minutes.

     2    Q.   Did you consider this document in reaching your opinions?

     3    A.   Yes, I did.

     4    Q.   And is there any indication on the document that it came

     5    from Hytera's files?

     6    A.   Yes.    You can see that it's a number of Hytera recipients

     7    in the e-mail, and there's also a Hytera Bates number.

     8                 MS. NEW:   Your Honor, Plaintiff moves to admit PTX 72

     9    into evidence.

    10                 THE COURT:   Was this exhibit produced by Hytera?

    11                 THE WITNESS:    Yes, it was, Your Honor.

    12                 THE COURT:   It is received and may be published.

    13           (Exhibit No. PTX 72 was received in evidence.)

    14                 MS. NEW:   Okay.   So let's look at Page 5 of PTX 72.

    15    BY MS. NEW:

    16    Q.   What do these meeting minutes show regarding Mr. Chen's

    17    role in the meeting?

    18    A.   Sure.

    19                 There is a number of people at this meeting, and

    20    Mr. Chen was one of several of those.

    21                 MS. NEW:   Okay.   Let's look at Page 7.

    22    BY MS. NEW:

    23    Q.   What is shown here, Dr. Rangan?

    24    A.   Here, there's a number of points that I summarized for the

    25    meeting.
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     1                I also highlighted this one, point 5, that Mr. Chen

     2    requires that all of the project status and information of the

     3    product should be notified to the senior management without

     4    concealment; and if not, major punishments will be made.

     5    Q.   And in your experience, Dr. Rangan, do company CEOs

     6    typically get so involved in the product development or

     7    product release that they threaten punishment to employees?

     8    A.   No.    CEOs can get involved, but this obviously indicates

     9    here that Mr. Chen wants to be so deeply involved that he is

    10    willing to mete out punishment for -- if any information is

    11    not disclosed to him.

    12    Q.   Let's look at Slide 43, which reflects PTX 413.

    13                MS. NEW:    Although, Dave, let's take that down for a

    14    minute.

    15                Thanks.

    16    BY MS. NEW:

    17    Q.   Did you consider PTX 413 in reaching your opinion?

    18    A.   Yes, I did.

    19    Q.   And what is PTX 413?

    20    A.   This is another Hytera e-mail; in this case, dated August

    21    of 2010.

    22    Q.   And is there any indication on the document that it was

    23    produced by Hytera from Hytera's files?

    24    A.   Yes.   There's a Hytera Bates number, and it's also all

    25    Hytera recipients in the e-mail.
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     1               MS. NEW:     Your Honor, Plaintiff moves to admit

     2    PTX 413 into evidence.

     3               THE COURT:     It is received and may be published.

     4           (Exhibit No. PTX 413 was received in evidence.)

     5               THE COURT:     Do you know what languages Mr. Chen

     6    speaks?

     7               THE WITNESS:     According to his deposition, he said

     8    that he both reads and writes English -- I mean -- sorry --

     9    it's Chinese.

    10               THE COURT:     So only Chinese?

    11               THE WITNESS:     That's -- he was asked, I understand,

    12    explicitly whether he --

    13               MR. ALLAN:     I'll just object for the record,

    14    Your Honor.     I think he said he speaks Chinese only.

    15               THE WITNESS:     Yeah, sorry.

    16               MR. ALLAN:     I want the record clear.

    17               THE WITNESS:     In his deposition, to be clear -- in

    18    his deposition, he had stated -- he was asked --

    19               THE COURT:     Well, I'll just put it, is there a

    20    stipulation that Mr. Chen speaks only Chinese?              Is that a

    21    stipulation?

    22               MS. NEW:     No, it is not, Your Honor.

    23               THE COURT:     All right.     It's a challenged issue.

    24               You may proceed.

    25               MS. NEW:     So we move to admit PTX 413, Your Honor.
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     1                 THE COURT:    The reason I bring it up is:        With

     2    respect to the minutes of the board of directors meeting, was

     3    that a translated version?         It was -- the meeting was

     4    conducted in Chinese and then there's some translation into

     5    English, which is contained within the exhibit?

     6                 MS. NEW:   This may be a translated document.          We can

     7    check very quickly, Your Honor.

     8                 I can also maybe clear this up by asking the witness

     9    another question.

    10                 THE COURT:    Well, my concern is use of the word

    11    "punishment" in English may have some Chinese connotation

    12    different.     But I'll leave that to capable counsel to deal

    13    with.

    14                 MS. NEW:   Sure.

    15    BY MS. NEW:

    16    Q.   Dr. Rangan, I immediately want to ask you this:              The

    17    document that we were looking at related to punishment, which

    18    I believe was PTX 72, were these meeting minutes written by

    19    Mr. Chen or were they written by somebody else?

    20    A.   I believe these were written by someone else.

    21    Q.   Okay.    All right.     So let's go to PTX 413, which is

    22    Slide 43.

    23                 MS. NEW:   And, Your Honor, very quickly, for the

    24    record, PTX 413 was a translated document.

    25                 THE COURT:    Yes.
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                                     Rangan - direct by New
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     1                 Proceed.

     2                 MS. NEW:   Or is a translated document.

     3    BY MS. NEW:

     4    Q.   Okay.    So, Dr. Rangan, did Mr. Chen receive this e-mail,

     5    PTX 413?

     6    A.   Yes, he did.

     7    Q.   Okay.    Let's look at Page 5.

     8                 What does this show?

     9    A.   I'll point out a few things here.

    10                 In the first part of this e-mail, it states here that

    11    Mr. Chen had a telephone conference with one of the U.S. --

    12    with the U.S. office.

    13                 It then goes on to say here that he had made two

    14    requests to the U.S. office about advertisement expenditures.

    15                 And then in the third part, he discusses the

    16    competition with MOTOTRBO products on a bid.

    17                 And then, finally, that he is communicating with

    18    Mr. Y.T. Kok regarding some DMR issues.

    19    Q.   And what does this document, PTX 413, tell you about

    20    Mr. Chen's involvement in the DMR product at Hytera?

    21    A.   Again, this is indication that Mr. Chen is deeply involved

    22    in the DMR project, so much so that he is, for example,

    23    contacting individually the international offices; he is

    24    overseeing the advertisement expenditures; tracking

    25    competition, and even speaking to the engineering staff.
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                                     Rangan - direct by New
                                                                                     1863

     1    Q.   Let's go to the next slide and look at PTX 404, which is

     2    already admitted.

     3               Did you consider this document in reaching your

     4    opinion?

     5    A.   Yes, I did.

     6    Q.   And can you explain what this document is.

     7    A.   So Mr. -- this is an e-mail from a Hytera employee,

     8    Mr. Sam Guan, in 2015, and Mr. Guan has just joined Hytera.

     9               He's gone on, you could say, an orientation for two

    10    weeks, and after this, he writes Mr. Chen personally and

    11    attaches a summary of his experiences.

    12    Q.   And if we go to Page 10 of PTX 404, what does Sam Guan say

    13    specifically here?

    14    A.   So this is his summary, if you like, of -- after his

    15    two-week orientation.       He says here that he was invited to

    16    meet Mr. Chen personally, and Mr. Chen had told him, according

    17    to this, that he suggested -- remember, Mr. Guan is coming

    18    from Motorola -- that he suggested to keep observing,

    19    listening, studying, and putting forward my suggestions for

    20    Hytera, based on his experience gained in Motorola.

    21    Q.   And does Mr. Guan actually put forward some suggestions

    22    based on his experience at Motorola?

    23    A.   Yes, he does.

    24               MS. NEW:     All right.    Let's go to the next slide.

    25    Let's take a look at that.
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                                     Rangan - direct by New
                                                                                     1864

     1    BY MS. NEW:

     2    Q.   All right.     Dr. Rangan, can you explain what Mr. Guan is

     3    sharing here about Motorola.

     4    A.   Sure.

     5                 So what he does is he goes on to describe a feature

     6    that is under development at Motorola.            This is this

     7    over-the-air update.       He provides some technical details about

     8    that feature, and then even further suggests that he is

     9    willing to talk to technical engineers about Hytera -- at

    10    Hytera to provide more details.

    11    Q.   And in your experience, Dr. Rangan, are features or

    12    products that are under development at a company typically

    13    kept confidential?

    14    A.   Absolutely.

    15    Q.   And in your experience, does the chairman or the CEO of a

    16    company typically ask new hires to share information regarding

    17    ongoing R&D being done by a competitor?

    18    A.   No.   Of course, that would be extremely inappropriate.

    19    Q.   So what does PTX 404 tell you about Mr. Chen's involvement

    20    with Hytera's DMR product?

    21    A.   What it shows here is that Mr. Chen is openly encouraging

    22    the new employees from Motorola -- remember, this is already

    23    much later, 2015 -- and at that point still openly encouraging

    24    the employees to share their experiences at Motorola, and at

    25    least this employee feels free to reveal confidential
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                                     Rangan - direct by New
                                                                                     1865

     1    information about features under development.

     2    Q.   Now, Dr. Rangan, do you understand that Hytera's -- one of

     3    Hytera's positions in this case is that G.S. Kok, Y.T. Kok,

     4    and Sam Chia were fired because they wouldn't cooperate with

     5    Hytera or talk to anyone at Hytera after the litigation began?

     6    A.   Yes.

     7    Q.   And have you seen evidence to contradict that?

     8    A.   Yes, I have.

     9    Q.   Let's look at PTX 233, which is also in evidence.

    10                And, Dr. Rangan, did you consider this -- did you

    11    consider this document in reaching your opinions?

    12    A.   Yes, I did.

    13                MS. NEW:    Okay.    If we could go to the next slide,

    14    Dave.

    15                Thank you.

    16    BY MS. NEW:

    17    Q.   So can you explain what PTX 233 is.

    18    A.   This is much later.        This is May 2017.      And in this

    19    e-mail, Mr. Chia writes directly to Mr. Chen an e-mail titled

    20    "Summary of my disappointments," and he emphasizes that he

    21    wants this e-mail to be private.

    22    Q.   Now, the document is -- excuse me -- the e-mail is dated

    23    May 2017.    Can you give a little context about that timing

    24    vis-à-vis the filing of the lawsuit.

    25    A.   This was just one to two months after this lawsuit that
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                                     Rangan - direct by New
                                                                                     1866

     1    you're here today was filed.

     2    Q.   And -- now, Mr. Chia titles the e-mail "Summary of my

     3    disappointments."

     4               Does he explain to Mr. Chen why he is disappointed?

     5    A.   Yes, he does.     He gives a number of reasons, but I really

     6    want to walk you through slowly the fourth reason, which I

     7    think is revealing.

     8               He says here -- he references that this lawsuit has

     9    begun just one month prior, and he's been identified as a key

    10    witness, feeling a lot of pressure.

    11               Now, he doesn't go on to deny the accusations that

    12    are placed him in this e-mail.

    13               THE COURT:     Are you referring to an exhibit that

    14    you're looking at as you make this statement?

    15               THE WITNESS:     Yes, I am.     I'm reading from here.

    16               THE COURT:     You're reading?

    17               THE WITNESS:     For the first sentence, yes.          Fourth

    18    major item is the company --

    19               MR. ALLAN:     We'd object, Your Honor.        First of all,

    20    there's no technical information in this at all, and he is

    21    editorializing.

    22               THE COURT:     It's improper narration.        Sustained.

    23    BY MS. NEW:

    24    Q.   Dr. Rangan, so in this first line -- or -- excuse me -- in

    25    this second section you've -- you have underlined, it says --
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                                     Rangan - direct by New
                                                                                     1867

     1    Mr. Chia says that he had approached G.S. three times

     2    requesting to align their stories.

     3                Based on your review of the material in this case,

     4    what does that mean to you?

     5    A.   First of all, based on the -- this e-mail itself, the

     6    three indicate here -- refers to Mr. Y.T. Kok, G.S. Kok, and

     7    Sam Chia.

     8                And in this case here, it's saying not to align our

     9    stories, in this case, relative to this particular -- the

    10    allegations in this lawsuit.

    11    Q.   And he also -- Mr. Chia also says that he --

    12                THE COURT:    What specifically in the exhibit that

    13    you're looking at -- are you referring to when you make that

    14    statement?

    15                THE WITNESS:    Well, just --

    16                THE COURT:    Looking at the exhibit.

    17                THE WITNESS:    Yes.    Sorry, Your Honor.

    18                The beginning of the exhibits, it refers to a

    19    companywide lawsuit.       And the aligning the stories, then,

    20    naturally would be related -- and -- sorry -- and Mr. Chia has

    21    been identified as a witness in that lawsuit.             That's the

    22    first line of this.       And then the aligning of the stories,

    23    then, by implication would be the stories related to his

    24    witness as that, as a member in that lawsuit.

    25                MR. ALLAN:    I object, Your Honor.        This line of
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     1    questioning is not technical.

     2                 THE COURT:   The answer may stand, and of course you

     3    may cross-examine with respect to it.

     4                 Please proceed.

     5    BY MS. NEW:

     6    Q.   Okay.    And then the next thing Mr. Chia says is -- if you

     7    go to the last sentence of that first paragraph, he says that

     8    he doesn't feel that the risk to reward when deciding to join

     9    this company was not properly balanced.

    10                 What does that mean to you?

    11    A.   It would mean to me that there was a risk and reward at

    12    the time of joining the company, and because of the -- that

    13    this is appearing in this particular paragraph, that the risk

    14    and reward is associated, at least, in some manner with the

    15    items in the lawsuit.

    16    Q.   And those items in the lawsuit, does that mean the

    17    Motorola confidential information and source code?

    18    A.   Yes, because those are the items in the lawsuit.              Correct.

    19    Q.   Okay.    And then he also --

    20                 MR. ALLAN:   I object, Your Honor.        Speculation.

    21                 THE COURT:   Leading.

    22                 MR. ALLAN:   Leading and speculation.

    23                 THE COURT:   Sustained.

    24    BY MS. NEW:

    25    Q.   Dr. Rangan --
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     1                 THE COURT:   Some of these questions have a tendency

     2    to lead, Counsel.

     3    BY MS. NEW:

     4    Q.   Dr. Rangan, you see where it says -- Mr. Chia says that he

     5    believes there is a risk in going to jail.

     6                 Do you see that?

     7    A.   Yes, I do.

     8    Q.   Okay.    In your experience in the industry working at

     9    technology companies, is there typically a risk -- does an

    10    employee typically face a risk of going to jail when leaving

    11    one company to join a competitor?

    12                 MR. ALLAN:   Leading, Your Honor.

    13                 THE COURT:   Sustained.     Rephrase the question.

    14    BY MS. NEW:

    15    Q.   Dr. Rangan, there is a reference here to Mr. Chia feeling

    16    that there's a risk in going to jail.           Does that seem abnormal

    17    for you, based on your work in the industry?

    18                 MR. ALLAN:   Objection.

    19                 THE COURT:   Sustained.

    20    BY MS. NEW:

    21    Q.   Dr. Rangan, what do you interpret the words "a risk in

    22    going to jail" to mean?

    23    A.   My interpretation is that for whatever actions he has done

    24    in coming to Hytera, that he is now feeling a risk, because of

    25    this lawsuit, to go to jail.
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     1    Q.   And based on your experience, is that an atypical concern

     2    from simply going from one company to another?

     3                 MR. ALLAN:   Objection.

     4                 THE COURT:   Sustained.     Leading.

     5                 Just a minute.

     6    BY MS. NEW:

     7    Q.   No, Dr. Rangan.      That's fine.

     8                 Now, in this e-mail, does Mr. Chia provide any --

     9                 THE COURT:   I'm not preventing you from going into

    10    the area.     It's just the form of the question.

    11    BY MS. NEW:

    12    Q.   In this e-mail, does Mr. Chia provide any information

    13    about why he is concerned about going to jail?

    14                 MR. ALLAN:   Objection, Your Honor.

    15                 THE COURT:   Overruled.

    16                 You may answer.

    17    BY THE WITNESS:

    18    A.   I'm sorry.     Can you repeat the question?

    19    BY MS. NEW:

    20    Q.   Sure.

    21                 Does Mr. Chen provide -- or -- excuse me.           Does

    22    Mr. Chia provide any information to Mr. Chen about why he is

    23    concerned about the risk of going to jail?

    24    A.   No, I did not read any such information.

    25    Q.   Okay.    And does Mr. Chia make any reference at all to why
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     1    he feels he would be implicated or could go to jail?

     2    A.   No, he does not.

     3    Q.   And does he provide any detail to Mr. Chen regarding why

     4    he needs to align stories with G.S. Kok and Y.T. Kok?

     5               MR. ALLAN:     Leading, Your Honor.

     6               THE COURT:     Sustained.

     7    BY MS. NEW:

     8    Q.   Dr. Rangan, does Mr. -- does Mr. Chia provide any

     9    context --

    10               THE COURT:     Instead of saying "does," if you said

    11    "what does," it might help a little.

    12    BY MS. NEW:

    13    Q.   Dr. Rangan, what does Mr. Chia provide in terms of detail

    14    to Mr. Chen about his concern about his risk of going to jail?

    15    A.   There's very minimal context that I could read in this

    16    e-mail.    There isn't much detail about his particular concern

    17    for going to jail, for example, in this.

    18    Q.   And what do Mr. Chia's statements in this e-mail to

    19    Mr. Chen indicate to you?

    20    A.   The fact -- one thing about this is that -- the fact that

    21    Mr. Chia did not need, or at least in this e-mail, to provide

    22    much context about the nature of his concerns suggests to me

    23    that someone reading this e-mail would not need to understand

    24    that context to understand the concerns about a lawsuit that

    25    is involving Motorola confidential and proprietary information
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     1    being at Hytera.

     2    Q.   Now, we just looked at PTX 233.          Have you seen any other

     3    evidence that contradicts the claim that G.S. Kok, Y.T. Kok,

     4    and Sam Chia wouldn't talk to or cooperate with Hytera after

     5    this lawsuit was filed?

     6               MR. ALLAN:     Objection.

     7               THE COURT:     Sustained.     Form of the question.

     8               Members of the -- members of the jury, we'll take a

     9    little break here, about ten minutes or so.

    10               The witness may leave the stand.

    11               Counsel, please remain.

    12          (Jury out.)

    13               THE COURT:     Court is in session.       Please be seated.

    14               On this issue of jail, is this a preliminary touching

    15    on the issue of the assertion of the Fifth Amendment?

    16               MR. ALPER:     It is not, Your Honor.

    17               THE COURT:     Well, I expect that somewhere along the

    18    way there will be an instruction to the jury on the assertion

    19    of the Fifth Amendment by Mr. Chia and others.

    20               MR. ALPER:     Yes, Your Honor.

    21               THE COURT:     All right.     But you're not reaching that

    22    point by this inquiry?

    23               MR. ALPER:     Exactly.    This inquiry does not -- will

    24    not touch on that particular issue, but there will be an

    25    instruction on that issue.
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     1                THE COURT:    All right.     Do you want to say anything

     2    about that, Counsel?

     3                MR. ALLAN:    Well, if we're going to talk about the

     4    testimony, I'd ask the witness to leave the room, Your Honor.

     5                THE COURT:    Where is he?

     6                Would you step out, please.

     7          (Witness exited the courtroom.)

     8                MR. ALLAN:    Your Honor, I think --

     9                THE COURT:    You've satisfied my inquiry.         I just

    10    wanted to see where we were headed with this.

    11                There is nothing wrong with what counsel has been

    12    touching on, at least insofar as I have not -- not sustained

    13    objections and so on.

    14                But on the issue of the assertion of the Fifth

    15    Amendment, we will in due course have to deal with that and

    16    the instruction ultimately to be given to the jury.

    17                MR. ALLAN:    Yes, Your Honor.

    18                I'd just renew our objection, though, to this line of

    19    testimony with this witness.         This is not a technical

    20    document.    It's a document related to the man's depression.

    21    There's absolutely zero technical analysis.             Anybody could go

    22    up and editorialize like this witness is doing, and I think

    23    it's improper.      It's not proper expert testimony for him to be

    24    doing this.

    25                And we would -- we would ask that this line of
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     1    questioning stop and a curative instruction be provided.

     2               THE COURT:     The -- I don't think a curative

     3    instruction is necessary.        The objection is overruled.

     4               And you can go into these areas on cross-examination,

     5    and ultimately there will be an instruction to the jury in

     6    terms of dealing with the credibility of 702 witnesses.

     7               All right.     You have reserved the issue for purposes

     8    of the appeal, if one were to be made in this case, which is

     9    essentially inconceivable.

    10           (Laughter.)

    11               THE COURT:     Thank you, Counsel.

    12               MR. CLOERN:     Thank you, Your Honor.

    13               MR. ALLAN:     Thank you, Your Honor.

    14          (Change of reporter.)

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     1          (Proceedings heard in open court.          Jury in.)

     2                 THE COURT:   Please proceed.

     3    BY MS. NEW:

     4    Q.    Welcome back, Dr. Rangan.       Before the break, we were

     5    talking about PTX 233, and I just want to ask you:               Do you

     6    have an opinion on whether Sam Chia writing to his boss and

     7    saying he's worried about going to jail is either typical or

     8    atypical in your industry?

     9    A.    That's completely atypical.        I've never heard of such a

    10    scenario before.

    11    Q.    And why is that?     Why is it atypical?

    12    A.    This -- typically, engineers do not typically face a risk

    13    of going to jail for the actions that they -- normal actions

    14    that they provide.

    15    Q.    Did you see any other evidence that contradicts -- excuse

    16    me.   Have you seen any other materials or documents in this

    17    case that contradict the idea that G.S. Kok, Y.T. Kok, and Sam

    18    Chia wouldn't cooperate with Hytera after this litigation was

    19    filed?

    20    A.    Yes.   The way in which the three of them were terminated.

    21    Q.    How did Hytera handle the termination of G.S. Kok, Y.T.

    22    Kok, and Sam Chia?

    23    A.    At least around --

    24                 THE COURT:   Is there some foundation, foundation for

    25    the answer of the witness on that point?
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                                     Rangan - direct by New
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     1               MS. NEW:     Sure, your Honor.      We were going to get to

     2    some documents, but we'd be happy to put them up now.

     3               THE COURT:     All right.     So you will tie this up with

     4    documents?

     5               MS. NEW:     Absolutely, your Honor.

     6               THE COURT:     All right.     Proceed subject to tying it

     7    up.

     8    BY MS. NEW:

     9    Q.    How did Hytera handle the termination of G.S. Kok, Y.T.

    10    Kok, and Sam Chia?

    11    A.    The three individuals remained in employment of Hytera

    12    approximately one and a half years after the lawsuit was

    13    filed.

    14    Q.    And as the founder of a company and a person who's held

    15    roles at the director level at an engineering company, what

    16    would you expect a corporate officer in Mr. Chen's position to

    17    do after receiving this email, PTX 233?

    18    A.    This is a very, very serious occurrence, such a lawsuit.

    19    You would imagine if the three individuals were implicated,

    20    they would be terminated immediately, and the company would

    21    try to vigorously root out the core problem.

    22    Q.    What is your understanding of the circumstances under

    23    which G.S. Kok, Y.T. Kok, and Sam Chia were eventually fired

    24    from Hytera?

    25    A.    It's my understanding that they were fired eventually for
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                                     Rangan - direct by New
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     1    not cooperating with the investigation, not specifically for

     2    stealing the material underlying the original cause.

     3    Q.   And that material, is that Motorola's confidential

     4    information?

     5    A.   Yes, it is.

     6    Q.   All right.     Let's look at PTX -- and if you could just

     7    turn to the slide on your own, Dr. Rangan.             Let's look -- and

     8    I apologize.     Let's look at PTX 487, 489, and 491 which are in

     9    evidence.

    10                 MS. NEW:   So Dave, we can go to the next slide.

    11    BY MS. NEW:

    12    Q.   Did you consider these documents in reaching your opinion?

    13    A.   Yes, I did.

    14    Q.   Okay.    Can you explain what PTX 487, 489, and 491 are?

    15    A.   Yes.    These are the termination agreements for -- from

    16    Hytera for Sam Chia, Y.T. Kok, and G.S. Kok.

    17    Q.   And according to the termination agreements reflected

    18    here, when were these three individuals fired from Hytera?

    19    A.   October 23rd, 2018, about 18 months after this litigation

    20    began.

    21    Q.   Were G.S. Kok, Y.T. Kok, and Sam Chia paid a salary for

    22    the year and a half between when Motorola filed its complaint

    23    in this case and the date they were fired in October of 2018?

    24    A.   Yes, they were.

    25    Q.   And were they also given a severance package at the time
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                                     Rangan - direct by New
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     1    they were terminated?

     2    A.   Yes, they were.

     3    Q.   All right.     Let's look at DTX 5037.         Dr. Rangan, did you

     4    rely on this document in reaching your opinion?

     5    A.   Yes, I did.

     6    Q.   What is DTX 5037?

     7    A.   This is an interrogatory response from Hytera, so this is

     8    a court filing from Hytera which discusses the compensation of

     9    G.S. Kok, Sam Chia, Y.T. Kok, and others.

    10                 MS. NEW:   And your Honor, at this time, plaintiff

    11    moves to admit DTX 5037 into evidence.

    12                 THE COURT:   It is received and may be published.

    13          (Defendant's Exhibit 5037 received in evidence.)

    14                 MS. NEW:   Okay.   Let's go ahead and pull up that

    15    slide, Dave.     Thank you.

    16    BY MS. NEW:

    17    Q.   What Dr. Rangan, what does DTX 5037 show?

    18    A.   This shows the compensation for these three individuals of

    19    various types.

    20    Q.   Okay.    Let's just kind of go column by column.            Okay.     So

    21    for all three employees, we see their names down the left.

    22    What is -- what is in that "annual salary" column?

    23    A.   That's the annual salary for each of the employees.

    24    Q.   Okay.    And what does the designation "RMB" at the top of

    25    the interrogatory response indicate?
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                                     Rangan - direct by New
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     1    A.   This is the salary converted to the Chinese currency, RMB.

     2    Q.   And for what years were G.S. Kok, Y.T. Kok, and Sam Chia

     3    paid a salary after the lawsuit began?

     4    A.   G.S. Kok, they were both -- they were all paid salaries

     5    for the one and a half years.         That's for 2017 and 2018.

     6    Q.   Now, we don't see a salary here for G.S. Kok for 2018.                 Do

     7    you know why that is?

     8    A.   My understanding is that he was transferred to a different

     9    business unit, but that business unit is still in Hytera, so

    10    that number should have been available.

    11    Q.   And then there's an "annual bonus" column.             Can you

    12    explain what that means to you?

    13    A.   This is an annual bonus in addition to the salary that's

    14    given to each of the employees.

    15    Q.   Now we go, if we go all the way to right it says,

    16    "compensation after departure."          What does that mean to you?

    17    A.   This is various further money they were received after

    18    they were -- after their employment was terminated.

    19    Q.   What is reflected in the "Dismissal" column?

    20    A.   This is essentially a severance bonus, if you like, for

    21    each of the employees.

    22    Q.   Then there's also an "other" column.           What's reflected

    23    there in the "other" column?

    24    A.   This was a further amount of money given under the

    25    contractual obligations of the -- of the termination
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                                     Rangan - direct by New
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     1    agreement.

     2    Q.   Okay.    And it says under each of the amounts, "Total for

     3    12 months."     Do you know what -- do you know what is the

     4    source of that 12 months?

     5    A.   This is the -- this is the 12 months after they were

     6    terminated.

     7    Q.   And are you -- do you know whether G.S. Kok, Y.T. Kok, and

     8    Sam Chia had to sign any agreements that would bind them to

     9    the company for 12 months?

    10    A.   Yes.    Sorry.    It's from that agreement that -- this

    11    binding agreement for them to receive this money.

    12    Q.   Is that a noncompete clause?

    13    A.   Yes, sorry.      A noncompete clause.

    14    Q.   So these amounts here are in RMB and pounds.             Did you do a

    15    conversion of these numbers from RMB and pounds to U.S.

    16    dollars?

    17    A.   Yes, I did.

    18    Q.   Okay.    And if we go to the next slide, Dr. Rangan, after

    19    this lawsuit was filed, how much money were G.S. Kok, Sam

    20    Chia, and Y.T. Kok paid by Hytera?

    21    A.   So if you sum up those three items that I mentioned -- the

    22    salary, the bonus, the severance package and the noncompete

    23    clause money -- I've shown the total amounts in the right.

    24    G.S. Kok -- I'll read them into the record -- received at

    25    least $303,507.       For him, remember, we are not including the
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     1    2018 salary or bonus.

     2                 For Sam Chia, $331,141; and for Mr. Y.T. Kok,

     3    $184,799.

     4    Q.   And Dr. Rangan, do you have an opinion on whether

     5    engineers who are being fired, being paid this amount of money

     6    is typical or atypical?

     7    A.   This is completely atypical, specific -- especially given

     8    the nature of which they -- the reasons for which they should

     9    have been fired.

    10    Q.   And what are those reasons?

    11    A.   For stealing Motorola confidential and proprietary

    12    information.

    13    Q.   Now, if we go to the next slide, these are -- this is

    14    reflected here on the slide as PTX 491 and 489.              And they look

    15    to be identical.      Can you just read from Sam Chia the language

    16    that you've highlighted here?

    17    A.   Sure.    So this is the agreement, part of their termination

    18    agreement.     And here it says, "Employee undertakes not to

    19    damage the interests and interest of employer" -- that's

    20    Hytera in this case -- "not to disclose in any way the

    21    information about Party A's trade secrets and business

    22    contracts -- contacts, ongoing litigation disputes, as well as

    23    other information that may cause losses to Party A upon

    24    disclosure."     Party A in this case is Hytera.

    25    Q.   And what does this portion of the termination agreements
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                                     Rangan - direct by New
                                                                                     1882

     1    mean to you?

     2    A.   This suggests to me that they are being contractually

     3    obligated, as it says here, to not cooperate with ongoing

     4    litigation disputes.       And that would, my reading, include

     5    litigation disputes like this one.

     6    Q.   Okay.    Dr. Rangan, I want to turn to your second opinion

     7    which is that Hytera could not have independently developed a

     8    DMR product without accessing or using Motorola's trade

     9    secrets.

    10                 Dr. Rangan, what is your -- to kind of set the stage

    11    here, what is your understanding of the basis of Hytera's

    12    claim that it could have independently developed a DMR radio

    13    without Motorola's trade secrets?

    14    A.   So my understanding of their claim is the following:                  That

    15    prior to the arrival of G.S. Kok, Y.T. Kok, and Sam Chia in

    16    2008, they had a prototype which you could consider, say, a 75

    17    percent complete prototype.         And from that prototype, there

    18    are two potential scenarios where you can go to a commercial

    19    project -- product.

    20    Q.   And can you explain those two scenarios, please?

    21    A.   Sure.    In the first scenario, the prototype had an FPGA,

    22    and you would continue with that design including the FPGA and

    23    then launch a commercial project -- product in March 2010.

    24    Remarkably, that's the same date that they actually released

    25    their first product, so in no loss of time even though they
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     1    are not using the Motorola appropriated trade secrets.

     2                 In the second scenario, they would modify the

     3    prototype to remove the FPGA.         This is actually what did --

     4    the real final system did not have an FPGA.             And then in this

     5    case because of the modifications, they would launch

     6    approximately six months later, in September 2010.

     7    Q.   Based on your experience and your review of all of the

     8    material and information in this case, do you think either

     9    scenario is possible?

    10    A.   No, I do not.

    11    Q.   Why not?

    12    A.   Because both scenarios are predicated on the concept that

    13    there's a 75 percent complete prototype in 2008, and I simply

    14    did not see in my analysis any evidence of that.

    15    Q.   Okay.    So you've used the term "prototype."           I think we've

    16    heard it before from a couple other witnesses.              Can you

    17    explain what a prototype is?

    18    A.   Sure.    Typically, when you're developing a project --

    19    product, a prototype is an earlier version that has most of

    20    the functionality that you expect in the final version but

    21    still needs perhaps to be miniaturized or perhaps more

    22    testing.

    23    Q.   Okay.    And just to make sure it's clear, what is your

    24    understanding of Hytera's position on whether it had a

    25    prototype prior to the arrival of G.S. Kok in February of
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                                     Rangan - direct by New
                                                                                     1884

     1    2008?

     2    A.   It's my understanding that they believed they had what

     3    they call, characterized as a 75 percent complete prototype.

     4    Q.   Okay.   And have you seen this alleged prototype?

     5    A.   No, I have not.

     6    Q.   Do you -- we've heard a little bit about Hytera's expert,

     7    Mr. Grimmett.     Are you aware of whether Mr. Grimmett has seen

     8    this prototype?

     9    A.   He has not either.

    10    Q.   Have you seen pictures of this prototype?

    11    A.   No, I have not seen physical or -- versions or pictures of

    12    the prototype.

    13    Q.   Were you able to go to Hytera and inspect the prototype?

    14    A.   No, I was not either able to go to Hytera or its counsel's

    15    office to actually inspect one.

    16    Q.   And were you ever able to do any tests on any prototype?

    17    A.   Since it didn't physically exist, I could not do any test.

    18    Q.   And given that the prototype was allegedly 75 percent

    19    complete, would you expect Hytera to be able to produce and --

    20    to find it and produce it in this case?

    21    A.   Absolutely.

    22    Q.   What is your understanding of what companies typically do

    23    with a prototype that is -- would be that far along?

    24    A.   Given -- had they actually completed a prototype that was

    25    75 percent complete, that's quite a significant
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                                     Rangan - direct by New
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     1    accomplishment, and you would expect the company to keep it at

     2    least as a souvenir of that accomplishment because it would

     3    have been so significant.

     4    Q.   Now, it's been 11, almost 12 years since 2008.              Would you

     5    expect Hytera to have kept the prototype for that long?

     6    A.   Yes.    For example, at Flarion, we had developed prototypes

     7    dating back even to 2002, and they're still in the display

     8    case at Qualcomm that ended up acquiring us.

     9    Q.   All right.     Let's take a look at PTX 421 on your next

    10    slide.    Did you rely on this document in reaching your

    11    opinion, Dr. Rangan?

    12    A.   Yes, I did.

    13    Q.   Okay.    And what is PTX 421?

    14    A.   This is an email in February 2008 sent to Mr. Chen, a

    15    Hytera email.

    16    Q.   Okay.    And is there any indication that PTX 421 is a

    17    Hytera document produced from Hytera's files?

    18    A.   Yes.    It has -- it has Hytera email recipients as well it

    19    has a Hytera Bates number.

    20                 MS. NEW:   Plaintiff moves to admit PTX 421 into

    21    evidence.

    22                 THE COURT:   It is received and may be published.

    23          (Plaintiff's Exhibit 421 received in evidence.)

    24    BY MS. NEW:

    25    Q.   Let's go to this next slide.         Thank you.
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                                     Rangan - direct by New
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     1                Dr. Rangan, what does G.S. Kok say to Mr. Chen in

     2    this email?

     3    A.   So this is about, to put it in context, about two weeks

     4    prior to Mr. -- after Mr. Kok has arrived at Hytera.               And at

     5    that time, he would have had an opportunity to look at the

     6    work that had been done prior to his arrival, and this email

     7    was discussing that.

     8                He says here, I'll first go to the red highlighted

     9    part:   "I'm surprised also to find out that we do not have a

    10    prototype after three years.         In addition, that each circuit

    11    block needs to be merged and a new board layout."

    12                He also states here that, "In my first review, the

    13    radio part count was greater than 1100 parts."              That's the

    14    radio part count of a board that they are planning on

    15    building.

    16                Finally, at the end here, he instructs the team a

    17    number of instructions.        And I want to highlight the sixth one

    18    here, which is that the team will need an injection of subject

    19    matter experts, and he suggests getting them here from

    20    Motorola.

    21    Q.   Based on your review of this email, Dr. Rangan, is there

    22    any indication that G.S. Kok did not understand how Hytera had

    23    developed its alleged prototype?

    24    A.   No.    In fact, there's some technical details in the email

    25    and further emails that confirm that he did understand it.
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                                     Rangan - direct by New
                                                                                     1887

     1    Q.   Do you see any mention from Mr. Kok about any problems

     2    communicating with the team due to language barriers?

     3    A.   No.   In fact, you see that he's, in fact, communicating

     4    with the team.

     5    Q.   And did you see any indication in this email that G.S. Kok

     6    does not understand the hardware that Hytera was using at the

     7    time?

     8    A.   No, I do not.

     9    Q.   And there's a -- the reference here to the part count

    10    being greater than 1100, what, if anything, does that

    11    reference indicate to you about whether Hytera had a prototype

    12    in February 2008?

    13    A.   This case, based on my other analysis, this is related to

    14    a part count for a board that they're potentially planning on

    15    building, not for one that's in existence right now.

    16    Q.   Do you under -- do you have an understanding of why Hytera

    17    decided not to commercialize the prototype that was allegedly

    18    75 percent complete in February of 2008?

    19    A.   My understanding was that Mr. G.S. Kok and then later

    20    Mr. Chia's suggestion to abandon that work and then basically

    21    start from scratch.

    22    Q.   Now, based on your engineering management and overall

    23    business experience, if a company invested three years

    24    developing a prototype and it was 75 percent complete, is it

    25    typical or is it atypical for all of that work to be
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                                     Rangan - direct by New
                                                                                     1888

     1    abandoned?

     2    A.   That would be extremely atypical.          Had they actually

     3    achieved 75 percent functionality, that would be an enormous

     4    amount of development time and cost that would have been sunk

     5    into this that would be basically thrown out.             You just simply

     6    cannot undertake that decision easily.

     7                 In addition, you would expect there to be significant

     8    discussion amongst the engineering management as well as the

     9    business management maybe up to the Board given the importance

    10    of this company before you would discard such an amount of

    11    progress.

    12    Q.   Now, given that you haven't seen the prototype that Hytera

    13    says it had, what evidence did Hytera -- excuse me, what

    14    documents did Hytera actually provide to support its

    15    contention that it had a prototype?

    16    A.   So since there was no physical prototype to actually

    17    inspect or test, all of my analysis is based on the documents,

    18    the paper versions of what was actually available.

    19    Q.   And based on your review of those documents, would Hytera

    20    have been able to independently develop a DMR product without

    21    using or accessing Motorola's trade secrets?

    22    A.   No.    That's my conclusion.

    23    Q.   Okay.    And what are the reasons for that?

    24    A.   Sure.    So there's really -- I've tried to categorize it

    25    into four high-level reasons.         The first is that there's no
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                                     Rangan - direct by New
                                                                                     1889

     1    architecture or framework for this.           That's the overall way

     2    that the whole product would have been architected.

     3                The protocol stack was not complete.          In fact, it was

     4    extremely limited.       There was no demonstration of

     5    interoperability.      And the source code, the way it was

     6    structured, was fundamentally flawed and would prevent any

     7    further progress.

     8    Q.   All right.     So let's go to that first reason which is that

     9    there was no architecture or framework.             Can you explain what

    10    you mean by "no architecture or framework"?

    11    A.   Yes.   So you may recall Mr. Lund's presentation where he

    12    describes architecture or framework in the context of a large

    13    commercial office building.         And when you build a large

    14    building, of course, you would have blueprints.              You would lay

    15    a foundation and then put all the structural framework as well

    16    as plumbing, electrical, and so on.

    17                Large pieces of complex software like a DMR radio are

    18    similar.    They need that framework to basically assemble all

    19    the complex modules that will go into that software.

    20    Q.   Let's look at PTX 1261 on the next slide.            And this

    21    document has already been admitted.           And we're looking at Page

    22    9.   What are the components of architecture or framework that

    23    we can see here in this document?

    24    A.   This is a high-level block diagram of one of the

    25    components of the DMR system.         Each block in this represents
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                                     Rangan - direct by New
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     1    in itself a large complex software module.             And the framework

     2    is a part that structures this all together.

     3                 I wanted to point out that several of the trade

     4    secrets at issue in this case are these structural framework

     5    aspects; for example, the HAL, the hardware abstraction layer;

     6    the operating system; Darwin; the DSP framework; and that

     7    virtual radio interface standard.

     8    Q.   And just to be clear, I'm not sure I caught that you said

     9    this.   This is a Motorola document, correct?

    10    A.   Oh, I'm sorry.      Yes, this is Motorola's architecture.

    11    Q.   Okay.    And would you -- if Hytera had a prototype that was

    12    75 percent complete, would you or would you not have expected

    13    to see some of these components present in the documents

    14    provided by Hytera?

    15    A.   Absolutely.     Different designers can choose different

    16    types of architecture, but some architecture with at least

    17    some of these types of components you would expect in any

    18    product that's going towards commercialization.

    19    Q.   And did you see any evidence of any of these components,

    20    any components of framework or architecture in the documents

    21    or materials related to Hytera's development efforts before

    22    February 2008?

    23    A.   Remarkably, no.      That was really one of the shocking

    24    things to find when I first started looking at this material,

    25    that complete absence of that -- of those architectural
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                                     Rangan - direct by New
                                                                                     1891

     1    framework components.

     2    Q.   Now, one of the components you mentioned is an operating

     3    system.    Can you just explain why an operating system would be

     4    necessary to any product that would be commercialized?

     5    A.   Sure.    You heard several of the other witnesses testify

     6    about an operating system.         Your smartphone, for example, has

     7    an operating system on it.         It manages multiple applications.

     8    So, for example, you can surf the web while getting a call.

     9                 And on a DMR system, similarly you could be, for

    10    example, communicating on the radio while getting an emergency

    11    alarm.    Any time you need to manage multiple tasks or

    12    applications, the operating system is essential.

    13    Q.   And if a prototype for a DMR radio was 75 percent

    14    complete, would you expect to see an operating system?

    15    A.   Absolutely.     You can't -- you would have to come in very

    16    early in the development before continuing.

    17    Q.   Okay.    And can you explain how you know that Hytera's

    18    pre-2008 DMR development did not include an operating system?

    19    A.   So my understanding is the only evidence they produced of

    20    an operating system were a number of files, but those files

    21    were just third party files that were downloaded for an

    22    operating system but they had never actually been integrated

    23    into the code or at least the code that I saw.

    24    Q.   And so to your knowledge, what was done with those files?

    25    A.   So you can think of them just as sitting in a separate
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                                     Rangan - direct by New
                                                                                     1892

     1    location and not really being used.

     2    Q.   And without an architecture framework or operating system,

     3    would any company be able to develop a DMR radio?

     4    A.   Absolutely not.      That's just inconceivable to develop any

     5    complex piece of software without that.

     6    Q.   All right.     So the second reason you said that Hytera

     7    could not independently develop a DMR product without

     8    accessing or using Motorola's trade secrets is that Hytera did

     9    not have a complete protocol stack.           Can you just remind the

    10    jury what a protocol stack is?

    11    A.   Sure.   The protocol, among other things, really defines

    12    the sequence of operations that the transmitter or receiver

    13    would have to do to communicate.          There's a protocol stack on

    14    each end of the communication.          Typically, the protocol stack

    15    is defined -- divided into layers.           For example, in the DMR,

    16    there's a physical layer, a data link layer, and a control

    17    layer.    And it's called a protocol stack because these layers

    18    are stacked, if you like, one on top of the other.

    19    Q.   And if we go to the next slide, can you -- you put

    20    together this demonstrative to explain how communications

    21    between two radios would work if they have a complete protocol

    22    stack.    Can you walk the jury through that process?

    23    A.   Sure.   Suppose you want to send a -- something like a

    24    short message saying, "Meet us on the 23rd floor," where we

    25    are right now.      Between two DMR radios, if you were to do
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                                     Rangan - direct by New
                                                                                     1893

     1    this, you would have a number of steps.             The first is that you

     2    might have to try to access the channel before you can even

     3    communicate.     You might have to exchange some other

     4    information, identifying information, to initiate the call.

     5    Sometimes that's called handshaking.           That's what I've

     6    illustrated in step one.

     7                 At that point, you would have to have some interface

     8    with your keypad, convert that into digital information, and

     9    then that information would then need to be transmitted,

    10    typically divided into a number of small frames, and each of

    11    these frames being modulated over the air.

    12                 The receiver side would reverse this process, would

    13    demodulate it, reassemble the frames, and then display the

    14    message on your phone -- sorry, on your -- on the other radio.

    15    So there's a lot of steps even for something apparently simple

    16    like a short message.

    17    Q.   Have you seen any documents or materials in this case

    18    showing that Hytera could perform these steps prior to

    19    February 2008?

    20    A.   Not at all.

    21    Q.   Okay.    If you could turn to DTX 32'9 on your next slide,

    22    do you recognize this document?

    23    A.   Yes, I do.

    24    Q.   What is the document?

    25    A.   This is an internal Hytera document dated in 2006 titled
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                                     Rangan - direct by New
                                                                                     1894

     1    "DMR data service program testing."

     2    Q.   Did you consider this document in reaching your opinions?

     3    A.   Yes, I did.

     4    Q.   Is there any indication on the document that it comes

     5    from -- it came from Hytera's files?

     6    A.   Yes.   It's a Hytera branded document, and it also has a

     7    Hytera Bates number.

     8                MS. NEW:    Your Honor, plaintiff moves to admit DTX

     9    3219 into evidence.

    10                THE COURT:    It is received and may be published.

    11          (Defendant's Exhibit 3219 received in evidence.)

    12    BY MS. NEW:

    13    Q.   So Dr. Rangan, based on your understanding, what does

    14    Hytera claim that this document shows?

    15    A.   This, they claim that it shows certain types of basic data

    16    service.

    17    Q.   And can you explain what data service is?

    18    A.   So usually, they -- one distinguishes data service from

    19    voice service.      Data service is, say, sending a short message

    20    and voice, of course, is a voice conversation.

    21    Q.   Is a text message an easy way to think about data service?

    22    A.   Yes, that's a good one.

    23    Q.   Does sending a data service message represent full DMR

    24    capability?

    25    A.   No, because, of course, DMR would need voice on top of
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                                     Rangan - direct by New
                                                                                     1895

     1    data.

     2    Q.   Does this document show that Hytera was able to send a

     3    group call, short message, or data service message?

     4    A.   No, it does not.

     5    Q.   Okay.    Let's look at Page 54 of this document.            Okay.

     6    Dr. Rangan, can you explain what this shows?

     7    A.   In this document if you were to open it up, it describes

     8    several tasks.      And in each one there's an output to a screen.

     9    And I've shown that, one of these outputs here on the right.

    10    And at the end, you get a message which is printed out saying,

    11    in this case, "The whole message has been sent to the PL," PL

    12    meaning physical layer.

    13    Q.   Okay.    If we go back to your slide showing what's supposed

    14    to happen with a complete protocol stack, can you explain what

    15    Hytera is actually doing in terms of what's represented in PTX

    16    3219?

    17    A.   Yes.    So what I've shown here is what you would expect to

    18    happen when one device sends a short message to a second

    19    device, but what actually happened was a tiny subset of that,

    20    just this.     Now, what you see here is a lot missing.            So let

    21    me walk you through that.

    22                 First of all, there's only one device here involved.

    23    There's no second device.        So this is not even a useful

    24    communication because it's only one device by itself.               On top

    25    of that, it's really an internal test within that device, and
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                                     Rangan - direct by New
                                                                                     1896

     1    that device doesn't have any, what they call in the document

     2    the man/machine interface.         So it has no keypad or no display

     3    on the other side, and so that whole part is missing.

     4    Instead, there's some fixed pattern which is then transmitted,

     5    and it can only transmit a limited number of frames of that

     6    pattern.

     7               Now, also remember it said it's connected to the

     8    physical -- sorry, is transmitted to the physical layer.                   The

     9    physical layer is also not present here, so even the

    10    modulation of this data is not being performed.              So in

    11    summary, you're seeing just a small fraction of a part of the

    12    processing on one end of the device.

    13    Q.   So just to make sure we understand, does DTX 3219 show

    14    a -- that a whole data message could be sent between two

    15    radios?

    16    A.   Absolutely not.

    17    Q.   Does the test reflected in DTX 3219 show that Hytera had

    18    proven that a DMR protocol stack worked as of December 2006,

    19    the date of this document?

    20    A.   Of course not.

    21    Q.   Is this the type of protocol stack testing you would

    22    expect to see from a company that has a 75 percent complete

    23    prototype?

    24    A.   No.   This is very far away from that.

    25    Q.   Now, you mentioned earlier in your last sort of
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                                     Rangan - direct by New
                                                                                     1897

     1    sub-opinion that Hytera does not -- did not have any

     2    architecture, framework, or operating system.             Would the

     3    absence of those components impact Hytera's ability to develop

     4    a protocol stack?

     5    A.   Yes.   One of the aspects here is that it can only transmit

     6    a limited number of these frames and then the program would

     7    stop.   And that's partly coming out of the fact that it's

     8    missing an operating system.         If you wanted to continuously

     9    transmit frames, you need an operating system to be able to

    10    transmit the frames while still doing the other processing

    11    like processing tasks, the keyboard input and so on, but

    12    that's missing here.

    13    Q.   So DTX 3219, I think you said, is from 2006.             Have you

    14    seen any other documents related to Hytera's effort to develop

    15    a protocol stack after the date of this document?

    16    A.   Yes, I have.

    17    Q.   All right.     Let's look at PTX 1984 on your next slide.              Do

    18    you recognize this document?

    19    A.   Yes, I do.

    20    Q.   What is this document?

    21    A.   This document is a Hytera document dated later in 2006

    22    titled, "DMR protocol stack software, DSP running test."

    23    Q.   Did you consider this document in reaching your opinions?

    24    A.   Yes, I did.

    25    Q.   Is there any indication on the document that it was
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                                     Rangan - direct by New
                                                                                     1898

     1    produced from Hytera's files?

     2    A.   Yes.    It's a Hytera branded document and again, it has a

     3    Hytera Bates number.

     4                 MS. NEW:   Your Honor, plaintiff moves to admit PTX

     5    1984 into evidence.

     6                 THE COURT:   It is received and may be published.

     7          (Plaintiff's Exhibit 1984 received in evidence.)

     8    BY MS. NEW:

     9    Q.   Dr. Rangan, does PTX 1984 show that Hytera tested its DMR

    10    protocol stack and proved that it worked?

    11    A.   No.    I would characterize this document more as just a

    12    test plan.

    13    Q.   Okay.    And if we go to Page 27 of PTX 1984, does this show

    14    that Hytera had a complete protocol stack?

    15    A.   No.    I just -- one deficiency I've highlighted here says

    16    here that, "The DMR protocol is not connected to the physical

    17    layer" -- that's PL -- "part at present."            So the physical

    18    layer is not there.

    19    Q.   And if we go to Pages 49 and 50 of this document, under

    20    "Problems and summary," can you explain what is shown here?

    21    A.   Yes, sure.     Actually, before we go on, though, remember

    22    the physical layer is the key part that modulates the data

    23    over the air.     Without that, you can't have any communication

    24    and, hence, no protocol stack.

    25                 Now, sorry, on to this part here, at the end of the
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                                     Rangan - direct by New
                                                                                     1899

     1    document, it discusses further problems that they're having.

     2    And it's just talking about very early problems about

     3    compiling into the correct compiling environment.

     4                And I point out two problems here at the bottom in

     5    point six.     First, that the protocol stack is larger than the

     6    DSP on-chip RAM.      That means they're having trouble fitting it

     7    into the memory as well and that because the protocol --

     8    physical layer, sorry, is not connecting, connected, they're

     9    having troubles with the exception handling, exception

    10    handling meaning the way you process error events.

    11    Q.   And what do these problems tell you about Hytera's ability

    12    to develop a protocol stack?

    13    A.   So all these problems together still suggest that they're

    14    extremely far from developing anywhere near a 75 percent

    15    complete protocol stack.

    16    Q.   Let's look at PTX 1987 on the next slide.            Do you

    17    recognize that document, Dr. Rangan?

    18    A.   Yes, I do.

    19    Q.   And do you consider that document in reaching your

    20    opinion?

    21    A.   Yes, I do.

    22    Q.   Is there any indication that this document is a Hytera

    23    document produced from Hytera's files?

    24    A.   Yes.    Again, this is a Hytera branded document, and it has

    25    a Hytera Bates number.
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                                     Rangan - direct by New
                                                                                     1900

     1                 MS. NEW:   Your Honor, plaintiff moves to admit PTX

     2    1987 into evidence.

     3                 THE COURT:   It is received and may be published.

     4          (Plaintiff's Exhibit 1987 received in evidence.)

     5    BY MS. NEW:

     6    Q.   All right.     Let's look at Pages 29 and 30 of PTX 1987.

     7    Dr. Rangan, what is shown here on this slide?

     8    A.   Sorry.    Do you want -- yes, thank you.          So this document

     9    is the DMR protocol stack specification.            And at the end of

    10    this document is a table.        And that table has a number of --

    11    describes a number of features and whether those features are

    12    realized or not.

    13    Q.   Are all of these features that are listed here the

    14    features you would expect to see in a DMR radio?

    15    A.   Yes.

    16    Q.   Okay.    Now, there is this column that says, "Is it

    17    realized?"     Do you know what "is it realized" means?

    18    A.   That actually, the document doesn't clarify what exactly

    19    it means for it to be -- when it says, for each feature,

    20    whether it's realized or not, and it also doesn't describe to

    21    what extent any of these features are realized even if they

    22    claim that they are.

    23    Q.   Now, are there features on here that Hytera has listed as

    24    not being realized?

    25    A.   Yes.    So there are some, the features which are listed as
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                                     Rangan - direct by New
                                                                                     1901

     1    "yes," but there -- even the document itself admits that there

     2    are large numbers of features which are indicated as not yet

     3    implemented.     I've highlighted these in yellow here.

     4    Q.   Now, if Hytera was able to develop a protocol stack, would

     5    you expect to see this many "no's" on this document?

     6    A.   No, you wouldn't, not for something especially that would

     7    be considered a 75 percent complete protocol stack.

     8    Q.   And are there important DMR functions that are actually

     9    missing from this chart?

    10    A.   Yes.    For example, one key feature that's not even on the

    11    chart is emergency call.

    12    Q.   And would an emergency call be an important feature that

    13    customers would expect to see in a DMR radio?

    14    A.   Yes.    Of course, for any type of mission-critical

    15    application, emergency call is really essential --

    16    Q.   So --

    17    A.   -- of course.

    18    Q.   I apologize.     What does PTX 1987 tell you about Hytera's

    19    ability to develop a protocol stack?

    20    A.   So this document is one more piece of evidence that

    21    Hytera, prior to 2008, was still very far from coming close to

    22    a 75 percent complete protocol stack.

    23    Q.   All right.     Let's turn next to PTX 1085 which is already

    24    admitted.    Did you consider this document in reaching your

    25    opinion, Dr. Rangan?
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                                     Rangan - direct by New
                                                                                     1902

     1    A.   Yes, I did.

     2    Q.   And just to remind the jury, what have we been calling

     3    this document?

     4    A.   This is the welcome email that you've now seen.

     5    Q.   Okay.   And why did you consider this document, PTX 1085,

     6    in reaching your opinion?

     7    A.   I wanted -- I know you've seen this document previously,

     8    but I wanted to talk about it specifically in the context of

     9    the protocol stack.

    10    Q.   And what does it tell you about Hytera's protocol stack

    11    development efforts?

    12    A.   It still shows here that the protocol stack was very early

    13    in development.      So if you look at the very title of this

    14    document, it's "Important technical questions about the DMR

    15    protocol stack."

    16    Q.   And who sent this email, Dr. Rangan?

    17    A.   This is Roger Zhang.

    18    Q.   And what was Roger Zhang's role at Hytera?

    19    A.   He was actually involved in the work prior to 2008, and

    20    then after the arrival of G.S. Kok, Y.T. Kok, and Sam Chia, he

    21    continued to have, I believe, either a group leader or

    22    technical leader role.

    23    Q.   And did Mr. Zhang ever work at Motorola?

    24    A.   No, he did not.

    25    Q.   Okay.   So specific to the protocol stack, what does
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                                     Rangan - direct by New
                                                                                     1903

     1    Mr. Zhang say to Mr. Chia in this welcome email?

     2    A.   So he asks Mr. Chia a number of questions.             And what I

     3    wanted to -- well, sorry.        He says here, "Our group has been

     4    engaged in protocol development for a period of time."                This

     5    is about the three-year development that they had prior to the

     6    arrival of G.S. Kok, Y.T. Kok, and Sam Chia.

     7                 And he says they've been -- "met many problems which

     8    have troubled us for a long time."           So he's admitting in this

     9    email here that the protocol stack development is having

    10    troubles.     He then goes on to ask, he hopes to learn about the

    11    protocol stack from Mr. Chia and then asks him a number of

    12    questions.

    13    Q.   Okay.    And so a minute ago, we were looking at PTX 1987

    14    which was that table of yes, no's related to the features.                  Is

    15    there anything in Mr. Zhang's email here in PTX 1085 that

    16    conflicts with PTX 1987?

    17    A.   Yes.    One of the questions that Mr. Zhang asks is here at

    18    the bottom, "Would you please tell us about processing details

    19    for digital emergency signalling?"           However, if you recall

    20    back, the 2007 document had indicated that emergency

    21    signalling was realized.        Here, that's "yes" here.

    22                 So what this suggests is that even going back to that

    23    spreadsheet or that table, even the items that were listed

    24    "yes" are still unlikely to have been really realized.

    25    Q.   And what does the fact that Mr. Zhang is asking questions
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                                     Rangan - direct by New
                                                                                     1904

     1    of Sam Chia about protocol stack development tell you about

     2    Hytera's ability to develop a protocol stack?

     3    A.   If you look at those questions, you see they're all very

     4    basic fundamental questions about the protocol stack; that if

     5    they were to actually have been anywhere close to a 75 percent

     6    complete prototype, they would not need to have been asking

     7    all those questions.

     8    Q.   All right.     Let's look at slides 78 and 79 which reflect

     9    PTX 203 and 204.      Do you recognize these documents,

    10    Dr. Rangan?

    11    A.   Yes, I do.

    12    Q.   And what are PTX 203 and 204?

    13    A.   PTX 203 is a Hytera document, "DMR protocol stack software

    14    development plan" and is dated July of 2008 and -- oh, I'm

    15    sorry, and an accompanying email to that document.               I'm sorry.

    16    203 is the email, sorry, and 204 is the document attached to

    17    that email.

    18    Q.   And did you consider both the email and the attachment in

    19    reaching your opinions?

    20    A.   Yes, I did.

    21    Q.   Is there any indication that PTX 203 and 204 are Hytera

    22    documents produced from Hytera's files?

    23    A.   Yes, they are.      They are Hytera emails as well as there's

    24    Hytera Bates numbers on the documents.

    25               MS. NEW:     Your Honor, plaintiff moves to admit PTX
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                                      Rangan - direct by New
                                                                                     1905

     1    203 and 204 into evidence.

     2                 THE COURT:    Both are received and may be published.

     3          (Plaintiff's Exhibits 203 and 204 received in evidence.)

     4    BY MS. NEW:

     5    Q.   All right.     Let's look at PTX 203 first.         So Dr. Rangan, I

     6    first want to ask you, who is Yu Yang who is identified here?

     7    A.   Yu Yang is an engineer that was originally in the Harbin

     8    team which had been doing the development prior to the arrival

     9    of G.S. Kok, Y.T. Kok, and Sam Chia.           He was one of the

    10    leaders there.      And then after the arrival of those three

    11    individuals, he continued to be either a group leader or a

    12    technical lead in the software team at Hytera.

    13    Q.   And what does Mr. Yang say about Hytera's protocol stack

    14    in this email to Mr. Chia?

    15    A.   Sure.    So he says in this email, "When we were doing the

    16    work" -- this is referencing the work done prior to their

    17    arrival -- "most of the requirements cannot be met."               And "the

    18    requirements" here is referring to the requirements in the

    19    attached document.        He then goes on to say that the project

    20    has grown up in an unhealthy situation.

    21    Q.   And that attached document is PTX 204, so let's look at

    22    Pages 45 and 46.

    23                 Now, what is discussed on these pages about the

    24    requirements, Dr. Rangan?

    25    A.   So this document actually dates back to 2006 which was the
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                                     Rangan - direct by New
                                                                                     1906

     1    development prior to the arrival of the three individuals.

     2    And it shows here that the requirements are specifically

     3    related to requirements for the protocol stack.              There's a

     4    requirement here about a unified software process, and then

     5    this discussion here about the software is for protocol stack

     6    communication.      There's also a requirement about high

     7    stability, and there's also a discussion about the

     8    requirements for developers.

     9    Q.   And just to make sure the record is clear, that's for DMR

    10    protocol stack development, right?

    11    A.   Yes, that's correct.

    12    Q.   And based on your experience, what does this email and the

    13    attachment from Mr. Yang to Mr. Chia tell you about Hytera's

    14    ability to develop a DMR protocol stack?

    15    A.   So this is further evidence that Hytera was still very far

    16    away from a complete protocol stack because it was, in this

    17    case, missing a number of requirements.

    18    Q.   So Dr. Rangan, after looking at all those documents we

    19    just reviewed, what are your conclusions with respect to

    20    whether Hytera could develop a protocol -- a DMR protocol

    21    stack independent of Motorola's trade secrets?

    22    A.   So we see at least four key reasons why they could not

    23    have developed such a protocol stack.           What they had prior to

    24    2008, they were missing basic architecture and framework which

    25    is necessary for any piece of complex software.              They were not
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                                     Rangan - direct by New
                                                                                     1907

     1    able to communicate or send messages between two radios.                   They

     2    were unable to develop the basic functionality that you'd

     3    expect in a DMR protocol stack.          And the requirements that

     4    they had set out to meet were not being met.

     5    Q.   Dr. Rangan, let's move on to the third reason you

     6    identified to support your conclusion that Hytera could not

     7    independently develop a DMR radio.           Can you remind us what

     8    that third reason is?

     9    A.   That is that they did not demonstrate interoperability.

    10    Q.   Now, we're heard the term "interoperability" here and

    11    there over the last couple weeks.          Can you remind us what

    12    interoperability means?

    13    A.   Sure.   Interoperability simply means the ability of a

    14    device from one manufacturer to communicate to the device of

    15    another manufacturer.       It's generally a formal process where

    16    manufacturers, for example, in DMR would go to, say, the DMR

    17    Association which will then, they will meet together and

    18    certify that they can produce -- perform or interoperate.

    19    Q.   Is interoperability important in a wireless communication

    20    system like a DMR radio?

    21    A.   Sure.   It's absolutely essential.         So, for example, in a

    22    cellular system, you want your Samsung or maybe Apple

    23    smartphone to be able to communicate to the radio equipment of

    24    your provider which could be purchased from another

    25    manufacturer, or you also might want your Apple phone to be
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                                     Rangan - direct by New
                                                                                     1908

     1    able to talk to other devices that are not Apple phones.

     2                 Similarly, in DMR, you may have, say, a scenario

     3    where the -- a person on, say, a construction site might need

     4    to communicate to another person on the construction site that

     5    maybe has a radio from a different manufacturer.

     6    Q.   All right.     Let's look at PTX 1988, which is already

     7    admitted.     Do you recognize this document, Dr. Rangan?

     8    A.   Yes, I do.

     9    Q.   Okay.    And what is this document?

    10    A.   This is a Hytera document dated around September of 2007

    11    entitled, "The summary report on interoperability between DMR

    12    and MOTO."

    13    Q.   Did you consider this document in reaching your opinions

    14    in this case?

    15    A.   Yes, I did.

    16    Q.   And why did you consider this one specifically?

    17    A.   This is really the sole document that Hytera relies on to

    18    demonstrate interoperability.

    19    Q.   And what does Hytera contend that this document shows?

    20    A.   They contend that it shows a group call from Motorola

    21    device to a Hytera device.

    22    Q.   What is a group call?

    23    A.   Sure.    A group call is just simply a call that will go out

    24    to multiple users, say, for example, multiple people on a

    25    construction site.
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                                     Rangan - direct by New
                                                                                     1909

     1    Q.   Does PTX 1988 show that Hytera had the ability to

     2    create -- or to complete a group call?

     3    A.   No, it does not.

     4    Q.   Let's look at Page 12 of PTX 1988.           What does this

     5    document -- what does this page of this document show about

     6    Hytera's inability to perform a group call?

     7    A.   Yes.   Before we go on, it's first important to recognize

     8    that this document itself does not describe what's being

     9    tested as a prototype.        Instead, it refers to it as a

    10    debugging hardware platform.

    11    Q.   And just so everyone understands, what would be the

    12    difference between a prototype and a debugging hardware

    13    platform?

    14    A.   A debugging hardware platform would be a version of the

    15    system that's in a much earlier stage of development where

    16    you're still trying to build up basic features.

    17    Q.   And what is represented here on Page 12 of PTX 1988?

    18    A.   So you can see here the figure of what they're trying to

    19    do in the test, which is a communication between a Motorola

    20    device and this debugging hardware platform.             Now, the

    21    Motorola device is that radio shown here on the left.               And

    22    that is what a final commercial product is like, something

    23    like a handheld like this.

    24                What it's communicating to, though, is this debugging

    25    hardware platform which I've outlined in here in red.               That
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                                     Rangan - direct by New
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     1    debugging hardware platform in this case is not something like

     2    this but rather has these four boards connected by wires.

     3    There's a board for the radio, a board with the DSP for the

     4    baseband.    There's the protocol -- sorry, a board with the

     5    radio, a board with the baseband with the FPGA, the DSP board,

     6    and then a final board for that voice coding.

     7    Q.   And is there anything missing from this debugging hardware

     8    platform that you would also expect to see if this was a true

     9    prototype?

    10    A.   Yes.    You can see here on the right, this is outside that

    11    platform because this debugging platform doesn't have that

    12    man/machine interface, the interface between the keypad and

    13    the screen.     So that's being simulated here on this PC

    14    computer which connects into the debugging hardware platform.

    15    Q.   Let's go to Page 13 of this document.           Can you explain why

    16    the debugging hardware platform that we just looked at had

    17    limited functionality?

    18    A.   Yes.    So there's -- in this interop test, there's actually

    19    two parts.     There's a transmit part and a receive part.             I

    20    will talk about the transmit part, but the other part is

    21    similar.

    22                So in the transmit part, they give the technical

    23    description of what happened up here in the highlighted

    24    region.     Let me read it out into the record:          "According to

    25    the received control information" -- that's the received
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                                     Rangan - direct by New
                                                                                     1911

     1    information from the Motorola device -- "we encapsulate the

     2    voice frame header in the same format and send it to MOTO.

     3    Then we control AMBE+2 chip" -- that's the vocoder chip -- "to

     4    generate compressed voice."         And then on the other end it said

     5    a sound can also be heard.

     6               Now, that's a lot, so let me try to tell you a little

     7    bit exactly what happened in this test.             And for that purpose,

     8    I've created this diagram at the bottom.            So imagine, let's go

     9    back to our construction site case, and you wanted a

    10    construction worker to send a message, a voice call to another

    11    construction worker or maybe a group call.

    12               So maybe that construction worker would say on one of

    13    these devices, say, "Where are you?"           And they would expect

    14    the other person to say, "I am here."           But that's not what

    15    happens here.     What happens is on one end is this Motorola

    16    device that this construction worker is holding, and then it

    17    goes here to this debugging hardware platform which I've shown

    18    on the right.

    19               Now, the first thing is that, as I said, this

    20    debugging hardware platform doesn't have a man/machine

    21    interface, so there's no way a person can actually interact

    22    with this.     So there's no person there.          All right.

    23               Now, the second thing is when it comes in here, the

    24    transmitted voice, it receives, "Where are you," but it can't

    25    actually send back new information.           It has to just repeat
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                                     Rangan - direct by New
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     1    what it -- echo back what it said.           So instead of sending

     2    back, "I am here," it can just repeat back, "Where are you?"

     3    So it can only just echo back what's being said.

     4                 But the problem is worse than that.         Remember, if you

     5    recall --

     6                 MR. ALLAN:   Objection, your Honor.        This is just a

     7    narrative.

     8                 THE COURT:   Sustained.     What is the next question?

     9    BY MS. NEW:

    10    Q.   Dr. Rangan, so you just said that it would echo back.                 And

    11    you reference here on slide 85 that a sound can be heard.                  So

    12    if there's the echo back, what sound is being heard on the

    13    other end?

    14    A.   Okay.    So there's two things in this.         The echo back part

    15    comes -- oh, sorry.       The sound that can be heard, remember

    16    earlier and in my analysis of the code, the device, the

    17    debugging hardware platform can only transmit a limited number

    18    of frames at a time.       So what this would suggest in this case

    19    is that it can only transmit back a small portion of that

    20    voice.    So that might just be a fraction of a second.

    21                 Now, in addition, it just here says here only that

    22    the sound can be heard.        The sound can be heard, just meaning

    23    that it doesn't actually tell you anything about the quality

    24    of that sound, just instead maybe some -- perhaps some audible

    25    noise that was received, not actually the -- not even a
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                                     Rangan - direct by New
                                                                                     1913

     1    portion of that, like a "wh" or something like that.

     2    Q.   And does that -- excuse me.         Does this -- I guess, would

     3    that qualify as a -- as completing a group call for

     4    interoperability purposes?

     5    A.   Absolutely not.      We just have a portion of the sound, and

     6    it's just echoing back.

     7    Q.   So let's turn to PTX 1988 at 17 and 18.            What does this

     8    document, this portion of the document tell you about Hytera's

     9    ability to perform DMR functions apart from the group call?

    10    A.   Sure.   So in this part of the document, it has a follow-up

    11    work section, and it lists a number of features that are still

    12    not yet implemented.

    13    Q.   Okay.   So there are two sections here.           You have mandatory

    14    features and expected features.          Can you first tell us what

    15    the mandatory features are?

    16    A.   These first three features are features that would be

    17    considered mandatory for interop at least by, for example, the

    18    DMR Association.      They are an individual voice call, an

    19    individual data call, and what's called "all call."

    20    Q.   And so would those mandatory features have to be present

    21    to achieve interoperability?

    22    A.   Yes, they would.

    23    Q.   Okay.   And then you also have seven features here that are

    24    listed as expected features.         What do you mean by that?

    25    A.   So these are features that are not necessarily mandatory
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                                     Rangan - direct by New
                                                                                     1914

     1    in interoperability but would generally be expected for most

     2    of the commercial radios at that time.

     3    Q.   And based on this document, has Hytera been able to

     4    achieve any of the features listed in 1 through 10 at the time

     5    this document was created?

     6    A.   No.    These are all listed in the follow-up work section.

     7    Q.   Let's look at PTX 1032.        Do you recognize this document?

     8    A.   Yes, I do.

     9    Q.   What is this document?

    10    A.   This is an email dated March 13th of 2008, an internal

    11    Hytera email.

    12    Q.   Did you consider PTX 1032 in reaching your opinions?

    13    A.   Yes, I did.

    14    Q.   You just mentioned it's an internal Hytera email, but are

    15    there any other indications that this document came from

    16    Hytera files?

    17    A.   Yes.   There's a Hytera Bates number.

    18                MS. NEW:    Your Honor, plaintiffs move to admit PTX

    19    1032 into evidence.

    20                THE COURT:    It is received and may be published.

    21          (Plaintiff's Exhibit 1032 received in evidence.)

    22    BY MS. NEW:

    23    Q.   And if we go to the slide -- thank you -- what aspects of

    24    this document did you consider in reaching your opinion?

    25    A.   So the title of this document is called the "Discussion
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                                     Rangan - direct by New
                                                                                     1915

     1    records on the two-point modulation problem."             And what it

     2    goes on to say here, it identifies what's here that the

     3    receiver is experiencing a frame loss when receiving.               It then

     4    discusses this frame loss phenomenon in various parts of this

     5    record.

     6    Q.   And really high level, can you just explain what frame

     7    loss means or what a frame loss phenomenon is?

     8    A.   Sure.    So any voice or data in DMR is divided into small

     9    frames.     And frame loss simply means that those frames are not

    10    received and, hence, if it was voice, you would not hear that

    11    voice.

    12    Q.   So does frame loss affect interoperability?

    13    A.   Yes.    Of course, if the frames are lost, you cannot

    14    interoperate.

    15    Q.   And in order to achieve interoperability, would the person

    16    or the persons on the receiving end of the message have to be

    17    able to receive those frames?

    18    A.   Yes, exactly.

    19    Q.   So after reviewing the evidence we -- or the documents we

    20    just looked at, can you tell us your conclusion as to whether

    21    Hytera would be able to develop a DMR product that could

    22    achieve interoperability without using Motorola 's trade

    23    secrets?

    24    A.   No, they had no -- seen no evidence in either of these

    25    cases of interoperability.
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                                     Rangan - direct by New
                                                                                     1916

     1    Q.   Okay.   Let's go on to the fourth reason that you said that

     2    Hytera could not independently develop a DMR radio.               Can you

     3    remind the jury what that fourth reason is?

     4    A.   This is really that the source code was fundamentally

     5    flawed.

     6    Q.   Now, did you review Hytera's source code as it existed

     7    prior to G.S. Kok's arrival in February 2008?

     8    A.   Yes.    Hytera produced several directories of what they

     9    called the historical development code, and I was able to

    10    review those directories.

    11    Q.   And what did you find when you reviewed those directories?

    12    A.   So what I found really that there were two fundamental

    13    flaws in the way that the source code was written in a manner

    14    that would prevent the developers from continuing development.

    15    First of all, the source code files were unfinished but also

    16    what you would say that the code was monolithic spaghetti

    17    code.

    18    Q.   All right.     Let's talk first about the unfinished files.

    19    On your slides, please turn to PTX 2031 and 2025.              Do you

    20    recognize those documents, Dr. Rangan?

    21    A.   Yes, I do.

    22    Q.   Okay.   What are they?

    23    A.   These are two of the files from the historical development

    24    directories.     The first is DMRmain.cpp and

    25    CallControlLayer.cpp.
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                                     Rangan - direct by New
                                                                                     1917

     1    Q.   And just so the record is clear, the DMRmain.cpp is PTX

     2    2031, and CallControlLayer.cpp is 2025.             Is that right?

     3    A.   That's right.

     4    Q.   Okay.    And did you consider these specific source code

     5    files in reaching your opinions?

     6    A.   I did.

     7    Q.   And is there any indication that these documents were

     8    produced or these code files were produced from Hytera?

     9    A.   These are branded at the top as Hytera files, and they

    10    also had Hytera Bates numbers.

    11                 MS. NEW:   Your Honor, plaintiff moves to admit PTX

    12    2025 and 2031.

    13                 THE COURT:   Both are received and may be published.

    14          (Plaintiff's Exhibits 2025 and 2031 received in evidence.)

    15    BY MS. NEW:

    16    Q.   Dr. Rangan, how important are the DMRmain and

    17    CallControlLayer.cpp files to a DMR product?

    18    A.   These are both very essential in this part of the code.

    19    The DMRmain, as you would expect, is the main file, so it's

    20    the first entry point for the software.             It performs all the

    21    initialization and then steps through the test, all the test

    22    code.    The call control layer, sorry, is equally important.

    23    It's one of -- one of the key layers in this protocol software

    24    stack.

    25    Q.   Now, we can see here on Slide 91 of PDX 9 that for both
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                                     Rangan - direct by New
                                                                                     1918

     1    files, you've highlighted the word "unfinished" so -- next to

     2    "status."    Can you explain what that means?

     3    A.   That's just -- this is the header, very top of the file,

     4    and it's stating here that the file is actually unfinished as

     5    it states.

     6    Q.   And did you ever see any versions of the DMRmain or

     7    CallControlLayer.cpp files that were completed by Hytera prior

     8    to G.S. Kok's arrival in February of 2008?

     9    A.   No.    All the versions I saw remained unfinished.

    10    Q.   And did you see any complete versions prior to the arrival

    11    of Sam Chia or Y.T. Kok?

    12    A.   The same.

    13    Q.   So beyond what it says in the header about the files being

    14    unfinished, are there other reasons that you think this source

    15    code was unfinished?

    16    A.   Yes.    Each one of these files actually has multiple

    17    functions.     Several of those functions are labeled as

    18    "unfinished," and you also see that some of the functions,

    19    just looking at the code, remain incomplete.

    20    Q.   And we've heard a little bit about an ARM or an A-R-M

    21    processor.     Did you see any code for Hytera's product for an

    22    ARM processor in your review?

    23    A.   No.    Although they -- I saw plans to put in an ARM

    24    processor, all the code I saw and all the evidence of any

    25    physical debugging platform were all based solely on the DSP,
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                                     Rangan - direct by New
                                                                                     1919

     1    not the DSP and ARM.

     2    Q.   And based on Hytera's design of its product at that time

     3    in 2008, would you have expected to see code for the ARM

     4    processor?

     5    A.   Yes.    That was an integral part of their plan, to

     6    eventually have an ARM processor either as a separate chip or

     7    what was to -- what was called an OMAP, but that had not been

     8    done at this point.

     9    Q.   Okay.   Now, the other reason you mentioned the code was

    10    flawed is because they had, Hytera had monolithic spaghetti

    11    code.   Let's look at PTX 607 which is already admitted.               Did

    12    you rely on this document in reaching your opinion?

    13    A.   Yes, I did.

    14    Q.   And can you remind us what PTX 607 is?

    15    A.   This is an internal Hytera presentation given by Mr. Y.T.

    16    Kok in July of 2008 called, "Hytera common platform

    17    architecture."

    18    Q.   All right.     So we go to Page 6.       What does Y.T. Kok say

    19    here about Hytera's software development for its DMR product?

    20    A.   So in this presentation, he is commenting on the current

    21    software, and he describes it as a monolithic spaghetti

    22    system.

    23    Q.   And that's the code as it existed in July of 2008; is that

    24    fair?

    25    A.   That's correct.
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                                     Rangan - direct by New
                                                                                     1920

     1    Q.   Okay.    Now, what does it mean for source code to be

     2    monolithic?

     3    A.   So source code, when it's well organized, has large --

     4    when you divide it into smaller, more manageable modules and

     5    then have limited ways in which these modules can communicate

     6    with one another.      Monolithic is the exact opposite.           It has

     7    no structure into -- and it just appears as one large piece of

     8    code.

     9    Q.   And what is a spaghetti system?

    10    A.   Spaghetti system, it refers -- is a highly problematic way

    11    of software and refers to the following, that any one part of

    12    the code can affect other parts of the code.             So when you're

    13    trying to analyze the code, looking how one part of the code

    14    affects another is like trying to find two ends of a strand of

    15    spaghetti in a big bowl of pasta.

    16    Q.   So we've also heard the term "spaghetti code" a little bit

    17    over the last couple weeks.         Is that a common phrase that's

    18    used in the software development industry?

    19    A.   Yes.    Mr. Y.T. Kok did not develop it.          It's also not a

    20    trade secret at issue in this case.           It's a common term

    21    referring to exactly this phenomena.

    22    Q.   And what type of software engineer would develop spaghetti

    23    code?

    24    A.   Generally, that's a highly novice software engineer who's

    25    not had proper training.        I teach software a lot to students,
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                                     Rangan - direct by New
                                                                                     1921

     1    and this is one of the things we try to get them to avoid.

     2    Q.   Can having a monolithic spaghetti system create problems

     3    for a product and product development?

     4    A.   Absolutely.

     5    Q.   And can you explain what some of those problems are?

     6    A.   So Y.T. Kok on his presentation itself identifies two of

     7    the problems in this slide.         He says, first of all, it's

     8    difficult to isolate components and reuse them.              That's

     9    because they're completely intertwined with one another and --

    10    Q.   Dr. Rangan, let me just ask you just to slow down just a

    11    little bit because the court reporter is trying to take you

    12    down.   I know you get excited about software development, but

    13    maybe just start over so she can catch everything.

    14    A.   I'm sorry about that.

    15    Q.   Thanks.

    16    A.   So the first problem about spaghetti code, a monolithic

    17    spaghetti code is that it's difficult to isolate various

    18    components because they have a very complicated and difficult-

    19    to-trace relationship between each other.

    20                The second part about it is that it's poorly

    21    portable.    So if you want to take one piece of software out

    22    and use it in another piece of software or in another hardware

    23    platform, it becomes very, very difficult to do that.

    24    Q.   Let's go to the next slide which reflects PTX 607 at Page

    25    7.   What are the other problems that are discussed here with a
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                                     Rangan - direct by New
                                                                                     1922

     1    monolithic spaghetti code?

     2    A.   This is another key problem, is that once you get

     3    spaghetti code, it becomes harder to change and the

     4    development becomes more and more laborious.             It costs more

     5    and it takes longer.       But also what's very important is the

     6    problem of debugging or fixing errors.            It's very hard to

     7    trace errors because of the spaghetti problem.              And any time

     8    you try to fix one part of the code, you generally introduce

     9    bugs in other parts of the code.

    10    Q.   So would it be possible that Hytera could have fixed its

    11    monolithic spaghetti code and then later used that code to

    12    develop a DMR product?

    13    A.   No.   That's really the curse of spaghetti code.             It

    14    becomes so unmanageable that you really have to scrap it at

    15    some point and start over.

    16               THE COURT:     Well, an answer that includes the word

    17    "curse" may be appropriate in terms of an improper question

    18    which calls for possibilities.          Disregard the answer of the

    19    witness.

    20    BY MS. NEW:

    21    Q.   Dr. Rangan, having looked at the code as it existed in

    22    2008 at Hytera, could that code have been fixed?

    23    A.   No, it could not.

    24    Q.   All right.     At the beginning of your testimony, you told

    25    us that Hytera identified two scenarios in which Hytera could
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                                     Rangan - direct by New
                                                                                     1923

     1    independently develop a DMR product.           Can you remind us what

     2    those two scenarios are?

     3    A.   So in -- both the scenarios are predicated on the idea

     4    that there's a 75 percent complete prototype in 2008, and from

     5    there, there's two possible paths to get to a commercial

     6    product.

     7    Q.   And remind us what those two are.

     8    A.   In one scenario, you maintain the FPGA which was present

     9    in the prototype and then you come to a commercial real --

    10    product in March 2010.        And in the second one, you remove the

    11    FPGA, modify the code, and this takes a little longer and

    12    comes to a commercial product in September 2010.

    13    Q.   Now, did Hytera's development efforts for DMR prior to

    14    February 2008 utilize this FPGA processor?

    15    A.   Yes, it did.

    16    Q.   And do you believe that Hytera could have developed a

    17    commercial DMR product using that FPGA processor?

    18    A.   No, for all the reasons I just stated.

    19    Q.   Is it generally possible to develop a DMR product that

    20    doesn't use an FPGA --

    21               THE COURT:     Eliminate the word "possible" from your

    22    questions.

    23               MS. NEW:     Of course, yes.

    24    BY MS. NEW:

    25    Q.   Are there other DMR products that have been developed that
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                                     Rangan - direct by New
                                                                                     1924

     1    do not use an FPGA processor?

     2    A.   Yes, it's -- absolutely.        In fact, the Motorola's product

     3    as well as what Hytera finally did commercialize, neither of

     4    those use an FPGA.

     5    Q.   Now, the product that Hytera did ultimately commercialize,

     6    what did they use instead of an FPGA processor?

     7    A.   They put all the functionality that was on the FPGA into

     8    the DSP.

     9    Q.   Does Hytera's decision -- so we just kind of talked about

    10    all your criticisms of Hytera's independent development

    11    efforts.    Does the decision to remove the FPGA processor

    12    affect those opinions at all?

    13    A.   No.   It's really a nonissue whether they kept the FPGA or

    14    not kept the FPGA.       Both paths were not possible simply

    15    because the starting point with whatever chip selection they

    16    had was still so far behind in this case.

    17    Q.   Let's look at PTX 22 which is already in evidence.               And if

    18    we go to Page 8, Dr. Rangan, what does this slide show about

    19    Hytera's ability to independently develop a DMR product using

    20    either the FPGA or the DSP processor?

    21    A.   This really demonstrates my point and shows the

    22    difficulties in either path.         On the one hand, if they did

    23    continue with the FPGA development, they would have been

    24    lacking the expertise to get a high quality FPGA development.

    25    So recruiting and talent is one of other issues that they
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                                     Rangan - direct by New
                                                                                     1925

     1    would be facing.

     2               On the other hand, if they were to use the DSP by

     3    itself as they indicate here, that will result in a lot of

     4    Moto code, that's reuse of Moto code, and this would be a

     5    concern.

     6    Q.   Did Hytera ever release a DMR product based on its

     7    pre-February 2008 development efforts?

     8    A.   No, it did not.

     9    Q.   What did Hytera do instead?

    10    A.   It abandoned those efforts and ended up following a

    11    development path based on Motorola misappropriated code.

    12    Q.   And when did Motorola file this lawsuit, Dr. Rangan?

    13    A.   In March of 2017.

    14    Q.   How much time has passed between then and your testimony

    15    today?

    16    A.   2' -- two and a half years.         Sorry.

    17    Q.   And in those two and a half years, have you seen any

    18    documents or materials indicating that Hytera has sold any

    19    products based on its pre-February 2008 development efforts?

    20    A.   No.   Two and a half years since this lawsuit has began,

    21    they have -- sorry, Hytera continues to use Motorola

    22    confidential and proprietary information for its development.

    23    Q.   What does this indicate to you about Hytera's ability to

    24    independently develop a DMR product?

    25    A.   This indicates that Hytera is still not possible to
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                                     Rangan - direct by New
                                                                                     1926

     1    independently develop DMR product without Motorola

     2    confidential and proprietary information.

     3    Q.   All right.     Let's talk about your third and final opinion,

     4    which is that Hytera could not conceive of or develop the

     5    trade secrets in a commercially reasonable time.              Can you

     6    explain to the jury the analysis that you did to determine the

     7    development times for Motorola's trade secrets as a starting

     8    point?

     9    A.   Sure.   So you've heard from these four Motorola engineers.

    10    These engineers are engineers with over 20 years of experience

    11    that were deeply involved in the DMR development.              They first

    12    produced estimates that you've heard both in terms of the head

    13    count and staff months for each asserted trade secrets.                My

    14    first part was to discuss those with those engineers, their

    15    methodology and how they arrived at this -- at these

    16    estimates.

    17    Q.   And did you -- do you understand whether the engineers

    18    were also deposed in this case?

    19    A.   Oh, sorry.     They were also -- I also looked at their

    20    depositions as well.

    21    Q.   And after you did that, did you also consider Motorola's

    22    confidential technical documents and source code?

    23    A.   Yes.    To provide an independent analysis, I also looked at

    24    the source code and all the design documents as well for the

    25    asserted trade secrets to try to assess the development effort
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                                     Rangan - direct by New
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     1    for each one of them.

     2    Q.   And did you also rely on your experience in reaching this

     3    opinion?

     4    A.   Yes.   I've also led software and hardware teams that are

     5    very closely related to these trade secrets, so I applied my

     6    own experience in trying to assess the development time.

     7    Q.   And after going through that methodology, what is your

     8    conclusion about the amount of time that it took Motorola to

     9    develop the trade secrets?

    10    A.   It's my belief that even for Motorola, the estimates they

    11    gave would be conservative, meaning that it would take more

    12    time than they had actually represented.

    13    Q.   And those engineers provided the development times during

    14    their testimony.      Do you recall that?

    15    A.   Yes, I do.

    16    Q.   And are you simply, through this opinion, simply

    17    rubberstamping those estimates?

    18    A.   Absolutely not.      I really tried to give an independent

    19    analysis based on my review of -- discussing with them but

    20    also review of all the source code, the design documents, and

    21    my own experience.

    22    Q.   What measure of time was used to estimate Motorola's

    23    development efforts for the asserted trade secrets?

    24    A.   You've seen this before, but the time was quantified in

    25    staff months.     One staff month is really one midlevel engineer
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                                     Rangan - direct by New
                                                                                     1928

     1    working for one month.

     2                MS. NEW:    Dave, can we go to the next slide?          Thanks.

     3    BY MS. NEW:

     4    Q.   Can you just explain that a little bit more, Dr. Rangan?

     5    A.   Yes.   So if you see something saying 100 staff months, you

     6    can think of that as one engineer working continuously for 100

     7    months or, say, two engineers working together for 50 months.

     8    Q.   Now, why did you use staff months as a measurement of

     9    development effort?

    10    A.   Staff months is a very common way to do engineering

    11    project management.       Among other things, it allows you to

    12    estimate, say, the total payroll involved in realizing some

    13    project.

    14    Q.   Did you eventually convert staff months into calendar

    15    years for the trade secrets?

    16    A.   Yes.   What I did was looked at the -- took the staff

    17    months and the head count.         And when you divide, take the

    18    staff months and you divide it by the head count and then

    19    divide by 12, you get the calendar years, an estimate for the

    20    calendar years it would take to implement that trade secret.

    21                I want to point out here, this is an extremely

    22    conservative way to estimate the amount of time because that

    23    assumes that all the engineers that are allocated to that task

    24    can continuously work.        In reality, of course, that's not

    25    always possible and in reality, most of these trade secrets
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                                     Rangan - direct by New
                                                                                     1929

     1    took much more time.

     2               MR. ALLAN:     Objection, your Honor, narrative, and

     3    he's reciting fact testimony and argument that didn't happen

     4    in the case.

     5               THE COURT:     The answer may stand.

     6    BY MS. NEW:

     7    Q.   So Dr. Rangan, just briefly, why did you convert the staff

     8    months to calendar years?

     9    A.   Just to provide an estimate of the development time that

    10    it would take to implement, realize the trade secret.

    11    Q.   And how do these calendar years compare to the actual time

    12    that it took Motorola to develop the trade secrets?

    13    A.   These estimates would generally be much shorter than the

    14    actual time, and the reason for that is that, as I was saying,

    15    the -- when you estimate the calendar years in this way,

    16    you're assuming that all the engineers on that trade secret

    17    can work continuously but, of course, that's not generally the

    18    case.

    19    Q.   All right.     So let's talk about the first sort of bucket

    20    of trade secrets which relate to software architecture.                Which

    21    trade secrets fall into this category?

    22    A.   There are several of the asserted trade secrets on this

    23    very important feature of architecture.             I'll read them into

    24    the record:     The application software layer; the ROS, OSAL,

    25    and LOSAL; the HAL; the DMR software architecture; VRIS; the
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                                     Rangan - direct by New
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     1    L1 timer; the ergonomic or Darwin layer; the connectivity

     2    modules; and then finally, the whole DMR protocol stack.

     3    Q.   And why did you group these trade secrets together for

     4    purposes of determining development effort?

     5    A.   These are all related to both framework and architectural

     6    components that underlie the software to be built.

     7    Q.   Based on the amount of material that you reviewed and your

     8    experience, what did you conclude with respect to the

     9    development time for these trade secrets?

    10    A.   So what I've shown here on the second and third column are

    11    the Motorola estimates for both the engineering head count and

    12    staff months, and then you can convert that to calendar years.

    13    And then it's my opinion looking at the estimate that these

    14    would be conservative estimates for any company comparable to

    15    Motorola.

    16    Q.   So Dr. Rangan, just so the record is clear, would you mind

    17    just reading in the calendar years' effort for each of these

    18    trade secrets?

    19    A.   Sure.   For application software layer, it's 5.6 years.

    20    For ROS, OSAL, and LOSAL, 4.9 years.           For HAL, 2.08 years.

    21    DMR software architecture, 5.7.          VRIS, 2.94.     L1 timer, .75.

    22    Ergonomic layer, 6.6.       Connectivity modules, 1.35.          And DMR

    23    protocol stack, 3.

    24    Q.   And you kind of dropped it at the end there, but those are

    25    all in years, right?
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                                     Rangan - direct by New
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     1    A.   Yes, they are.

     2    Q.   Okay.    Now, some of these development times are a little

     3    bit long.     Can you explain why that is?

     4    A.   Yes.    You have to, these are -- for one thing, they

     5    represent an incredible volume of work.             For example, the DMR

     6    protocol stack would constitute by itself millions of lines of

     7    code as well as just thousands of pages of documents.               So this

     8    is an enormous, vast undertaking to do this.             You heard Mark

     9    Boerger talk about all the work that had gone into this, for

    10    example.

    11                 Now, the second aspect of this is that since these

    12    are architectural components, they represent the kind of work

    13    that's foundational work that you're going to build all the

    14    software on top of.       And that means it has to be thought of

    15    very carefully before you can start to implement it because

    16    these codes might exist for 10, 20 years in this case, and it

    17    has to be designed well into the future where you can't

    18    anticipate everything.

    19                 Finally, the code really was based extensively off of

    20    work for ASTRO.      So even though the DMR project started in

    21    2003, it had leverage work much, much earlier, back to the

    22    late '80s.

    23    Q.   Dr. Rangan, did you consider any documents to assess the

    24    development times or the development efforts for these

    25    software architecture trade secrets?
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                                     Rangan - direct by New
                                                                                     1932

     1    A.   Yes, I did.

     2    Q.   Okay.    Let's go to the next slide.         And just so it's in

     3    the record, reflected here are PTX 686, 666, 727, 1255, and

     4    738, all of which are in evidence.

     5                 Dr. Rangan, why did you consider these documents in

     6    reaching your opinion?

     7    A.   So I actually considered a large volume of documents for

     8    these trade secrets.       I wanted to just display these five of

     9    them here because they're illustrations of the volume of work

    10    that's involved.      Each of these documents go into considerable

    11    level of detail, of detail design and functionality for each

    12    of these trade secrets.

    13                 I also wanted to point out the dates.          And you can

    14    see the kind of work developed, working from 1996 all the way

    15    up to 2007.     So just these design documents themselves span 10

    16    to 11 years of work.

    17    Q.   Let's look at PTX 1261 which is already in evidence and go

    18    to Page 9.

    19                 Why did you also consider this document, Dr. Rangan?

    20    A.   This is a document that you've seen before, the Darwin

    21    application strategy for Matrix.          This is just one page of a

    22    very detailed design, and it reflects the -- a level of

    23    planning and design that needed to be done.             They were able to

    24    identify all of these modules.          Each one of these modules

    25    would involve a considerable amount of work to develop and
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                                     Rangan - direct by New
                                                                                     1933

     1    think about how they are structured together.

     2    Q.   And did you review other documents related to the software

     3    architecture trade secrets in reaching your conclusions?

     4    A.   Yes.   I reviewed many documents in this area along with

     5    millions of lines of code.

     6    Q.   After considering the documents, did you apply your own

     7    experience when assessing the development efforts for

     8    Motorola's trade secrets?

     9    A.   Yes.   I -- since I had worked in a project management role

    10    at very early stages of projects, the architecture was

    11    something we had to consider from the beginning.

    12                Just to give you three examples, I had worked at, for

    13    example, on the operating system at Flarion.             That, we

    14    actually did scope out of work to see how much work it would

    15    take to build an operating system.           It was so much work, we

    16    just ended up acquiring a third party operating system in that

    17    case.

    18                I also worked at both Qualcomm and Flarion, and both

    19    of these had a lot of hardware, so we had to think carefully

    20    about the way that the software would interact with the

    21    hardware in a communication context.           So that amounted to

    22    determining, developing circuit interfaces and also the timing

    23    and framing.

    24    Q.   All right.     Let's talk about the next bucket of trade

    25    secrets which relate to the DSP and DSP framework.               Can you
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                                     Rangan - direct by New
                                                                                     1934

     1    tell the jury which trade secrets fall into this category?

     2    A.   These are the VOX, noise suppression, squelch, carrier

     3    detection, the DSP framework, and the DSP source code.

     4    Q.   And why did you group these trade secrets together?

     5    A.   These are all related to DSP functionality, meaning the

     6    functionality to transmit and receive wireless signals as well

     7    as the audio processing.

     8    Q.   What did you conclude with respect to the development

     9    times for these trade secrets?

    10    A.   Again, it was my opinion after the independent analysis

    11    that the Motorola estimates were conservative.              I'll read

    12    those numbers into the record.

    13                For VOX, that would be .75 calendar years.             For noise

    14    suppression, .29 years.        Squelch, .41 years.       Carrier

    15    detection, .33 years.       DSP framework, 3 years.         And DSP source

    16    code, 10 years.

    17    Q.   Now, the DSP source code development time is 10 years.

    18    Can you explain why that is?

    19    A.   Yes.   That might sound like a lot of time, but if you

    20    actually consider what needed to be done, it's not -- it's

    21    actually conservative and the reason is, first of all, when

    22    you think of the DSP source code specifically, it represents

    23    every single line of the DSP code.           So this is an enormous

    24    undertaking.     It represents all the functionality for all the

    25    wireless communication.        So that's all the modulation and
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                                     Rangan - direct by New
                                                                                     1935

     1    demodulation of signals going out over the air.              It also

     2    includes all the audio processing.

     3                 Now, the DSP is one layer, so it also has to

     4    communicate with all the other layers of the code.               And that's

     5    another big aspect of the design of that system.              Moreover,

     6    DSP code is particularly complex to write.             It's not routine

     7    software because it needs to be highly optimized to run in --

     8    on a limited processor very quickly.

     9                 And finally, like the other trade secrets, it also

    10    leveraged extensively from the work in ASTRO.

    11    Q.   Okay.    And did you also consider documents related to

    12    these trade secrets?

    13    A.   Yes, I did.

    14    Q.   Let's look at PTX 789 which relates to the DSP framework.

    15    For the record, PTX 789 is already in evidence.

    16                 Dr. Rangan, what is shown here on this slide?

    17    A.   This is a PowerPoint presentation introducing the DSP

    18    framework.     And I've just taken one picture from that to

    19    describe the DSP framework to show you the level of complexity

    20    of this.     The DSP has to manage multiple layers.           It has to

    21    interact with the operating system and handle events.               And

    22    this type of work is what really contributes to the amount of

    23    development time that was invested in the Motorola case.

    24    Q.   Now, this is just one document related to DSP framework,

    25    but did you review additional documents related to these trade
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                                      Rangan - direct by New
                                                                                     1936

     1    secrets in the DSP framework and DSP bucket?

     2    A.     Yes, I did.    I reviewed a large number of documents as

     3    well as the source code.

     4    Q.     And do those documents support your opinion with respect

     5    to the development efforts for these trade secrets?

     6    A.     Yes.    They all confirmed my belief that these estimates

     7    were indeed conservative.

     8    Q.     And so after looking at the code and looking at the

     9    documents, did you again also apply your experience to

    10    assessing the development efforts in these trade secrets?

    11    A.     Yes, I did.

    12    Q.     And can you explain just -- explain that just a little

    13    bit?

    14    A.     Sure.    I had -- actually, DSP was a very key part of my

    15    own work at both Flarion and Qualcomm, so I had led the DSP

    16    teams in both of those companies.          So I have a lot of

    17    experience with this.        At Qualcomm, we also had the benefit of

    18    having legacy code from previous projects.             So I understand

    19    the benefit and work involved in leveraging legacy code.

    20                   I had also worked specifically, for example, on

    21    development of the DSP code for the LTE modem which is quite a

    22    significant body of work.        The teams were kind of similar to

    23    what was at Hytera -- I'm sorry, at Motorola:             About 10 to 15

    24    what you would call firmware engineers along with 10 to 15

    25    systems engineers.       I still love the subject of DSP, and I
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                                     Rangan - direct by New
                                                                                     1937

     1    teach that still at NYU.

     2    Q.   All right.     Let's turn to the next trade secret, which is

     3    the repeater.     We spent a lot of time talking about the

     4    repeater, so we'll go fast on this one.             What did you conclude

     5    with respect to the development time for the repeater?

     6    A.   In the repeater trade secret, it was my belief that it

     7    would take at least 13.5 years.

     8    Q.   Now, that's also a lot of time.          Can you explain why that

     9    development effort would take so long?

    10    A.   Yes.    Remember, this trade secret is really the incomplete

    11    repeater functionality, so that's all the software, hardware,

    12    and so on.     Also, the repeater is typically more complex than

    13    the subscriber code because it has to typically manage

    14    multiple connections at the same time.

    15                It's also -- generally, the architecture and code is

    16    often separate because it's doing a different side of the

    17    protocol stack than the subscriber unit.            Indeed, you heard

    18    Mr. Karpoor testify that he has a separate team at Motorola

    19    which is distinct from the teams that would be working on the

    20    subscriber code.

    21    Q.   And did you review documents related to the repeater in

    22    assessing development time?

    23    A.   Yes, I did.

    24    Q.   All right.     Let's go to the next slide, which for the

    25    record shows PTX 1264, 1316, and 1330, all of which are in
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                                     Rangan - direct by New
                                                                                     1938

     1    evidence.

     2                 Just very briefly, Dr. Rangan, can you explain what

     3    these documents show about development time for this trade

     4    secret?

     5    A.   So all of these documents show again the complexity of the

     6    work involved in developing the repeater code, some of the

     7    software architecture parts on the top right, and the

     8    hardware, other parts of the ARM or host code on the bottom

     9    right.    I also point out that the development time just for

    10    one of these documents you can see spanning several years,

    11    from 2004 to 2006.

    12    Q.   And did you review other documents in the course of your

    13    work in this case that support your opinion with respect to

    14    the development time of this trade secret?

    15    A.   Yes, I did.     I looked at, again, all the repeater code and

    16    the documents.

    17    Q.   Okay.    Let's go to the next trade secret, which is DMR

    18    mobile source code and all source code.             Can we go to Slide

    19    122, Dave -- excuse me, 123.

    20                 What did you conclude with respect to the development

    21    time for these trade secrets?

    22    A.   In this case, the DMR source code would take at least 9.07

    23    years, and the mobile radio source code, 3.75 years.

    24    Q.   And what type of work would go into developing the DMR

    25    radio and mobile source code trade secrets?
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                                     Rangan - direct by New
                                                                                     1939

     1    A.   The DMR source code is the entire source code, so it's

     2    including the mobile, portable, and repeater source code.                  It

     3    has the protocol stack, the DSP code, as well as all the

     4    architectural code.       So this is really the entire source code

     5    that Motorola had developed.

     6                 It has again a considerable amount of framework to

     7    manage such a complex piece of code across multiple platforms

     8    and had been in development since the ASTRO times.

     9    Q.   Did you look at source code and source code revision

    10    histories to assess the development time for these two trade

    11    secrets?

    12    A.   Yes, I did.

    13    Q.   Okay.    In the slides in front of you, turn to the slide

    14    that reflects PTX 2100.

    15    A.   Yes.

    16    Q.   Did you review PTX 2100 in reaching your opinion?

    17    A.   Yes, I did.

    18    Q.   What is PTX 2100?

    19    A.   This is a ClearCase log for one of the files in the

    20    Motorola source code.

    21    Q.   And was that document produced by Motorola?

    22    A.   Yes, it was.

    23                 MS. NEW:   Okay.   Your Honor, plaintiff moves to admit

    24    PTX 2100 into evidence.

    25                 THE COURT:   It is received and may be published.
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                                     Rangan - direct by New
                                                                                     1940

     1          (Plaintiff's Exhibit 2100 received in evidence.)

     2    BY MS. NEW:

     3    Q.   So what did the source code revision histories tell you

     4    about development for the DMR radio source code trade secret?

     5    A.   This is not the source code itself but just the revision

     6    history of that in the, what's ClearCase which is a

     7    repository.     And you can see that this one individual file was

     8    in development from about ten years, just this one of many,

     9    many files to be developed.

    10    Q.   Now, we -- just to orient, we talked a lot about source

    11    code repositories in this case and how people can check in and

    12    check out code.      Do the ClearCase histories reflect that work?

    13    A.   Yes.   ClearCase is one type of repository that Motorola

    14    worked with.

    15    Q.   And what does this source code revision history tell you

    16    about the amount of time to develop the DMR radio and mobile

    17    source code trade secrets?

    18    A.   So in this one particular file here, you see at least ten

    19    years of work.      And this is just one, as I said, of many

    20    files.

    21    Q.   All right.     And let's go to the next slide.          And what is

    22    reflected here on this slide?

    23    A.   This is one of the files from the mobile radio source

    24    code.    And this one, too, you see eight to nine years of work

    25    just for one of many, many files that were in development.
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                                     Rangan - direct by New
                                                                                     1941

     1    Q.   And when you say "one of many, many files," what do you

     2    mean by that?

     3    A.   There were thousands of source code files that comprised

     4    the DMR source code.       It's a vast volume of code, and I'm just

     5    pointing out two examples in this case.

     6    Q.   And again, did you rely on your experience in assessing

     7    these trade secrets?

     8    A.   Yes.    At both -- I had led software teams at both Qualcomm

     9    and Flarion.     I wanted to point out here that I've also had

    10    considerable DSP code experience.          And what's interesting was

    11    that the Flarion DSP is exactly the same as the one that was

    12    used by Motorola, this case, the C55.

    13    Q.   So let's talk next about the testing and benchmarking

    14    trade secret.     What did you conclude with respect to the

    15    development time for this trade secret?

    16    A.   In this case, the testing and benchmarking would take at

    17    least five years.

    18    Q.   Did you consider documents to assess the development time

    19    for the testing and benchmarking trade secret?

    20    A.   Yes, I did.

    21    Q.   Let's look at PTX 532 and 127 which are already in

    22    evidence.    Dr. Rangan, can you explain what these two

    23    documents show?

    24    A.   These are two of many testing documents in this trade

    25    secret.     You've seen them both but in both cases, they have
Case: 1:17-cv-01973 Document #: 792 Filed: 12/20/19 Page 212 of 224 PageID #:53823
                                     Rangan - direct by New
                                                                                     1942

     1    several details of very specific confidential and proprietary

     2    tasks with very detailed simulation results, test procedures,

     3    and so on.

     4    Q.   And did you review other documents related to this trade

     5    secret that support your opinion on development time?

     6    A.   Yes, I did.     There were numerous documents in this case.

     7    Q.   And did you also rely on your experience?

     8    A.   Yes.    Testing, as you remember from Mr. Lund's initial

     9    presentation, is extremely vital towards getting reliable

    10    commercial products, and that was my experience at both

    11    Flarion and Qualcomm.       So I had supervised and recruited test

    12    teams at both companies.

    13                It's important here to recognize that you also

    14    separately had -- had separate test teams for subscriber and

    15    base station products as well.          And just, for example, the

    16    testing work on the base station at Flarion was at least about

    17    four years.

    18    Q.   All right.     Let's turn to the XCMP trade secret.           What did

    19    you conclude with respect to development time for this trade

    20    secret?

    21    A.   In this case, my estimate is that it would take at least

    22    four years.

    23    Q.   And did you review documents that support that development

    24    time?

    25    A.   Yes, I did.
Case: 1:17-cv-01973 Document #: 792 Filed: 12/20/19 Page 213 of 224 PageID #:53824
                                     Rangan - direct by New
                                                                                     1943

     1    Q.   All right.     Let's go to PTX 1315 which is already in

     2    evidence.    What does this tell you about development time for

     3    XCMP?

     4    A.   This is a -- one of the PowerPoint presentations on XCMP.

     5    And I just took out one of the pages of this here to show you

     6    the complexity of the work involved.           This is representing one

     7    of the classes or objects in that piece of software.               And you

     8    can see all the parts that you have to actually develop for

     9    just this one object.

    10    Q.   Now, there are a bunch of blue lines here that look kind

    11    of like bullet points with maybe the source code directories

    12    next to it or source code information.            Do each and every one

    13    of those items have to be developed as part of this trade

    14    secret?

    15    A.   Yes.   Each one of those blue and the purple dots and then

    16    all the messaging between them.

    17    Q.   All right.     And let's go to the hardware trade secret.

    18    What did you conclude with respect to development time for

    19    this trade secret?

    20    A.   This time here, it's my estimate that again, it would take

    21    at least three years of work.

    22    Q.   And did you review documents related to this trade secret?

    23    A.   Yes.   There were a number of documents in this case, and I

    24    looked at all of them carefully.

    25    Q.   Let's look at a couple examples of that:            PTX 793, 459,
Case: 1:17-cv-01973 Document #: 792 Filed: 12/20/19 Page 214 of 224 PageID #:53825
                                     Rangan - direct by New
                                                                                     1944

     1    and 1381, all of which are in evidence.             Very briefly,

     2    Dr. Rangan, can you just explain what these show?

     3    A.   The document on the left is a technical specification for

     4    the MAKO IC.     And this represents just the design of the MAKO

     5    IC, and there's also on the right a Trident IC and then a

     6    frequency generation unit.         Each of these documents have

     7    worked out very significant, detailed designs for all the

     8    parts and the expected performance of those different

     9    components.

    10                I just wanted to point out that this document, for

    11    example, on the left, the MAKO IC, it itself just takes about

    12    three years of work.

    13    Q.   And by "it itself," do you mean just the document?

    14    A.   Just the document, yes.

    15    Q.   And did you consider your experience in assessing the

    16    hardware trade secret?

    17    A.   Yes.   I have a lot of experience with software at --

    18    hardware, sorry, at Flarion.         We taped out three versions of

    19    our chip.    And Qualcomm is one of the world's largest

    20    semiconductor manufacturers.         So I've worked with an interface

    21    with hardware teams in both companies looking both at digital,

    22    analog, and RF circuits.

    23                THE COURT:    Did you become more efficient and

    24    productive over the years?

    25                THE WITNESS:    I did.    I hope so.
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                                     Rangan - direct by New
                                                                                     1945

     1               THE COURT:     Do engineers within recent years run

     2    faster and jump higher?

     3               THE WITNESS:     I think they do, but they have a lot

     4    better help now.

     5               THE COURT:     So your comparison goes back 10, 20

     6    years, right?

     7               THE WITNESS:     It did.     Actually --

     8               THE COURT:     What I'm saying, is there no accounting

     9    for improvement in education, efficiency, productivity, and

    10    incentives as part of your calculations?

    11               THE WITNESS:     Oh, that's a good question, your Honor.

    12    I've tried to give my estimates for the duration here, which

    13    is from 2008 to 2018.       A lot of this experience I have is in

    14    that timeframe because I actually was supervising teams in

    15    that 2008 period, for example.

    16               THE COURT:     Part of my question is the idea that

    17    professors such as you and graduate students have become more

    18    productive, more efficient over the years, have they not?

    19               THE WITNESS:     Yes, they have.

    20               THE COURT:     So in reaching your calculations of time,

    21    do you make some adjustments for, by way of that example,

    22    inflation?

    23               THE WITNESS:     That's a good question.         I think all --

    24    my estimates do account for that, but the reality is that the

    25    development time has not necessarily improved so much.                What's
Case: 1:17-cv-01973 Document #: 792 Filed: 12/20/19 Page 216 of 224 PageID #:53827
                                      Rangan - direct by New
                                                                                     1946

     1    improved has been the capability of what can be developed.

     2                 THE COURT:   The iceberg moves a little faster?

     3                 THE WITNESS:    Maybe the better -- maybe that's a good

     4    way to think about it.

     5                 THE COURT:   Maybe it's not a good way.

     6                 You may proceed, counsel.

     7    BY MS. NEW:

     8    Q.   So Dr. Rangan, we were just talking about development

     9    estimates for the individual trade secrets, and you mentioned

    10    a couple times that those were conservative.             Would that

    11    conservative -- conservatism also account for the issue that

    12    Judge Norgle just raised which is that there may have been

    13    advancements in engineering over time?

    14    A.   Yes, it would easily.

    15    Q.   Okay.    So --

    16                 THE COURT:   That was a great question which

    17    summarized my point.        All right.    Please proceed.

    18    BY MS. NEW:

    19    Q.   Now, so we also were talking about individual trade secret

    20    development time.      Do you also account for the longest

    21    development time if you think about combinations of trade

    22    secrets?

    23    A.   Yes, I do.

    24    Q.   Okay.    So on your slide here you have two columns:             Gating

    25    trade secrets and dependent trade secrets.             Can you explain
Case: 1:17-cv-01973 Document #: 792 Filed: 12/20/19 Page 217 of 224 PageID #:53828
                                     Rangan - direct by New
                                                                                     1947

     1    what each of those columns mean?

     2    A.   Yes.    To try to account for combinations of trade secrets,

     3    I've divided all the trade secrets into two categories:

     4    Dependent and gating.       The concept is that for any of the

     5    dependent trade secrets, the gating trade secrets would need

     6    to be substantially complete before the dependent trade

     7    secrets can begin.

     8    Q.   And if -- so if the jury, for example, found a gating

     9    trade secret and a dependent trade secret to be

    10    misappropriated, how would they account for the full

    11    development time of those trade secrets?

    12    A.   Okay.    That's a good question.        So let's take a specific

    13    example.     Suppose you wanted to know the time it would take to

    14    do the DSP source code secret and the testing and benchmarking

    15    trade secret.     The concept is that the testing and

    16    benchmarking -- the DSP, sorry, the DSP source code would need

    17    to be substantially complete before you can start testing it.

    18                 Since the DSP source code would take ten years, at

    19    least ten years, and the testing and benchmarking taking at

    20    least five years, the total would be more than 15 years.

    21    Q.   Now, what if there -- the jury finds that there's

    22    misappropriation of multiple gating trade secrets?               How would

    23    you account for the full development time?

    24    A.   Sure.    In that case, let's do another example.            Suppose it

    25    was the DSP source code and the DSP framework.              Obviously, if
Case: 1:17-cv-01973 Document #: 792 Filed: 12/20/19 Page 218 of 224 PageID #:53829
                                      Rangan - direct by New
                                                                                     1948

     1    you had to complete both of these, the minimum amount of time

     2    would be at least as long as the single longest individual

     3    one.

     4                   So in this case, if one takes three and the other

     5    takes ten, it would take at least ten years to complete these

     6    two.    Of course, this would be conservative because some of

     7    the DSP framework would need to be completed before the DSP

     8    source code could begin, so it's actually probably in reality

     9    longer than that, but it's definitely at least ten.

    10    Q.     Now, did your methodology account for some overlap either

    11    in terms of source code between the trade secrets or time

    12    between the trade secrets?

    13    A.     Yes.    There is some overlap between the -- in source code

    14    mostly between the dependent trade secrets and the gating

    15    trade secrets but in general, this is minimal.              And since each

    16    of these estimates are very conservative, that suffices to

    17    account for any of the overlap.

    18    Q.     Now, Dr. Rangan, you've said a few times that it's your

    19    opinion that the estimates, the development estimates for

    20    Motorola trade secrets are conservative for a company

    21    comparable to Motorola; is that right?

    22    A.     That's right.

    23    Q.     Okay.    Can you explain why that is?

    24    A.     Remember that the Motorola engineers, when they were first

    25    providing these estimates, wanted to be conservative in the
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                                     Rangan - direct by New
                                                                                     1949

     1    first place.     They also, for example, in some cases didn't

     2    account for the ASTRO code.         They also -- sorry.       One of the

     3    other -- and one of the other issues is that when I computed

     4    the calendar years for the trade secrets based on their

     5    estimates, it was extremely conservative because it assumed

     6    that all the engineers could work in parallel for the duration

     7    of that trade secret but, of course, in reality that can't --

     8    doesn't occur, and in reality, the actual elapsed time for the

     9    trade secrets was much longer.

    10    Q.   And Dr. Rangan, did development of Motorola's trade

    11    secrets involve any specialized skill or engineering training?

    12    A.   Yes.   This is not at all a routine software task.             You see

    13    a lot of specialized skill.         For example, the DSP code

    14    requires specialized DSP skills.          You see a lot of specialized

    15    skills needed in networking and protocols for all those

    16    components of this as well as there's specialized hardware and

    17    test, testing skills that are needed, specialized equipment,

    18    for example.

    19                And since this was really a large-scale software

    20    development, you also have to have senior software people to

    21    know how to architect complex pieces of software.

    22    Q.   Now, back in 2008 when -- prior to the arrival of G.S.

    23    Kok, Y.T. Kok, and Sam Chia at Hytera, would you consider

    24    Hytera to be a company that's comparable to Motorola?

    25    A.   Absolutely not.
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                                     Rangan - direct by New
                                                                                     1950

     1    Q.   Why not?

     2    A.   Well, first of all, it did not have the experience in

     3    digital two-way radio that Motorola did which was a leading

     4    company in that time.       It also didn't have anywhere near the

     5    recruiting of talent.       In fact, you saw that recruiting was

     6    one of the issues that was continuously mentioned.

     7    Q.   Have you seen any evidence or any documents or materials

     8    in this case that Hytera had the ability to recruit or hire

     9    engineers with the requisite skill or experience to develop a

    10    DMR product from scratch?

    11    A.   No.   In fact, we saw the opposite, that in many cases,

    12    they were noting the lack of skills.

    13    Q.   And based on that, what is your opinion as to Hytera's

    14    ability to develop the asserted trade secrets without access

    15    to Motorola's confidential information?

    16    A.   It's my view that they would actually have never conceived

    17    of these or implemented these trade secrets in any

    18    commercially reasonable period of time, but even if they were

    19    to, the time for Motorola took to develop these trade secrets

    20    would be an absolute minimum or baseline for that time.

    21    Q.   And you mentioned a commercially reasonable period of

    22    time, Dr. Rangan.      What do you mean when you say that Hytera

    23    could not have conceived of or implemented the trade secrets

    24    in a commercially reasonable period of time?

    25    A.   Well, Hytera released its first products in the early part
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                                     Rangan - direct by New
                                                                                     1951

     1    of 2010, and we're now in November of 2019, almost ten years

     2    later than that first release.          So it's my belief that at

     3    least even ten years from the date -- sorry, and from ten

     4    years from the date that they released their products, they

     5    are still using the Motorola asserted products to this day.

     6    So it would take at least ten years of time for them to

     7    develop these asserted trade secrets.

     8                MS. NEW:    Thank you, Dr. Rangan.

     9                I pass the witness.

    10                THE COURT:    All right.     We'll do cross-examination

    11    tomorrow at 10:00 o'clock.         The witness is excused until

    12    10:00.

    13                Members of the jury, 10:00 o'clock tomorrow.            And

    14    keep in mind, members of the jury, that we will stop at noon

    15    tomorrow.

    16          (Proceedings heard in open court.          Jury out.)

    17                THE COURT:    Court is adjourned.       10:00 o'clock.

    18                MR. ALPER:    Your Honor, a small housekeeping item.

    19    You had previously granted our motions to seal.              By agreement,

    20    the parties have provided the court reporter with a list of

    21    the exhibits to be sealed so that way, we don't have to take

    22    up the time to read them in court.

    23                THE COURT:    By all means, I accept your agreement,

    24    and sealing should go forward.

    25                MR. ALPER:    Yes, your Honor.
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                                                                                     1952

     1               THE COURT:     All right.     Thank you.

     2          (Upon agreement of counsel, the following exhibits are

     3          designated as sealed:       DTX-4279; PTX-0100; PTX-0107;

     4          PTX-0147; PTX-0229; PTX-0474; PTX-0480; PTX-0520;

     5          PTX-0521; PTX-0525; PTX-0531; PTX-0573; PTX-0631;

     6          PTX-0641; PTX-0654; PTX-0784; PTX-0785; PTX-1018;

     7          PTX-1019; PTX-1020; PTX-1237; PTX-1264; PTX-1316;

     8          PTX-1317; PTX-1330; PTX-1740; PTX-1863; PTX-2090;

     9          PTX-2091.)

    10               MS. ROTHSCHILD:      Your Honor, one more brief

    11    housekeeping matter, please.         When we played -- or when

    12    counsel for Motorola played the deposition videos, our counsel

    13    objected, and we wanted to state for the record the objections

    14    to match up for the testimony.

    15               THE COURT:     Are they in writing?

    16               MS. ROTHSCHILD:      I can write them up better.

    17               THE COURT:     Do you want to stop now and argue them?

    18               MS. ROTHSCHILD:      No, no.    I just wanted to match

    19    up counsel's --

    20               THE COURT:     I don't know what you mean when you say

    21    "match up."

    22               MS. ROTHSCHILD:      Sorry?

    23               THE COURT:     Match up what?

    24               MS. ROTHSCHILD:      To the trial transcript.         The court

    25    reporter did make a request that I do it on the record.
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                                                                                     1953

     1                THE COURT:    Do you think I have the trial transcript?

     2                MS. ROTHSCHILD:      No, sir.    I have the references,

     3    though, of the --

     4                THE COURT:    Do you understand what is being argued

     5    here?

     6                MR. ALPER:    I think this is just a matter of noting

     7    where in the trial transcript the --

     8                THE COURT:    Well, can you reach an agreement?

     9                MR. ALPER:    Yes.   Maybe we can submit them to the

    10    court reporter and then they can be --

    11                THE COURT:    Well, I don't how we get the court

    12    reporter involved here, as good as she is, one of the best,

    13    actually.    But see if you can reach an agreement and if I, as

    14    the judge, have to get involved in it, by all means, we'll do

    15    it tomorrow.

    16                MR. ALPER:    Absolutely.     And we'll reach -- there

    17    will be no disagreement on this issue.

    18                THE COURT:    Very well.

    19                MS. ROTHSCHILD:      Thank you, your Honor.

    20                THE COURT:    Thank you, counsel.

    21                THE CLERK:    All rise.     Court is adjourned.

    22          (Proceedings adjourned from 4:26 p.m. to 10:00 a.m.)

    23

    24

    25
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                                                                                     1954

     1                                  * * * * * * *

     2                              C E R T I F I C A T E

     3              We, Amy Spee and Judith A. Walsh, do hereby certify

     4    that the foregoing is a complete, true, and accurate

     5    transcript of the proceedings had in the above-entitled case

     6    before the Honorable CHARLES R. NORGLE, SR., one of the judges

     7    of said court, at Chicago, Illinois, on November 26, 2019.

     8    /s/ Amy Spee, CSR, RPR, CRR                             November 27, 2019

     9    /s/ Judith A. Walsh, CSR, RDR, F/CRR                    November 27, 2019

    10    Official Court Reporters

    11    United States District Court

    12    Northern District of Illinois, Eastern Division

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